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        1                      UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
        2                             MIAMI DIVISION
        3                     CASE NUMBER 16-20893-CR-MORENO
        4
            UNITED STATES OF AMERICA,
        5
                           Plaintiff,                         Courtroom 13-3
        6
               vs.                                            Miami, Florida
        7
            MONTY RAY GROW,                                  January 22, 2018
        8
                         Defendant.
        9   __________________________________________________________________
       10                        JURY TRIAL PROCEEDINGS
                        BEFORE THE HONORABLE FEDERICO A. MORENO
       11                     UNITED STATES DISTRICT JUDGE
            _______________________________________________ ___________________
       12
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        1
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        2
            Exhibits                            Marked for            Received
        3                                     Identification        in Evidence

        4
            Description                        Page       Line       Page    Line
        5
            Government's Exhibit Numbers 17-A, 17-B,
        6   17-C, 17-D, 17-F, 18, 36, 51, 54, 56, 66, 68,
            70, 80, 81, 82, 93, 96, 99, 101, 102, 103,
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        1       (The following proceedings were held at 9:00 a.m.:)

        2            THE COURT:    Good morning, everybody.     We're here on

        3   Case Number 16-20893-Criminal, United States of America versus

        4   Monty Ray Grow.

        5            On behalf of the Government, who do we have?

        6            MR. LARSEN:     Good morning, Your Honor.    Kevin Larsen

        7   and Jon Juenger for the United States.

        8            THE COURT:    On behalf of the defendant.

        9            MR. RASHBAUM:    Good morning, Your Honor.     Dan Rashbaum,

       10   Jeff Marcus, Kate Meyers, and Monty Grow is present.

       11            THE COURT:    All right.    The jurors are coming in.      I

       12   told you already I'll conduct all the necessary voir dire, but

       13   I'll give you extra time, 15 minutes each side for any

       14   additional questions and you'll exercise your peremptory

       15   challenges at sidebar.    Government goes first; accept, reject or

       16   cause, and we'll go through them.

       17               Did you all come up with a statement that you want me

       18   to tell the jurors about the case or not, regarding the case, or

       19   you just want me to tell them it's a health care fraud scheme

       20   allegation by a former football player?

       21            Defense, do you want me to mention that he was a former

       22   football player or not?

       23            MR. MARCUS:    Sure, Your Honor, yes.     And if you could,

       24   Your Honor, maybe just mention that it involves marketing for a

       25   pharmacy.
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        1            THE COURT:       Marketing for a pharmacy.     See if anyone

        2   has read or heard anything about it.           Marketing and the

        3   Government claims it's a fraudulent scheme.

        4            MR. MARCUS:       Correct, Your Honor.     Yes.

        5               THE COURT:    But he's presumed -- I'll do all the

        6   presumption of innocence and all that, but just to see if it

        7   triggers.

        8            Do I tell them where he played football or not, or you

        9   don't think so?

       10            What I wouldn't want is for a juror all of a sudden to

       11   say, oh, now I remember him, right in the middle, or not, but

       12   it's up to the defense.      Or just say that he played for the NFL

       13   in Florida?

       14               MR. MARCUS:    At the University of Florida.

       15            THE COURT:       Yes, that's what I meant.

       16            MR. MARCUS:      Yes.

       17            THE COURT:       The University of Florida.

       18            MR. MARCUS:      Thank you, Your Honor.

       19            THE COURT:       All right.   Anything else?

       20            All right.       I saw some of the Government's voir dire

       21   questions, but I'm not going to ask some of them.          I'm certainly

       22   not going to ask any juror what the highest grade that they

       23   completed is.    I think if you want to ask jurors that in your 15

       24   minutes, I'll give you the rope for those 15 minutes to ask that

       25   question, but I think it's an inappropriate question to ask.            I
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        1   think some of the smartest jurors went to elementary school and

        2   some of the worst jurors get Ph.D.'s, or worse, jurist doctors.

        3   I've had them, too, and I've had them recently in a civil case.

        4   So I won't ask those questions, but I'll ask enough.

        5             If you think any have been missing, that's why I give

        6   you a chance to ask whatever you think is appropriate, as long

        7   as you don't harass a juror.     All right?

        8            Okay.    So have a seat.     You don't have to stand up when

        9   we're bringing in a lot -- I'm also going to tell them in case

       10   they have heard about the shutdown, it doesn't affect them

       11   because the judiciary has three weeks' worth of money.         We're

       12   very efficient.     So this case will not last three weeks, so

       13   they're fine.    I'm sure it's going to be resolved, like it

       14   always does, within a day or two and, at worse, within a week or

       15   two.   That's just the way it is.       Okay?

       16             Anything from the Government for voir dire?

       17             MR. LARSEN:    Nothing, Your Honor.

       18            THE COURT:     From the defense?

       19             MR. MARCUS:    Your Honor, I just had a question about

       20   how you will seat the jurors when they come in.

       21             THE COURT:    Left to right.

       22             MR. MARCUS:    Okay.

       23            THE COURT:     I have never learned Hebrew, so I never do

       24   it right to left.    Left to right.       That's how I do it, and they

       25   will be in the back on the right side, from my perspective, the
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        1   jurors.    So they're in order.     You've got the list already.

        2              They are outside, but they're lining up.

        3              MR. LARSEN:    Your Honor, quick question before we get

        4   started.    When we were at the conference, we spent a

        5   considerable amount of time going through the evidence and I

        6   think Your Honor mentioned that we would just move in the

        7   evidence that we --

        8              THE COURT:    I think we should select a jury first,

        9   don't you?

       10              MR. LARSEN:    Sure, Your Honor.

       11              THE COURT:    I think it's not a good idea to submit

       12   evidence until a jury is sworn.        That's when jeopardy attaches,

       13   and we'll do that.      We'll have time to do that, of course.

       14   We'll go through all the exhibits that have been agreed on, the

       15   exhibits that have not been agreed on, and then you can make

       16   your openings statements.      Of course, we'll do that.

       17              You all have extra copies of the Witness List for the

       18   court reporter?    They gave it to you already?

       19              You know, she has her own dictionary for when you do

       20   your opening statements, so she knows the right spelling of the

       21   names.

       22              THE COURT SECURITY OFFICER:         All rise.

       23       (The venire entered the courtroom.)

       24              THE COURT:    Thank you, Mrs. Christie, as efficient as

       25   always.
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        1             Please, be seated.

        2             THE COURTROOM DEPUTY:     We are missing one.

        3             THE COURT:     You're missing one?

        4             THE COURTROOM DEPUTY:     Yes, but I'll get him.

        5             THE COURT:     Well, not if he's in the restroom or

        6   anything.

        7             THE COURTROOM DEPUTY:     No, he's downstairs.

        8               THE COURT:   Why don't you swear them in first?

        9             THE COURTROOM DEPUTY:     Jurors, could you please rise

       10   and raise your right hand?

       11       (The venire was sworn in by the Courtroom Deputy.)

       12             THE COURTROOM DEPUTY:     Thank you.      You can have a seat.

       13             THE COURT:     Good morning, everybody.      I'm Fred Moreno,

       14   the presiding judge in a case.      We call this case United States

       15   of America versus Monty Ray Grow.         The case number is

       16   16-20893-CR, which means criminal.           Here in Federal court, we

       17   try criminal and civil cases.      This happens to be a criminal

       18   case.

       19             Representing the United States of America as

       20   prosecutors, who do we have?

       21             MR. LARSEN:     Good morning.      Kevin Larsen.

       22             MR. JUENGER:     And Jon Juenger on behalf of the United

       23   States.   Good morning, everyone.

       24             THE COURT:     And who else is at the table?

       25             MR. JUENGER:     Also with us is Special Agent Caleb King
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        1   and paralegal Cynthia Lam.

        2               THE COURT:   On behalf of the defendant, who do we have?

        3               MR. RASHBAUM:   Good morning.    Dan Rashbaum, Jeff Marcus

        4   and Kate Meyers representing Monty Ray Grow.

        5               THE COURT:   All right.    Thank you.

        6               Now, let me tell you.     First, let me tell you one

        7   thing.    I don't know if you watch the news.       Sometimes watching

        8   the news too much is depressing, right?        On occasion there's

        9   something nice that makes us feel good, but that's probably a

       10   minority.

       11               One of the things that have been in the news is a

       12   so-called Government shutdown.        It doesn't affect you.   It

       13   doesn't affect juror fees.      Number one, the judiciary has enough

       14   money for three weeks, even with a shutdown.         So I don't know if

       15   anybody was even thinking, oh, my goodness.         I really need my

       16   $40 a day and my mileage and my parking fee.        Am I going to get

       17   it?    Or maybe some of you were saying, wonderful, they are going

       18   to cancel the jury trial.      I'm going to be able to go to work,

       19   where I love to be.      I don't know, but it's not an issue for

       20   you.     You may have other issues.

       21               Let me tell you what we're going to do.      I'm going to

       22   tell you a little bit about what the case is about, not much,

       23   and then I'm going to ask you if anybody has heard about the

       24   case, knows any of the individuals here -- that's why I have

       25   them say who they are -- and whether you can sit here.         This
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        1   case should take two weeks, but that means I always want to give

        2   myself a couple of days.     Why?     Someone could get sick.    I may

        3   accommodate your schedule, if you want to see a child at a play

        4   or something happened, you had a doctor's appointment, and we

        5   had to take a couple of hours off or a morning or an afternoon.

        6   So it's two weeks, the period that you were summoned for, but

        7   just in case, we'd better plan for Monday or, at the latest,

        8   Tuesday after that.     And I've told the lawyers that and they are

        9   pretty sure.

       10             Does anybody disagree that we can do it in two and a

       11   half weeks, Government?

       12             MR. LARSEN:   No disagreement, Your Honor.

       13             THE COURT:    Defense?

       14             MR. RASHBAUM:    No, Your Honor.

       15             THE COURT:    See, so I've kind of boxed them in here on

       16   the record in front of you.        I do that intentionally after I

       17   have spoken with them.     So they are going to do their best.

       18   We're going to do our best.     They're going to do their best

       19   because I just sit here, but I'm probably going to help them on

       20   that angle, the time.

       21             But if you have any conflicts, whenever we call your

       22   name I want you to bring it up, even if I don't ask you

       23   specifically:   Can you sit here?         Have you ever heard about this

       24   case?   Do you have any problems?

       25             I'm going to ask you a bunch of questions.         We don't
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        1   mean to pry into your private affairs.        We just haven't been

        2   able to come up with a better system of picking a fair and

        3   impartial jury than by asking you a bunch of questions.

        4               How many of you have been questioned before in any

        5   court for jury selection?     Raise your hand.     Okay.   So some of

        6   you know that already.     So you've got to go through it again.

        7   You know, maybe you're a little older, but you don't look it

        8   now.    Maybe you've changed jobs.      We're going to ask you those

        9   things.     We won't ask you how old you are.

       10               The only thing we'll ask you is:     Where do you live?

       11   We don't want to know your exact address, not because of this

       12   case.   We've got that downstairs, the Clerk's Office does.        But

       13   I want to know the neighborhood, the town.        So don't just tell

       14   me Miami.    It could be Little Havana.      It could be Little River.

       15   You know, some names change.     Sometimes I don't even know some

       16   places.   Oh, yeah, what neighborhood is that?       Oh, it used to be

       17   Lemon City.     It's no longer Lemon City.     It's something else.

       18   So I want you to tell me that.

       19               If you're employed outside of the home, tell me what

       20   you do for a living.     If you're married, what your husband or

       21   wife, what your spouse does for a living.        Okay?   If you've ever

       22   been a juror before, not just questioned, but actually sat in on

       23   a case.     Was it a civil case where people sue each other for

       24   money, you know, an accident, a business dispute, a malpractice

       25   claim or a criminal case where someone is charged with a crime?
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        1   Did you reach a decision?     No one will ask you what the decision

        2   was, but whether you and the other jurors agreed on a decision,

        3   a verdict.   Tell us whether you were the foreman or forelady of

        4   the jury, the person who signs and dates the verdict form; of

        5   course, whether you can sit here.

        6             Now, if you're excused, you'll get to go before a much

        7   wiser and probably more pleasant judge in another courtroom, but

        8   it's probably going to be an even longer case than this.        A

        9   bunch of judges are waiting for jurors, and probably with not as

       10   nice of lawyers as you have here.

       11             I know since you're under oath, it wouldn't affect your

       12   answers, but it may affect the enthusiasm of your response.         So

       13   I wanted to let you know, you don't just go to the park.        You're

       14   going to go to another judge in another courtroom, and maybe it

       15   will be one of those civil patent cases, I don't know, or

       16   something like that, and you may enjoy that better than a

       17   criminal case.    I don't know.

       18             Okay.   Now, in Federal court and in State court, too,

       19   except in death penalty cases -- and obviously this isn't one of

       20   those -- the jurors have nothing to do with sentencing.        But one

       21   of the questions I'll ask you is whether anyone has any

       22   religious objections to sitting as a juror.       So I'm asking you

       23   now as a group.    So if you are one of those individuals whose

       24   religion precludes you, prohibits you from being a juror, we're

       25   going to have a little chat.      We probably won't have a
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        1   theological discussion because that's probably a little

        2   inappropriate, but I've got to make sure you understand my

        3   question.

        4             In other words, you have nothing to do with sentencing,

        5   assuming -- and I'm not assuming -- you presume the defendant is

        6   innocent unless and until proven guilty beyond a reasonable

        7   doubt, but you don't have anything to do with sentencing no

        8   matter what, whether to find someone not guilty or guilty.         All

        9   right?

       10               I'm going to ask you if you or anyone close to you has

       11   ever been arrested.    So you want to tell me about your son got

       12   into trouble while your daughter didn't or your daughter did

       13   while she was a teenager and then you're going to have to tell

       14   me if someone got arrested; you, yourself, whether it was a

       15   driving under the influence or something else.

       16             Then I'm going to ask you if you thought you were

       17   treated fairly or your relative or your friend.       Any question I

       18   ask you about yourself also involves friends.       We are sometimes

       19   closer to our friends than we are to our relatives.        So you have

       20   to assume that that's what I'm asking.       So if your best friend

       21   was arrested and you thought, oh, my gosh, he was treated so

       22   unfairly by the judge, the prosecutor, his own lawyer, let me

       23   know, and then we'll follow it up to see whether that would have

       24   any influence on you.

       25             If you have ever been a witness in any proceeding of
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        1   any type, before any agency or trial; if you've been the victim

        2   of a crime, someone whose house was burglarized, car was stolen,

        3   the victim of identity fraud, tax fraud, anything like that, let

        4   me know, and then tell me is that going to affect you in this

        5   totally unrelated case.     If it does, we will chat a little bit

        6   about it, okay, to see whether you can sit here and be fair.

        7               I'm also going to ask you if -- of course, if you've

        8   ever served on a jury, if you've ever been in the military or

        9   anyone close to you or ever participated in any court marshal

       10   proceedings, ever been a witness.

       11             After I ask you a bunch of questions like that, whether

       12   you can follow the law, there will be some general questions.

       13   And then there probably won't be any more questions left to ask,

       14   but the lawyers will come up with something because they're

       15   representing their particular clients, and I may have forgotten

       16   something or they may want to follow it up.       I've given them the

       17   opportunity to ask you questions.

       18               Then most of you are going to be excused, not because

       19   you could not be fair and impartial jurors.       Most of you are

       20   going to be excused because we're only going to choose 15, 16

       21   individuals.    We'll see how many, and you can count there are a

       22   lot more.    So you're going to get a chance to see that other

       23   judge in that other longer trial, probably, but probably not

       24   today.   I don't know whether they'll be ready for you this

       25   afternoon.     Okay?
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        1             Now, some of you, of course, are concerned about your

        2   jobs.   Well, you shouldn't be concerned about your jobs.          Your

        3   employer can never penalize you.        They can never fire you

        4   because you're on a jury or demote you or say something, unless

        5   they are thinking of having free room and board and coming

        6   before me, because that's what will happen to them.          Okay?   So

        7   you don't have to worry about that, but if you have a concern

        8   about something happening, let me know and we will figure it

        9   out.

       10             I cannot think of anything more important than jury

       11   duty except probably military duty, and military duty is usually

       12   a two-year thing.    You can get shot at in Iraq or Afghanistan.

       13   So this is going to be pleasant in a certain sense.          It's still

       14   duty and you make your own decision, but you also have company,

       15   you know, a dozen or so jurors to help you out.          So it's a way

       16   to do your duty, one way where democracy is in action in the

       17   judiciary.    You vote for your congressman and your senators.

       18   They're the ones who pass the law.           I'm going to tell you what

       19   the law is.   You have to follow it whether you agree or not.

       20             Now, the important part about that is if something has

       21   happened to you; you sued someone, you were sued, you were mad

       22   at the Government for whatever reason -- and the Government is

       23   the prosecutors here -- and you are mad because something

       24   happened -- I don't mean mad because of politics and all of

       25   that.   We're not going to get into that, right, because there
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        1   are always two sides to everything.          Sometimes it gets a little

        2   bit more volatile than others, but if you read history, the only

        3   difference about today versus the past is we find out

        4   instantaneously about everybody's disputes.          If you read history

        5   from the revolutionary days, I mean, they had duels and shot at

        6   each other and everything to resolve disputes.

        7             But the reason I'm mentioning that is, if for some

        8   reason you are so upset that you think you would take it out on

        9   the defendant, who's presumed innocent; on the Government here,

       10   the prosecutors who have to prove in this case, who have nothing

       11   to do with whatever dispute you have, let me know.          We'll chat

       12   about it.    I'm not going to just let you out.        We will chat

       13   about it and see what your feelings are.          Okay?

       14               But you tell me if you can sit here for your required

       15   two weeks.     Don't tell me after you're chosen, oh, you know, I

       16   forgot to tell you, I'm celebrating my -- well, I see around,

       17   nobody is that old, but my 25th wedding anniversary, and I don't

       18   want you to get a divorce when you're celebrating your 25th.          So

       19   tell me your problems now, whatever problems you have dealing

       20   with scheduling or sitting here.

       21               Okay.   Now, if you can't hear me, you have a hearing

       22   problem -- I'm just speaking now much more loudly into the

       23   microphone -- let me know.      But, you know, we can move you

       24   around to be closer, those of you who are far away.

       25               Then, of course, English sometimes becomes an issue.
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        1   You know, English was my third language, so I understand.            My

        2   kids say I have an accent.     I tell them, I don't think so, but I

        3   suspect that I probably do.     Having an accent shouldn't prevent

        4   you from being a judge or a juror.           So don't worry about that.

        5   It's understanding what's going on.          And I tell the lawyers, the

        6   best thing to do is to speak regular English, and not lawyer

        7   English.   You'll be better off.

        8              And then you say, I don't know anything about the law.

        9   Well, I'm going to tell you everything you need to know about

       10   the law.

       11              See, this is how a trial is conducted.        First, we go

       12   through the jury selection, and for some reason, we use two

       13   French words, voir dire, which voir means to see, dire means to

       14   talk.   Some lawyers think in Latin it means to speak the truth.

       15   I don't know where they got that, but it's not that.             It's to

       16   see and to speak, and what we're doing is we're seeing each

       17   other and we're speaking with each other, because after you're

       18   chosen, you can't talk about the case until the case is finished

       19   and you're deliberating.     Many of you are going to be excused.

       20   So we want to know a little bit about yourself.          Okay?

       21              If for some reason the answer to a particular question,

       22   you cannot answer it in front of everybody, then let me know.

       23   But you'll be surprised, you know, so many people have been

       24   victims of crimes.    Everybody has had a nephew or you, yourself,

       25   charged with something.     So there's really no shame in those
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                                                                                       19


        1   things.     It's just part of life, it's been my experience.       I

        2   don't see why this case would be any different than the 750 some

        3   trials I've tried.    Okay?

        4               But let me know if you cannot be here for any reason.

        5   English, all right?     Of course, if you understood what I've

        6   said, you really don't have a language problem.         So we'll chat,

        7   right?    So we'll do that at the time.       Okay?

        8               Now, this case, the defendant, of course, is presumed

        9   innocent, as I've already said once, unless and until proven

       10   guilty beyond a reasonable doubt.        The way a trial is conducted,

       11   after you're selected, if the lawyers want to make an opening

       12   statement, they can.    They don't have to if they don't want to,

       13   but they always do.     They tell you what they think the evidence

       14   will show.

       15               The burden of proof, what we say in the law of the

       16   burden of proof, the prosecutors are the ones who have to prove

       17   the case beyond a reasonable doubt.          The defendant doesn't have

       18   to say or do anything.     The lawyers don't have to say or do

       19   anything.     I've never seen the lawyers not do anything or say

       20   anything.     I don't think this is going to be that case, the

       21   first one in my close to 32 years as a judge, but it could be.

       22   But I don't think so.     But they don't have to say or do

       23   anything.    The burden of proof is always on the prosecutors, the

       24   Government, beyond a reasonable doubt.

       25              Other countries have different systems, other countries
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        1   that say are more progressive than we are, in Europe.           If you

        2   have a problem with our system of justice, you say, you know

        3   what, this thing about being presumed innocent and the burden of

        4   proof and the prosecutors having to prove the case, I can't

        5   follow that.    I'm sorry, judge, I cannot do it.        Then let me

        6   know.   I'm not going to ask you individually, can you follow the

        7   law?    So that's why I'm having this longer chat with you.         You

        8   tell me what your problems are regarding that.          But you have to

        9   follow the law whether you agree with it or not, but if you

       10   disagree with it so strongly, I want to know about it, okay,

       11   because of whatever happened to you or your son or your brother

       12   or your father or something.

       13             And then after the Government rests, you'll hear

       14   closing arguments from the lawyers.          They tell you what they

       15   think the evidence has shown.     By then I tell them what I'm

       16   going to tell you about the law, and then I tell you about the

       17   law, and only then is when you start talking about the case

       18   inside the jury room, so it will be your second home.           We have

       19   coffee, soda.   This is a very, very nice building.         You paid for

       20   it, so you might as well enjoy it.           And that will be probably

       21   next week.

       22              So you tell me whether you're willing to do your duty

       23   or not this one time for our great country that has given so

       24   many of us so much.

       25             Now, another thing that today I have to tell you is
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                                                                                       21


        1   that a lot of people use the Internet.         A lot of people like to

        2   google and do other things.     And what they like to do is, they

        3   start googling the names of the lawyers and the case and the

        4   judge.    If you start googling me, you will be there for hours,

        5   you know and that's the first thing, because I've been around

        6   maybe too long, some people say, but you cannot do that.          So if

        7   you're addicted to the Internet and you cannot sit here for two

        8   weeks and google about the case, get on the Internet, conduct

        9   your own investigation, talk to other people, you suffer from

       10   that illness and you say, I cannot get away from that, let me

       11   know.    We'll send you to the appropriate therapist, too, okay?

       12   Because that's what you have to do here.

       13              Now, I'll make a deal with you in the event there's

       14   been some publicity in the past in this case.          I'll tell you a

       15   little bit about it.     And I will make a deal with you if you are

       16   one of those individuals, and I'll cut out the articles, if

       17   there are any, in the Miami Herald.          I'll do that for you.   And

       18   at the end, once you've reached a decision, if you want, along

       19   with your juror certificate, I'll give you those articles.           You

       20   can throw it out just like the juror certificate if you wanted

       21   to.     I don't know.   You do what you want with it.

       22              But that's the deal that I'll make with you because you

       23   must be able to not talk about the case.          It may be the last

       24   thing you want to do after you spend a bunch of hours here every

       25   day, want to talk about it, but you know yourself better than
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        1   anybody.    So those are the things.         And I will constantly tell

        2   you not to get on the Internet on anything, but not to google or

        3   whatever other means.     It doesn't have to be Google.         I'm not

        4   preferring one enterprise over another.

        5              Now, I'm told -- and again, the defendant is charged

        6   through what we call an Indictment.          A big word is superseding,

        7   which means it's a second Indictment, second because the first

        8   one was modified.    No big deal.     And he's charged -- he's a

        9   marketer for pharmacies and he was a former National Football

       10   League player and a former University of Florida football

       11   player.    His name is Monty Ray Grow.        You've heard the lawyers

       12   announce that he's here and he sits there presumed innocent

       13   unless and until proven guilty beyond a reasonable doubt, and

       14   the Government through the grand jury is charging him with

       15   conspiring with agreeing with others to defraud the Federal

       16   Government in a health care program called Tricare that involves

       17   veterans or people in the military.

       18              So has anyone in the first or second row here in the

       19   jury box ever heard of this case or of this defendant as a

       20   football player or about the case and the charges?          No one has.

       21   How about back there, in any of those rows?          Anybody?    No one

       22   has.   All right.   Now, that's fine.

       23              Now, if something comes up in the next two weeks and

       24   you're sitting at home with your wife and she says, oh, look at

       25   that, that's your case.     You have to immediately turn the
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                                                                                       23


        1   channel and turn it off, and the next day you tell me, this is

        2   all I've heard.     Or the newspaper article or whatever, okay?

        3                You've got to resist that temptation.    And the reason

        4   for that -- and you can't talk about the case.        It's not just

        5   because I order you not to.     It's because the parties, the

        6   lawyers on both sides are going to choose jurors after they have

        7   spoken with you and mostly heard from you, who they think will

        8   be fair, and I have no doubt that you will adhere to your oaths.

        9                They haven't chosen your neighbor who's going to tell

       10   you, oh, you know, I remember I went to Florida State.        I

       11   remember that guy when he was at Florida.         Oh, my God, I can't

       12   believe what happened, find him guilty; or some Gator fan says,

       13   find him not guilty, he was great, or that type of thing.         Or

       14   they have heard about the case and they say, oh, you know -- so

       15   you have to be the type of person who will decide this case with

       16   what is presented here, not what your neighbor tells you, even

       17   your spouse or your children.     All right?

       18                So I think that's enough of my mini-sermon.     Now, we

       19   will get to the real questions.       So I'm going to start in order.

       20   BY THE COURT:

       21   Q.   Jose Perez.    We're going to give you a microphone, wherever

       22   it is.   How are you?

       23   A.   (By Mr. Perez) Good morning.

       24   Q.   Okay.    You know, one of the most important persons in the

       25   courtroom is Gilda Pastor-Hernandez.         She's a young lady sitting
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        1   down there on my left and you won't hear her say anything, but

        2   she's constantly typing on those fingers of a pianist and she

        3   takes everything down.     If I say something dumb, which sometimes

        4   I do, she'll write it down no matter what it is, which means you

        5   have to answer the question by saying yes or no and explaining

        6   yourself.      You cannot nod your head sideways or up and down or

        7   say uh-huh or uh-uh.      We've got to hear yes or no, and it's got

        8   to be loudly into the microphone.

        9              You were the first juror, so that's why I said that, so

       10   everybody can hear it.

       11              Where do you live, Mr. Perez?

       12   A.   In Miami.

       13   Q.   Can you put that a little closer?

       14                Where do you live?

       15   A.   Miami.

       16   Q.   In Miami.     What part of Miami?

       17   A.   Near the Kendall Hospital.

       18   Q.   Near Kendall?

       19   A.   Yeah.

       20   Q.   Okay.    What type of work do you do?

       21   A.   AC.

       22   Q.   Air conditioning?

       23   A.   Yeah.

       24   Q.   Okay.    Do you have any problems understanding me?

       25                Well, see, you're shaking your head --
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                                                                                       25


        1   A.   Yeah.

        2   Q.   -- and your shoulders, but the court reporter doesn't put

        3   any of that down.

        4                How much have you understood of my remarks this

        5   morning, would you say, from zero to 100 percent?

        6   A.   10 percent.

        7   Q.   10 percent?    I'm glad you're in air conditioning and not a

        8   teacher.     I would never have graduated from anything.     10

        9   percent?      You're tough.

       10              Do you ever watch television?

       11   A.   Yeah.

       12   Q.   What's your favorite show?

       13   A.   I don't see -- the sports.

       14   Q.   You see sports only?

       15   A.   Yeah.

       16   Q.   You don't watch anything but sports?      You watch the sports

       17   in English or in Spanish?

       18   A.   English.

       19   Q.   Okay.    You understand what the sportscasters say?

       20   A.   50 percent.

       21   Q.   And you sometimes disagree with what they say?       Oh, he

       22   should have done this, he should have done that.        Do you ever

       23   disagree with the sportscaster, the guy on TV talking about -- I

       24   don't know what sports you watch, but have you ever been a

       25   juror?   Have you ever been on a jury?
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        1   A.   Who?

        2   Q.   Have you ever been in court?

        3   A.   No.

        4   Q.   Are you married?

        5   A.   Yeah.

        6   Q.   Okay.    Do you have children?

        7   A.   One child.

        8   Q.   How old?     How old is the child?

        9   A.   15.

       10   Q.   15.     Boy or girl?

       11   A.   Girl.

       12   Q.   You speak in Spanish or English to the child?

       13   A.   Both.

       14   Q.   Both?

       15   A.   Yeah.

       16   Q.   When you speak in English, does the child understand you?

       17   A.   Yeah.

       18   Q.   Is the child speaking -- it's a teenager.         Is the teenager

       19   speaking in English to you?

       20   A.   Yeah.

       21   Q.   Do you understand your child?

       22   A.   Maybe 50 percent.

       23   Q.   50.     I'm moving up.    Okay.   10 percent.   So if I tell the

       24   lawyers to speak like a 15-year-old, and then we move up from 10

       25   percent to 50 percent.        I think if I spent another 20 minutes
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        1   with you, you would make me pass with 70.

        2               All right.     Have you or anyone close to you ever been

        3   arrested for anything?

        4   A.   No.

        5   Q.   See how quickly you answer that.          You understood 100 percent

        6   of that.

        7               Do you know any people in police work; Federal agents,

        8   anything like that?

        9   A.   No.

       10   Q.   Have you ever had any disputes with the Federal Government?

       11   A.   No.

       12   Q.   All right.    Okay.    Well, I think you know more than 50

       13   percent because we've had this discussion in English.           Okay?

       14               All right.     Yoelis Diaz.    How are you?

       15               Give him the microphone.       Tell me a little bit about

       16   yourself.     Where do you live?

       17   A.   (By Mr. Diaz) I live in Homestead, Florida.

       18   Q.   Wow.    How long did it take you to get here today?

       19   A.   One hour and -- close to two hours.

       20   Q.   Wow.    It's a long way.    Did you take Metrorail?

       21   A.   No.    I'm driving.

       22   Q.   You may want to take Metrorail -- that's not an order --

       23   because I think it's easier.       You park it.      You take it.   It

       24   drops you off there.        And then you can either walk or take the

       25   people mover.
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        1               What do you do for work?

        2   A.   I am product development supervisor.

        3   Q.   I didn't hear the first part.

        4   A.   Product development.

        5   Q.   And are you married?

        6   A.   Yes, sir.

        7   Q.   Is your wife employed?

        8   A.   No.

        9   Q.   Do you have kids?

       10   A.   Yes.

       11   Q.   And have you ever been a juror?

       12   A.   Juror, no.

       13   Q.   Do you want to be a juror?

       14   A.   It's interesting.     I don't know.

       15   Q.   The record will reflect the enthusiasm of his willingness to

       16   serve.

       17               Okay.   You know, if you're selected, at the end of the

       18   case you'll probably call it jury pleasure, not jury duty,

       19   because of my staff and the lawyers.         I think you'll enjoy it.

       20   I'm not suggesting it's not a difficult thing to do, but

       21   sometimes difficult things are enjoyable.

       22               Have you or anyone close to you ever been arrested?

       23   A.   No.

       24   Q.   Do you know anyone in law enforcement, police work, agents,

       25   that kind of thing?
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        1   A.   No.

        2   Q.   Can you think of any reason you should not be a juror?

        3   A.   I don't know.      No.

        4   Q.   Okay.    If you don't know, I don't know either.     And I think

        5   you look good, right?

        6              Have you ever been the victim of a crime?

        7   A.   No.

        8   Q.   Have you ever testified in any court?

        9   A.   No.

       10   Q.   All right.     Are you nervous?

       11   A.   No.

       12   Q.   All right.     Good.     I like that.

       13              All right.    Thank you.

       14                Maximiliano Ollenik, how are you?

       15   A.   (By Mr. Ollenik) Good.       Good morning.

       16   Q.   Great.     Good morning.    Can you be here with us for the next

       17   couple of weeks?

       18   A.   I cannot.

       19   Q.   You cannot?

       20   A.   I cannot.

       21   Q.   Why not?

       22   A.   I have a business trip scheduled for next Monday.

       23   Q.   And when you got your summons, did you cross out the second

       24   week -- when they said two weeks, you said one week only?

       25   A.   No.     My company scheduled this trip mid -- last week, in the
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        1   middle of the week.      I had already filled out my online

        2   questionnaire by then.

        3   Q.   Okay.     And what do you do?

        4   A.   I'm an international project manager.

        5   Q.   Where are you going?

        6   A.   Colombia.

        7   Q.   For how long?

        8   A.   Just the week of the 29th.

        9   Q.   The whole week?

       10   A.   I leave Sunday.     I come back that Friday.

       11   Q.   Okay.     So you would rather serve on another case right after

       12   that?

       13   A.   I would rather serve on this case, if you can get my

       14   employer not to get me to go.

       15   Q.   Do you want me to call him?        You know --

       16   A.   If you --

       17   Q.   Pardon?

       18   A.   If you can get me not to go, then absolutely.

       19   Q.   Okay.     Are you going alone?

       20   A.   Yes.

       21   Q.   Okay.     So you go alone.   They never postpone anything?

       22   A.   Sometimes it gets canceled, but I already got the ticket.

       23   Normally they tell me about these trips ahead of time, and they

       24   ask me if I can go or not.        In this case, it got booked in the

       25   middle of last week.
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        1   Q.   All right.     And are you married?

        2   A.   I am not.

        3   Q.   Have you or anyone close to you ever been arrested?

        4   A.   No.

        5   Q.   Ever been on a jury?

        6   A.   No.

        7   Q.   All right.    Ever been the victim of a crime?

        8   A.   No.     Well, my car got broken into once.

        9   Q.   Okay.    Is that going to affect you in this totally unrelated

       10   case?

       11   A.   Absolutely not.

       12   Q.   Ever been a witness in any proceeding?

       13   A.   No.

       14   Q.   All right.    Thank you.

       15   A.   You're welcome.

       16   Q.   And you live in what part of town?

       17   A.   I live in Kendall.

       18   Q.   Okay.    Thank you.

       19              Roberto Luis Izquierdo Beltran.     Mr. Izquierdo, tell me

       20   a little bit about yourself.     Where do you live?

       21   A.   (By Mr. Izquierdo Beltran) Cutler Bay.

       22   Q.   Married?

       23   A.   No.   Divorced.

       24   Q.   Employed?

       25   A.   Holiday Inn in Miami Beach.
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        1   Q.   What do you do for them?

        2   A.   Maintenance.

        3   Q.   Have you ever been a juror before?

        4   A.   No.

        5   Q.   You're looking forward to it then?

        6                Let the record reflect that there's a gap between

        7   question and answer.

        8   A.   My answer is I don't speak English a lot.         I'm trying.   So I

        9   understand 60 or --

       10   Q.   I told you I would move up.        See?   10, 50, 60 percent.   I've

       11   understood 100 percent of what you've said, but I guess I've got

       12   to do better.      Okay.

       13                At that Holiday Inn in Miami Beach, do you ever talk to

       14   people from countries in Europe?

       15   A.   No.

       16   Q.   No?     You never talk to any of the customers, the guests?

       17   A.   No.

       18   Q.   Do you watch television?

       19   A.   Yeah.

       20   Q.   What's your favorite show?

       21   A.   I watch Netflix.

       22   Q.   Okay.    Netflix.     And you watch movies in English and series

       23   in English?

       24   A.   Yes, in English.

       25   Q.   Have you watched The Crown?        It's a great show.   And you
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        1   know what you have to do -- it's the English from England.          So

        2   you have to actually pay attention to it even though one speaks

        3   English.      So you watch Netflix.     You understand it pretty well,

        4   no?

        5   A.    I'm trying.      So that's the reason that I watch in English.

        6   Q.    To improve your English?

        7   A.    Yeah.

        8   Q.    Well, you know what we could do -- it probably -- I mean, I

        9   know it's going to be interesting, but it probably won't be as

       10   interesting at a Netflix series.          But if you're not selected,

       11   and you want, I'll let you sit in in the courtroom during the

       12   two weeks to watch and you won't have to decide.          What do you

       13   think about that offer, to improve your English and you can sit

       14   here?

       15   A.    I don't know.      Improve my English?

       16   Q.    But see, you're laughing.     So you understand.    See, that to

       17   me tells me you understand more than 60 percent, I think.

       18                 Okay.   Have you or anyone close to you ever been

       19   arrested?

       20   A.    No.

       21   Q.    Do you know anyone in law enforcement, police work?

       22   A.    No.

       23   Q.    Okay.    And your wife, before you got divorced, what type of

       24   work did she do?        Did she work outside of the home?

       25   A.    Technician pharmacy.
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        1   Q.   Pardon?

        2   A.   Pharmacy.

        3   Q.   Okay.    All right.    Thank you.

        4               Jefnie Jean, right?

        5   A.   (By Mr. Jean) Yes, sir.

        6   Q.   Mr. Jean, how are you?       Should I call you Jean, the French

        7   way; or Jean, the American way?          What do you prefer?

        8   A.   Either way.    It don't matter.

        9   Q.   Either way.    Okay.     Where do you live?

       10   A.   Little Haiti.

       11   Q.   Are you married?

       12   A.   No.

       13   Q.   Are you employed?

       14   A.   No.     I'm a student.

       15   Q.   Okay.    What are you studying?

       16   A.   Patient care assistant.

       17   Q.   Okay.    I can hear you fine, but I've go to make sure they

       18   hear you.     Patient care assistant?

       19   A.   Patient care assistant.

       20   Q.   And can you sit here and be a juror?

       21   A.   Yes.

       22   Q.   Have you ever been a juror before?

       23   A.   No.

       24   Q.   Have you ever been in court and testified?

       25   A.   No.
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        1   Q.   Have you ever been the victim of a crime?

        2   A.   Yeah, I guess.

        3   Q.   Well, like what?

        4   A.   I mean, the same thing.    Someone broke into my car.

        5   Q.   I'm sorry.    I can barely hear.

        6   A.   Someone broke into my car.

        7   Q.   Your car.    Is that going to affect you in this totally

        8   unrelated case?

        9   A.   No.

       10   Q.   Okay.   And you or no one close to you has ever been

       11   arrested?

       12   A.   Childhood friends.

       13   Q.   Childhood friends.    Did you ever go to court with them?

       14   A.   No.

       15   Q.   Are you still friends with them?

       16   A.   No.

       17   Q.   Okay.   Is that going to make you prefer one side or another,

       18   the fact that childhood friends were arrested?

       19   A.   No.

       20   Q.   Okay.   Do you know any police officers, law enforcement

       21   agents, that kind of thing?

       22   A.   No, sir.

       23   Q.   Anybody in the courtroom?

       24   A.   No, sir.

       25   Q.   All right.   Anything else I forgot to ask you?
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        1   A.   I don't know.

        2   Q.   Okay.    Well, we've got to leave some questions for the

        3   lawyers.     If not, they won't know what to ask, right?

        4                All right.   Thank you.

        5               Nathalie Petit Car, right?

        6   A.   (By Ms. Car) Yes.

        7   Q.   Okay.     Tell me a little bit about yourself.

        8   A.   I'm a nurse and I live in North Miami.

        9   Q.   Are you married?

       10   A.   No.

       11   Q.   Are you employed?

       12   A.   Yes.

       13   Q.   What do you do?

       14   A.   VITAS.    I'm a nurse.

       15   Q.   Have you ever been a juror before?

       16   A.   No.

       17   Q.   Have you ever been a witness in any proceeding?

       18   A.   No.

       19   Q.   Have you ever been in a courtroom?

       20   A.   No.

       21   Q.   Have you ever been the victim of a crime?

       22   A.   No.

       23   Q.   Do you know any law enforcement officers?

       24   A.   Yes.

       25   Q.   What department?
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        1   A.   My brother.

        2   Q.   What is he, do you know?

        3   A.   He is a police officer, a detective for the City of Miami.

        4   Q.   For the City of Miami?

        5   A.   Yes.

        6   Q.   Is that going to make you prefer the Government?       You know,

        7   if they call an agent, you say, oh, you know, for my brother,

        8   I'm ready.     Give me that verdict form.    Would you do that?

        9   A.   What is it?    What was the question?

       10   Q.   If they call the police officer or law enforcement, would

       11   you say, oh, with my brother being a police officer, I'm ready

       12   to rule for the Government?      Would you do that?

       13   A.   No.

       14   Q.   Would you do the opposite because of your brother?

       15   A.   It depends on the question and the answer.

       16   Q.   And the evidence and all of that?

       17   A.   Yes.

       18   Q.   That's all.    All right.   And you and no one close to you has

       19   ever been arrested, right?

       20   A.   No.

       21   Q.   Okay.    Thank you.

       22               And you live in North Miami, you told me, right?

       23   A.   Yes.

       24   Q.   Thank you.

       25               Angelica Berezin, right?
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        1   A.   (By Ms. Berezin) Yes, sir.

        2   Q.   Okay.      By now you know the questions that I'm going to ask.

        3   See how many answers you can give me without my having to ask

        4   all the questions.

        5   A.   Okay.      I live in Miami Beach, born and raised here.      I work

        6   as a Realtor.       I do have family that's been arrested.

        7   Q.   What type of cases?

        8   A.   DUI.

        9   Q.   Is that going to affect you in any way here?

       10   A.   I don't think so.

       11   Q.   Okay.      Do you think they were treated fairly?

       12   A.   No.

       13   Q.   Who didn't treat them fairly?

       14   A.   Their representative, their attorney.

       15   Q.   The lawyers?

       16   A.   Yes.

       17   Q.   Okay.      Any of these lawyers?

       18   A.   No.

       19   Q.   Okay.      Are you going to hold it against them because of what

       20   some other lawyer did?

       21   A.   No, no.      I have lots of friends that are lawyers.

       22   Q.   Okay.      Do they do criminal law or prosecution?

       23   A.     Not criminal -- some criminal.         I network with lawyers a

       24   lot.    So --

       25   Q.   Okay.      Are you going to network with them during these two
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        1   weeks?

        2   A.   No.

        3   Q.   All right.   Have you ever been in a courtroom?

        4   A.   I have.    I was a witness.    I had a case when I was an

        5   employee at Sears that was down the street over 30 years ago.

        6   Q.   Okay.    When you were a child.       Okay.   All right.   Was it an

        7   employment issue of some type?

        8   A.   No, it was a theft.    I was a witness to somebody stealing.

        9   Q.   Do you think anything about that would affect you in this

       10   case --

       11   A.   No.

       12   Q.   -- how you were treated or questioned?

       13   A.   No.

       14   Q.   Have you or anyone close to you ever been arrested?

       15   A.   Yeah, my daughter.

       16   Q.   You told me.

       17   A.   Yeah.

       18   Q.   And what else should I ask you?

       19   A.   So I have another daughter who works for the Federal

       20   Government.

       21   Q.   What agency?

       22   A.   TSA.    She's also applying for other agencies like Secret

       23   Service and so forth.

       24   Q.   Okay.    Is that going to make you prefer one side or another

       25   because of that?
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        1   A.   I don't think so.     She has past military as well.    So no, it

        2   doesn't.

        3              THE COURT:    All right.   Okay.

        4              Has anyone in the first row ever heard of or

        5   participated or done anything with Tricare or any benefits

        6   regarding that?

        7                Nobody?   Okay.

        8              MS. BEREZIN:    Well, my family has had benefits with

        9   Tricare.

       10   BY THE COURT:

       11   Q.   Okay.    Well, I figure you would say that.    All right.    And

       12   is that going to make you prefer one side or another, because

       13   there's going to be some evidence of that here?

       14   A.   (By Ms. Berezin) No, I think I believe in also listening to

       15   evidence and seeing what has to be said about it, but I am

       16   familiar with Tricare, very much.

       17   Q.   Okay.    Thank you.

       18              Let's go now to Elizabeth Ramirez, way over there.       We

       19   are going to give you a microphone to make things easier for our

       20   court reporter, Gilda Pastor-Hernandez.

       21              Ms. Ramirez, where do you live?

       22   A.   (By Ms. Ramirez) Hialeah Gardens.

       23   Q.   Married?

       24   A.   No.

       25   Q.   Employed?
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        1   A.   No.     Full-time student.

        2   Q.   What do you study?

        3   A.   Psychology.

        4   Q.   Psychology.    You know, you could sit on this jury.     You

        5   can't talk about it, but later on you could do a term paper, if

        6   you wanted to.     What do you think?

        7              Do you have any classes that you can miss for the next

        8   two weeks or how does that work?

        9   A.   I would prefer if I wouldn't miss any classes.

       10   Q.   And when you got your notice, did you know you were going to

       11   be going to school?

       12   A.   Yeah, but I didn't know my schedule.      Like I didn't --

       13   Q.   You just got your schedule now?

       14   A.   No, like at the beginning of January, and I got the letter

       15   before.

       16   Q.   So what are your classes now?

       17   A.   In the morning.

       18   Q.   Every morning?

       19   A.   Yeah.

       20   Q.   From what time to what time?

       21   A.   11 and sometimes 10.

       22   Q.   I'm sorry.    I didn't hear the second part.

       23   A.   10 in the morning is the earliest, and I get out like at 12.

       24   Q.   So 10 to 12?

       25   A.   Um-hum.
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        1   Q.   So you could be in the jury if we only worked in the

        2   afternoon?

        3   A.   Um-hum.

        4   Q.   Is that a yes or a no?

        5   A.   Yes.

        6   Q.   Okay.     It may take us more than a week and a half, though,

        7   to try this case.     I don't know, but we might do it.

        8               Have you or anyone close to you ever been arrested?

        9   A.   No.

       10   Q.   Have you ever been a victim of a crime?

       11   A.   No.

       12   Q.   You know anyone in law enforcement?

       13   A.   No.

       14   Q.   All right.    Thank you.

       15                Francisco Chamorro.

       16   A.   (By Mr. Chamorro) Yes.

       17   Q.   How are you?

       18   A.   Doing well.     How about yourself?

       19   Q.   I'll be better when I'm done with questioning all of you,

       20   right?     So will you.

       21               Can you sit here with us for the next couple of weeks?

       22   A.   Yes, I can.

       23   Q.   What do you do for a living?

       24   A.   I work for a general contractor.

       25   Q.   Have you ever been a juror before?
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        1   A.   No.

        2   Q.   Have you or anyone close to you ever been arrested?

        3   A.   Yes, my cousin.

        4   Q.   For what, do you know?

        5   A.   Being young and stupid.

        6   Q.   I'm sorry, I couldn't hear you.

        7   A.   Being young and stupid.

        8   Q.   Yeah, I thought that's what you said, but I'm trying to look

        9   what law that is and I couldn't find it, see?       Because we've all

       10   been there at one point or another, so we're all guilty of that.

       11   Do you know, was it a --

       12   A.   I can tell you the charge.

       13   Q.   Tell me the charge.

       14   A.   It was throwing a deadly missile into an occupied dwelling.

       15   Q.   Okay.    Sounds pretty serious.

       16   A.   He threw a coconut at a shutter.

       17   Q.   Okay.    Now it sounds less serious, see?    Okay.

       18                Now, did he go into a program or what happened to the

       19   case?

       20   A.   Yeah, he got off with doing a bunch of community service.

       21   Q.   All right.    You think he was treated fairly?

       22   A.   No, not at all.

       23   Q.   Tell me, who didn't treat him fairly?

       24   A.   I would say the officers to start with and then afterwards

       25   the system in general was kind of all over the place.
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        1   Q.   The prosecutors and the police?

        2   A.   Correct.

        3   Q.   The judge?

        4   A.   Yes.

        5   Q.   Okay.     Are you going to hold it against these prosecutors or

        6   these defense lawyers for what happened to him?

        7   A.   No, I wouldn't.

        8   Q.   Okay.     Did you ever go to court with him or --

        9   A.   No, never.

       10   Q.   Okay.    And you've never been a witness in any proceeding?

       11   A.   No.

       12   Q.   Have you ever been the victim of a crime?

       13   A.   No.

       14   Q.   Okay.    What else should I ask you?

       15                And you live where?

       16   A.   I live in Sunset.

       17   Q.   Okay.     All right.    Thank you very much, sir.

       18                Jorge Negrin.   How are you, sir?

       19   A.   (By Mr. Negrin) Good.      Thank you.

       20   Q.   Can you stay here with us for a couple of weeks?

       21   A.   I could.    The only thing is I'm doing like physical therapy.

       22   Q.   When do you have that?

       23   A.   Like twice a day because I injured my meniscus.       I have like

       24   an MRI pending that I need to take.

       25   Q.   When is the MRI scheduled for?
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        1   A.   They haven't called me yet, so I wouldn't know.

        2   Q.   Okay.    We'll let you go if they call you.

        3               When do you do your therapy?

        4   A.   Like in the morning and in the afternoon.

        5   Q.   In the morning and in the afternoon?

        6   A.   Yeah.

        7   Q.   Okay.

        8   A.   It's like twice.

        9   Q.   But you have set dates or hours or when is it?

       10   A.   Yeah, I could do it like early in the morning and then late

       11   in the afternoon.

       12   Q.   Well, this week, when is it scheduled for?

       13   A.   Again, in the morning, early in the morning and like 5:00 or

       14   something like that.

       15   Q.   5:00 in the morning?

       16   A.   No, no, no, in the afternoon.

       17   Q.   I was going to say, 5:00 in the morning?       Go do your

       18   therapy.     You'll be ready to go here.     No problem.   I like that.

       19   A.   No, some I could do myself, so --

       20   Q.   Okay.    Well, we'll have enough breaks that if you need to

       21   stretch or do something, we will give you room for that.         But

       22   are you working?

       23   A.   Yes.

       24   Q.   Do you go to work every day?

       25   A.   I can like do work -- I could do work from my house because
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        1   I do like system support.     So some of it, I'm just sitting down.

        2   Q.   Well, can you sit down and be a juror?

        3   A.   Sure.

        4   Q.   All right.   Have you or anyone close to you ever been

        5   arrested?

        6   A.   Yes.

        7   Q.   Who?

        8   A.   My son.

        9   Q.   For what, if I may ask?

       10   A.   Illegal substances.

       11   Q.   I'm sorry?

       12   A.   Illegal substances.

       13   Q.   Was it in Federal court?

       14   A.   Yes.

       15   Q.   Did you [sic] go to trial?

       16   A.   Yes.

       17   Q.   Were you [sic] sentenced?

       18   A.   No, the case was dismissed.

       19   Q.   Was dismissed.   Was it in another courthouse over by Jackson

       20   Hospital?

       21   A.   I actually think it was in this courthouse.

       22   Q.   In this courthouse?

       23   A.   Yeah.

       24   Q.   How long ago was it?

       25   A.   About four years ago.
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        1   Q.   Okay.     Do you remember the judge?

        2   A.   I think it was you.

        3   Q.   Really?     They usually don't remember the judge.      So I'd

        4   better not ask why, huh?      Okay.     I guess should I skip the

        5   question whether you [sic] were treated fairly by the judge?

        6   A.   No, he was.

        7   Q.   Okay.     Well, here we are in another case.      What do you

        8   think?     Do you think the prosecutors treated you [sic] fairly?

        9   A.   Yes.

       10   Q.   Did your own lawyer treat you [sic] all right?

       11   A.   To my son, yes.

       12   Q.   Okay.    And you never served on a jury before?

       13   A.   No.

       14   Q.   All right.     Thank you very much.

       15                Elky Hortensia Porto, right?

       16   A.   (By Ms. Porto) Yes.

       17   Q.   Ms. Porto, how are you?

       18   A.   Good.    How about yourself?

       19   Q.   Great.    Can you be here with us for two weeks?

       20   A.   Yes.

       21   Q.   I'm sorry?

       22   A.   Yes.

       23   Q.   I know I heard that, but are you all whispering or am I

       24   losing my hearing?     One of the two.       I don't know.

       25                Have you ever been a juror before?
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        1   A.   Yes, I have.

        2   Q.   When was that?

        3   A.   In the civil courthouse.      Citizens versus a homeowner.

        4   Q.   Okay.    Did you reach a decision?

        5   A.   Yes, we did.

        6   Q.   Were you the foreman or foreperson of the jury?

        7   A.   I was not.

        8   Q.   Okay.    Can you give us any suggestions as to how to do

        9   things better since you have the prior jury duty?          What do you

       10   think?

       11   A.   No.

       12   Q.   No?

       13   A.   No.

       14   Q.   Okay.    And can you do it again?

       15   A.   Yeah.    Yes.

       16   Q.   Yes.    All right.   And have you or anyone close to you ever

       17   been arrested?

       18   A.   I was arrested like 18 years ago.

       19   Q.   For what, if I may ask?

       20   A.   Cultivation.

       21   Q.   I'm sorry?

       22   A.   Cultivation.

       23   Q.   Do you think you were treated fairly?

       24   A.   I was.

       25   Q.   Is that going to have any influence whatsoever on you?
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        1   A.   No.

        2   Q.   And are you married?

        3   A.   No.   Not legally, no.

        4   Q.   Do you have a boyfriend or --

        5   A.   I am with the father of my son, yes.

        6   Q.   Okay.     What type of work does he do?

        7   A.   He works at a chrome plating shop.

        8   Q.   Okay.    Can you think of any reason you should not be a

        9   juror?

       10   A.   No.

       11   Q.   How long ago was it that you were a juror?           Did you say four

       12   years ago or --

       13   A.   Yeah, about four years ago.

       14   Q.   Okay.     And have you ever been the victim of a crime?

       15   A.   No.

       16   Q.   Do you know anyone in law enforcement?

       17   A.   My brother-in-law is a firefighter.

       18   Q.   Okay.     All right.    Thank you very much.

       19                THE COURT:     What's happening with the mic, Shirley?

       20              THE COURTROOM DEPUTY:        I don't know.

       21                THE COURT:   Nothing?    Okay.      Let's find out.

       22   BY THE COURT:

       23   Q.   Let's find out now with Thony Williams Garcon.

       24   A.   (By Mr. Garcon) Yes, sir.

       25   Q.   Mr. Garcon, where do you live?
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        1   A.   North Miami.

        2   Q.   Married?

        3   A.   Yes.

        4   Q.   You say that with pride.      Good.     Are you working?

        5   A.   Yes.

        6   Q.   What do you do?

        7   A.   Cook.

        8   Q.   Near downtown?

        9   A.   Jackson.

       10   Q.   Okay.    Have you ever been a juror before?

       11   A.   Yes.    I never go inside the court.       I mean, I be a juror,

       12   but I never be inside the court yet.

       13   Q.   Okay.    So you were never chosen or --

       14   A.   No, they never chose me.

       15   Q.   Okay.    Do you want to be --

       16   A.   And in court, I past one week.

       17   Q.   Just waiting or what?

       18   A.   Yeah, just waiting.     That's it.

       19   Q.   Okay.    But you think you can do it?

       20   A.   Yes.

       21   Q.   Have you or anyone close to you ever been arrested?

       22   A.   No.

       23   Q.   Do you know anyone in police work, law enforcement?

       24   A.   No, sir.

       25   Q.   Is your wife working outside of the house?
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        1   A.   Yes.

        2   Q.   What does she do?

        3   A.   She work at Walmart.

        4   Q.   Okay.    Who cooks at home?

        5   A.   We are together.

        6   Q.   Okay.    No, I was just curious.

        7               Okay.   Have you or anyone close to you ever been

        8   arrested?

        9   A.   No, sir.

       10   Q.   All right.     Did I forget any other questions?

       11   A.   Well, I think that's fine.

       12   Q.   All right.     Thank you.

       13               Esther Margarita Rossetto, how are you?

       14   A.   (By Ms. Rossetto) Good, sir.

       15   Q.   Great.     Can you be here with us as a juror?

       16   A.   Why not?     Yeah.

       17   Q.   Why not?    All right.   That's the way we do it.

       18               Have you ever been a juror?

       19   A.   No.

       20   Q.   Have you ever sued anyone or been sued?

       21   A.   No.

       22   Q.   Ever been in a courtroom?

       23   A.   I've been 18 years ago.     I have a situation with a store.

       24   Q.   Were you sued or you were arrested or what?

       25   A.   They arrest me because I return something and I don't have
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        1   the receipt.

        2   Q.   It was a shoplifting charge?

        3   A.   Yes.

        4   Q.   What happened to the case?     It was dropped?

        5   A.   Well, it dismissed because I prove my --

        6   Q.   You had your receipt?

        7   A.   Yes, I had the receipt.

        8   Q.   Do you think you were treated fairly?

        9   A.   Yeah.

       10   Q.   From the beginning to the end?

       11   A.   Well, to the end.

       12   Q.   At the end?

       13   A.   At the end.

       14   Q.   Okay.   Now, so are you going to hold it against these

       15   prosecutors because you were prosecuted for shoplifting at some

       16   point a few years ago?

       17   A.   Yeah, no.

       18   Q.   You're going to hold it against them?

       19   A.   No.

       20   Q.   No?

       21   A.   Definitely no.

       22   Q.   Okay.   And you live where?

       23   A.   In Hialeah -- Miami Gardens.

       24   Q.   Okay.   All right.   How long does it take you to get here?

       25   A.   Oh, here?
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        1   Q.   Yeah.

        2   A.   The court?     The time that I --

        3   Q.   How much time did it take to come here from --

        4   A.   Oh, 18 years ago.

        5   Q.   No, no.     I don't mean then.    Today.

        6   A.   Today?

        7   Q.   Yeah.

        8   A.   When I come?

        9   Q.   The driving.     Did you drive?

       10   A.   No, I took a Lyft.

       11   Q.   You took Lyft?

       12   A.   Uh-huh.

       13   Q.   How long did it take Lyft to get here?

       14   A.   Oh, maybe an hour.

       15   Q.   An hour.     Okay.   I was just wondering.

       16   A.   Yeah.     I paid $30 for that.

       17   Q.   $3?

       18   A.   30.

       19   Q.   Oh, 30.     I was going to say, $3?      They won't make it.

       20   A.   I know.     I never use a train.     That's why.

       21   Q.   Okay.     You don't like to use a train?

       22   A.   No, I never use it.

       23   Q.   Maybe this --

       24   A.   But I try for when I go back.

       25   Q.   One other thing about jury duty is you might experience new
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        1   things.     You'll see the downtown, how it's improving.     Check out

        2   new restaurants.

        3   A.   Yeah, I notice.     I notice.

        4   Q.   Do the Metro.     We still have a ways to go.   Get the train,

        5   do the train, meet new people.

        6   A.   Of course.    Yeah, it takes time.

        7   Q.   I mean, I think it's kind of nice.

        8   A.   Yes.

        9   Q.   All right.    Let me see if I convinced Kelly Ann Padron that

       10   it's nice.

       11               Ms. Padron, do you want to be on this jury?

       12   A.   (By Ms. Padron) Sure.

       13   Q.   Have you ever been on a jury?

       14   A.   No.

       15   Q.   Are you working outside of the home?

       16   A.   Yes.

       17   Q.   What do you do?

       18   A.   I'm a purchasing manager.

       19   Q.   For what type of business?

       20   A.   Hospital.

       21   Q.   And you do pharmaceuticals, too, or --

       22   A.   No.

       23   Q.   Have you ever been in a courtroom in any way?

       24   A.   Yes.

       25   Q.   Doing what?
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        1   A.   In traffic cases.

        2   Q.   Pardon?

        3   A.   In a traffic case.

        4   Q.   In a traffic case.       You got the ticket?

        5   A.   Yeah, I've gotten tickets.

        6   Q.   Do you think you were treated fairly?

        7   A.   Yes.

        8   Q.   Is that going to affect you in this totally unrelated case?

        9   A.   No.

       10   Q.   Do you know anyone in law enforcement?

       11   A.   Friends of my family, retired police officers.

       12   Q.   Okay.     Is that going to affect --

       13   A.   Older.    My parents'.

       14   Q.   That's not going to affect you, right?

       15   A.   No.

       16   Q.   And except for the traffic ticket, you've never been

       17   arrested, right?

       18   A.   Yes.

       19   Q.   All right.    Yes, you have not?

       20   A.   Yes, I have.

       21   Q.   Yes, you have?

       22   A.   Yes.

       23   Q.   For what, if I may ask?

       24   A.   Possession of marijuana.

       25   Q.   What happened to that case?
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        1   A.   I served a night in jail.

        2   Q.   Okay.    Do you think you were treated fairly?

        3   A.   Yes.

        4   Q.   Is that going to affect you in this case?

        5   A.   No.

        6   Q.   All right.    Sorry I had to ask, but, you know, I told you

        7   everybody would have something.

        8   A.   I was a teenager.    It was a long time ago.

        9   Q.   All right.    You were a teacher?

       10   A.   A teenager at the time.

       11   Q.   Oh, okay.

       12   A.   It was a long time ago.

       13   Q.   We're very relaxed about that.          All right.   Times are

       14   changing, so... All right.      If you were on either side, you

       15   would want someone as yourself as a juror?

       16   A.   Yes.

       17   Q.   All right.    Thank you.

       18               Diego Fernando Hurtado, how are you, sir?

       19   A.   (By MR. Hurtado) Good.     Yourself?

       20   Q.   Mr. Hurtado, where do you live?

       21   A.   Kendall.

       22   Q.   Married?

       23   A.   No.

       24   Q.   Employed?

       25   A.   Part-time, yes.    Data entry.
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        1   Q.   Okay.     Can you take a full-time job for two weeks with lots

        2   of breaks, flexible hours, pleasant conditions, $40 a day,

        3   parking?      Can you do that?

        4   A.   Yeah, no problem.

        5   Q.   Okay.     You've never been a juror before, right?

        6   A.   I have in a civil lawsuit.

        7   Q.   Did you reach a decision?

        8   A.   We did.

        9   Q.   Were you the foreman of that jury?

       10   A.   No, I was not.

       11   Q.   Do you remember what the case was about, an accident or --

       12   A.   Yeah.     It was a wrongful death.

       13   Q.   Okay.     How long of a case was it, a week?

       14   A.   A little under a week.

       15   Q.   A little under a week.      Well, we will make this one a little

       16   over a week.      That's my goal, if you're selected.      Was it over

       17   at the Flagler Street courthouse?

       18   A.   It was, yeah.

       19   Q.   How long ago was that, more or less?

       20   A.   I want to say more than five years ago.

       21   Q.   All right.    Isn't this a nicer building?

       22   A.   It is much nicer.

       23   Q.   Yeah.     We do it so you're comfortable for the longer period

       24   of time that you'll be here.       Okay?      All right.

       25                And have you or anyone close to you ever been arrested?
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        1   A.   No.

        2   Q.   Do you know anyone in law enforcement, in the legal field?

        3   A.   No.

        4   Q.   Ever been the victim of a crime?

        5   A.   Not that I'm aware of.

        6   Q.   Okay.    Well, if you're not aware, it won't influence you.

        7   All right.     Thank you.

        8                Rosemarie Rey, right?

        9   A.   (By Ms. Rey) Yes.      Good morning.

       10   Q.   Okay.    Good morning.   Now you know what I'm going to ask.

       11   So you're on.

       12   A.   I live by FIU.    I'm a teacher.         Married.

       13   Q.   What do you teach?

       14   A.   I teach Pre-K4.

       15   Q.   Okay.    So you could use a break and be with a bunch of

       16   adults, no?

       17   A.   Actually, this would be great, but it's a bad week.

       18   Q.   Why is it a bad week?

       19   A.   Because we have auditors from the archdiocese coming to our

       20   school to observe us.

       21   Q.   And you don't want the substitute teacher to be observed?

       22   A.   I would love it.    I have three kids, but I can.

       23   Q.   You can do it if you -- did you know that you were going to

       24   have the audit when you got your juror summons?

       25   A.   I didn't know what week it was going to happen.
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        1   Q.   When did they tell you?

        2   A.   Last week.

        3   Q.   Okay.    So you'd rather be there and come back on another

        4   case?

        5   A.   Yes.

        6   Q.   All right.    Because if not, you'll be worried about what

        7   happens?

        8   A.   Well, I have the auditors this week and next week we have

        9   Catholic school week.

       10   Q.   Okay.     So you want to postpone this for a two-week in the

       11   summer.      Do you teach in the summer?

       12   A.   No, I don't.

       13   Q.   So that's what you would rather do?     I'll give you a choice.

       14   What do you want to do?

       15   A.   I'd rather in the summer, probably.

       16   Q.   Okay.    No problem.   Thank you.

       17                Let me then go to Maylyn Cruz-Caraballo.    We're going

       18   to give you the microphone and then I'm going to ask you the

       19   favor of standing up because you're so far away.        Your voice

       20   will carry.

       21                Ms. Cruz-Caraballo, where do you live?

       22   A.   (By Ms. Cruz-Caraballo) I live in Kendall.

       23   Q.   Married?

       24   A.   Yes, I'm married with two kids, one 10 and one 14.

       25   Q.   Can you be here and be a juror?
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        1   A.   Well, if you said that it's going to be like this week the

        2   22nd and next week the 29th, yes, I will.

        3   Q.   You can do it?

        4   A.   Well, yeah.    I prefer no, but --

        5   Q.   You prefer to be at home?

        6   A.   Yeah.    I'm a nurse, you know.

        7   Q.   You prefer to be working?

        8   A.   Yes, I am.

        9   Q.   You know, I think it's wonderful.          And my law clerk -- I had

       10   a former law clerk who said, you know, all the jury trials you

       11   do, so many people like working, that he gave me this bumper

       12   sticker for me to pass out.

       13   A.   No, the problem is I'm planning to take two weeks for a

       14   surgery in February 12th.     So I'm going to be out from my job

       15   two weeks.     So with this would be like a month.

       16   Q.   You know what this says?    I'd rather be working.        He says,

       17   you should pass this out because all prospective jurors tell you

       18   that, and I'm glad the work ethic is still around.           I'm very

       19   proud of that.

       20             But you can do it, right?          You can be here for two

       21   weeks?

       22   A.   Yeah, you said it's like this week and next week?

       23   Q.   It is.

       24   A.   The 29th, yes.   On the 5, I can't.

       25   Q.   Okay.    Which is -- you leave when, the Monday?        You are
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        1   going to leave on Monday, is when you have your surgery or what

        2   do you have?

        3   A.   On Monday, yes.

        4   Q.   On Monday.    Okay.   So we should select you to make sure it

        5   only takes two weeks.      You're the perfect juror.    If I get to

        6   choose, I would choose you, but I don't get to choose, but I

        7   would certainly encourage the lawyers to choose you and maybe

        8   I'll get lucky.

        9              You can be fair to both sides?

       10   A.   Yeah.

       11   Q.   You've never been a juror before?

       12   A.   Never.    I don't watch TV.    I don't know nothing.

       13   Q.   You watch TV?   Okay.

       14   A.   No, I don't like news.      I have never been a jury.    I don't

       15   see nothing.

       16   Q.   Okay.    Is there any reason why you should not be a juror,

       17   for any reason?

       18   A.   No.

       19   Q.   Okay.    Have you or anyone close to you ever been arrested?

       20   A.   No.

       21   Q.   Do you know any police officers, law enforcement agents?

       22   A.   No.

       23   Q.   All right.    Thank you very much.

       24   A.   You're welcome.

       25   Q.   Vanessa Fernandez.      Thank you for standing up.     You're on.
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        1   Tell me a little bit about yourself.

        2   A.   (By Ms. Fernandez) Good morning.

        3   Q.   Good morning.

        4   A.   I live in Kendall Lakes.    I'm in public relations and

        5   marketing.      I am traveling on the 31st on a business trip.     So

        6   if we can wrap up before then, no problem.       I can serve.

        7   Q.   The 31st.    When did you know that?    Is that the second week?

        8   A.   This trip has been planned for a while.

        9   Q.   All these trips are planned right before.

       10   A.   Well, we have a new client and we're onboarding.       So I just

       11   came back from a training last week, and this will be a

       12   follow-up training.

       13   Q.   So it's for training?

       14   A.   Correct.

       15   Q.   Is that for the whole day or --

       16   A.   I'll be in New York the 31st through the 2nd.

       17   Q.   Oh, my goodness gracious.     So you would rather come back on

       18   another case for the whole two weeks?

       19   A.   Unless you can wrap up before the 31st.

       20   Q.   Yeah, that would be a goal.

       21             Have you or anyone close to you ever been arrested?

       22   A.   My brother was arrested for disorderly conduct at a football

       23   game.

       24   Q.   Do you think he was treated fairly?

       25   A.   I wasn't there.    So probably.
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        1   Q.   Do you know anyone in law enforcement?

        2   A.   My father is an ex -- he's a retired police officer for the

        3   City of Miami.

        4   Q.   And did you say you were married?

        5   A.   I am married.   I have a son.

        6   Q.   Yeah, I knew about the son.      You told me.   And your husband,

        7   what does he do?

        8   A.   He's an accountant.

        9   Q.   Okay.   All right.    Thank you very much.

       10   A.   Thank you.

       11   Q.   Leisy Meneses, right?

       12   A.   (By Ms. Meneses) Yes.    Martinez now.

       13   Q.   Where do you live?

       14   A.   Homestead.

       15   Q.   How long did it take you to get here today?

       16   A.   An hour and a half.

       17   Q.   An hour and a half.     So I want you to hint to other jurors

       18   how it takes you a half an hour less, see?        Did you take

       19   Metrorail?

       20   A.   I took the bus, then Metrorail.

       21   Q.   Look at that.   You're the proof it saves half an hour.

       22   A.   It does.

       23   Q.   Okay.   Can you be a juror with us?

       24   A.   Yes.

       25   Q.   Have you ever been a juror?
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        1   A.   No.

        2   Q.   Are you married?

        3   A.   Yes.

        4   Q.   Is your husband employed?

        5   A.   Yes.

        6   Q.   What does he do?

        7   A.   He owns an auto parts store.

        8   Q.   How about you, are you working?

        9   A.   I'm a -- yes.    I'm a legal assistant.

       10   Q.   For what firm?

       11   A.   Pathman Lewis.

       12   Q.   Do they do criminal cases?

       13   A.   No.    Commercial litigation.

       14   Q.   Have you ever been a juror at any time?

       15   A.   No.

       16   Q.   Have you ever been a witness in any proceeding?

       17   A.   No.

       18   Q.   You ever go to court with the lawyers for anything?

       19   A.   No.    Well, I used to work with a bankruptcy judge -- not

       20   judge -- attorney.     So I would go to court with her, but --

       21   Q.   With the bankruptcy attorney?

       22   A.   Yes.

       23   Q.   And what would you do in court?

       24   A.   She was a bankruptcy trustee.           So I am nervous.

       25   Q.   Trustee.   All right.
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        1   A.   Yes.

        2   Q.   So you used to go over by the Claude Pepper Building?

        3   A.   Yes.

        4   Q.   Now they're right across the street.       So if you get bored

        5   and you want to walk in over there during lunch hour, you can

        6   see what it's like.

        7   A.   No, that's okay.

        8   Q.   Have you or anyone close to you ever been arrested?

        9   A.   Yes.

       10   Q.   Who?

       11   A.   A nephew.

       12   Q.   For what?

       13   A.   Reckless driving.

       14   Q.   Do you think he was --

       15   A.   Possession of drugs.

       16   Q.   Drugs, too?    Was he treated fairly?

       17   A.   I wasn't there, but I believe he was.

       18   Q.   Is that going to influence you in any way?

       19   A.   I don't think so.

       20   Q.   All right.    Thank you very much.

       21               John William Bolton, Jr.

       22   A.   (By Mr. Bolton) Good morning.

       23   Q.   How are you, sir?    Good morning.

       24   A.   Good, thank you.

       25   Q.   Can you be here with us for two weeks?
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        1   A.     Yes.

        2   Q.     Ever been a juror?

        3   A.     Yes.

        4   Q.     How many times?

        5   A.     Once.

        6   Q.     Were you the foreman?

        7   A.     Yes.

        8   Q.     What kind of a case?

        9   A.     Federal court, Judge Hoeveler, criminal case.

       10   Q.     All right.    How long ago was that?

       11   A.     20 years.

       12   Q.     You know, he just passed just a little while ago.     Great

       13   man.

       14                  Do you remember what the case was about?

       15   A.     Yes.

       16   Q.     What was it?

       17   A.     Drug smuggling.

       18   Q.     Okay.    And do you have any suggestions?   How long of a case

       19   was it?

       20   A.     I don't recall.    Maybe four days, three days.

       21   Q.     All right.    Well, this will be a little longer.   And you can

       22   do it again, right?

       23   A.     Yes.

       24   Q.     Have you or anyone close to you ever been arrested?

       25   A.     No.
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        1   Q.   Do you know anyone in law enforcement?

        2   A.   I have some police officer friends.

        3   Q.   Do you know what department?

        4   A.   City of Miami Beach.

        5   Q.   Is that going to make you prefer one side or another?

        6   A.   No.

        7   Q.   And have you or anyone close to you ever been arrested?

        8   A.   No.

        9   Q.   Are you married?

       10   A.   Yes.

       11   Q.   Is your wife employed?

       12   A.   Yes.

       13   Q.   What does she do?

       14   A.   She works with me, my company, administrative assistant.

       15   Q.   And what do you do?

       16   A.   Civil engineer.

       17   Q.   Okay.   Did I miss anything else?

       18   A.   Miami Shores.

       19   Q.   Okay.   That's where you live?

       20   A.   Half hour to get to work -- to get here.

       21   Q.   Okay.   Thank you for coming back.      This building is nicer,

       22   huh, than the one you had before, right, Mr. Bolton, right --

       23   A.   Yes, it is.

       24   Q.   -- with Judge Hoeveler?     Isn't this a nicer building?

       25   A.   Yes, it is.   Very roomy.
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        1   Q.   Okay.    Thank you.

        2                Berny Garcia, right?

        3   A.   (By Ms. Garcia) Yes.    Good morning.

        4   Q.   All right.    What do you want to say?     Do you want me to earn

        5   my pay and ask the questions?

        6   A.   Yes.

        7   Q.   Okay.     Where do you live?

        8   A.   Miami.    I'm not sure what area, but it's Flagler and

        9   Palmetto.

       10   Q.   Okay.    Are you married?

       11   A.   No.

       12   Q.   Are you employed?

       13   A.   Yes.

       14   Q.   What do you do?

       15   A.   I work in a party rental company as a sales rep and I also

       16   go to school.

       17   Q.   Have you ever been a juror before?

       18   A.   Yes, twice.

       19   Q.   Twice?

       20   A.   Yes.

       21   Q.   When was the last time?

       22   A.   A year ago.    Flagler courthouse.

       23   Q.   A civil case?

       24   A.   Yes.

       25   Q.   Did you actually get to reach a verdict?
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        1   A.   Yes.

        2   Q.   Were you the forelady of the jury, foreperson of the jury --

        3   A.   No.

        4   Q.   -- the person who signs and dates the verdict form?

        5   A.   No.

        6   Q.   No.     And the other case was what, a criminal?

        7   A.   I was dismissed.

        8   Q.   You were dismissed?

        9   A.   No, no.     Like it was dismissed.      I got chosen, but it was --

       10   Q.   It settled, one way or another.         Was it in the same

       11   courthouse?

       12   A.   In the same courthouse, yes.

       13   Q.   Okay.    It's a nice old courthouse, but it needs some help.

       14   So now you are in a new courthouse.          You're ready to do it in a

       15   new courthouse?

       16   A.   Yes.

       17   Q.   And have you or anyone close to you ever been arrested?

       18   A.   No.

       19   Q.   Do you know any police officers?

       20   A.   No, I don't.

       21   Q.   What else?     Did I miss anything?

       22               Where do you live?

       23   A.   Miami.

       24   Q.   You told me.    Miami by the Palmetto.      You told me.     I don't

       25   write down the answers.     The lawyers do because they don't want
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        1   to repeat the question.         I sometimes repeat it, but I don't

        2   write down the answer.

        3              Okay.    Can you think of any reason you should not be a

        4   juror?

        5   A.   No.

        6   Q.   All right.     Thank you very much.

        7              David Gonzalez.

        8   A.   (By Mr. D. Gonzalez) Good morning, sir.

        9   Q.   Good morning.

       10   A.   I go by Gonzo Gonzalez, sir.

       11   Q.   Pardon?

       12   A.   I go by Gonzo Gonzalez.       So I never listen to David anymore.

       13   Q.   You go by?

       14   A.   Gonzo, G-o-n-z-o.

       15   Q.   Okay.

       16   A.   It's on my business cards and everything like that.

       17   Q.   Okay.     Can I call you Mr. Gonzalez or no?

       18   A.   Yes, sir.     Thank you.

       19   Q.   All right.     That's what I'll do.

       20              And where do you work?

       21   A.   I work at the Fontainebleau Hotel.         I'm a sales manager with

       22   the audio/visual department.

       23   Q.   Can you be here with us for the next two weeks?

       24   A.   It would be very hard because right now it's our busy

       25   season, January through March.         I could do it if we could do an
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        1   afternoon, to allow me to work with my clients because I deal

        2   with a lot of international clients and right now the morning

        3   hours is the best time for me to work with them because they're

        4   six hours ahead.    But I can still serve or a latter term would

        5   be optional, too, as well.

        6   Q.   So you would rather come back in the summer?

        7   A.   That would really help us out, because right now we're down

        8   two salespeople, and we would be down three if I had to leave.

        9   Q.   So you work more in the morning, though, because of your

       10   foreign clients?

       11   A.   Well, the last few nights -- I have got two groups.       I've

       12   had to work till midnight, from seven to midnight, because we

       13   have one group coming in and I just had another group coming in

       14   at 6 p.m. last night and then trying to work to catch up prior

       15   to coming here, correct.

       16   Q.   You could use a vacation by being a juror.      What do you

       17   think?

       18   A.   I believe my wife would agree with you.

       19   Q.   Well, she can't come with you here --

       20   A.   No, sir.

       21   Q.   -- but you could.    What do you think about that?

       22   A.   I do need a vacation, yes.

       23   Q.   Okay.   Do you want to get a vacation?     The vacation really

       24   is to do something different, not just to sit on a beach, but to

       25   do something different.
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        1                  Do you think you could do that and be a juror and pay

        2   attention, or are you going to be worried about work all the

        3   time?

        4   A.     Currently, I'm worried about my phone being off right now,

        5   sir.

        6   Q.     Okay.    Well, we all need that.

        7   A.     But yes, if I was chosen and I had to, yes, I could do it.

        8   Q.     All right.    Thank you.

        9   A.     Yes, sir.

       10   Q.     Immacula Thelisma.    Can you stand up?    Thank you so much.

       11                 Ms. Thelisma, tell me a little bit about yourself.

       12   Where do you live?

       13   A.     (By Ms. Thelisma) Miami Beach.

       14   Q.     I don't know whether my hearing is going, but the farther

       15   someone is, the softer they speak.

       16                 You live in Miami Beach?

       17   A.     Yes.

       18   Q.     Are you married?

       19   A.     Separated.

       20   Q.     Are you working?

       21   A.     Last night I found a job.

       22   Q.     You haven't found a job?

       23   A.     I work for elderly people, home health aide.      My patient

       24   died last night.       I went to a patient.    She likes me.   She

       25   called the agency, so I got the job last night and I will finish
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        1   it -- like it's 7:30 p.m. to 7:30 a.m.

        2   Q.   You're going to work from 7:30 p.m. to 7:30 a.m.?

        3   A.   Yes.

        4   Q.   And then you're going to come here and sleep during the

        5   trial?

        6   A.   No, no.

        7   Q.   You have to sleep some time.

        8               So you've got your patient already and you need the

        9   money for work?

       10   A.   Of course, but I have to take the bus from Collins, like

       11   Saks Fifth Avenue to here.       I may come a little bit after 8:00,

       12   the 120 to here.

       13   Q.   All right.   All right.     Thank you.

       14   A.   You're welcome.

       15               THE COURTROOM DEPUTY:    I'm going to switch microphones.

       16               THE COURT:   You're going to switch microphones?        Either

       17   that or give me a hearing aid.       I don't know which one.    I

       18   didn't think I was quite that old yet, but I might be.         I don't

       19   know.    A brand new microphone.

       20   BY THE COURT:

       21   Q.   Oved Leon, Jr., right?

       22   A.   (By Mr. Leon) Yes.    Good morning.

       23   Q.   There you go.    I like that.

       24               Where do you live?

       25   A.   Miami Gardens.
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        1   Q.   Married?

        2   A.   Yes.

        3   Q.   Employed?

        4   A.   Yes.

        5   Q.   Doing what?

        6   A.   Carpenter.

        7   Q.   How about your wife?

        8   A.   I am the owner.

        9   Q.   You are the owner?

       10   A.   Yes.

       11   Q.   Okay.    Good.   You know, another thing about jury duty,

       12   before you tell me how tough it is to be the owner, is you could

       13   get future customers by being on a jury.

       14   A.   Yes, yes.

       15   Q.   I just thought I'd mention that before we talk a little bit

       16   more.

       17                And your wife, is she working?

       18   A.   Yes, with me.

       19   Q.   With you?

       20   A.   Yes.     My wife work with me, yes.

       21   Q.   So then the shop is doing fine?

       22   A.   Yes.

       23   Q.   Okay.     Can you be a juror for the next two weeks?

       24   A.   Yeah.

       25   Q.   All right.    Have you ever been a juror before?
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        1   A.   No.

        2   Q.   Can you think of any reason you should not be a juror?

        3   A.   No.   My English is not very good.      I understand a little

        4   bit, but --

        5   Q.   Well, you've understood every question.

        6   A.   Yeah.

        7   Q.   So that's not a little bit.

        8                What percentage have you understood?

        9   A.   I don't know.

       10   Q.   Give me a percentage.

       11   A.   10 percent, 20.

       12   Q.   10 percent?    You've answered every single question.

       13   A.   Yeah.

       14   Q.   That's 100 percent.     You forgot the zero next to 10.       And

       15   you're laughing because you understand that.

       16   A.   Yeah.

       17   Q.   Do you watch television?

       18   A.   Little bit.

       19   Q.   What's your favorite show?

       20   A.   Noticiero, the news.

       21   Q.   The news.     You watch the news in English or Spanish?

       22   A.   No, Spanish.

       23   Q.   Nothing in English?

       24   A.   A little bit sometimes.

       25   Q.   All right.     Do you have any children?
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        1   A.   One, yes.

        2   Q.   How old?

        3   A.   25.

        4   Q.   Does the 25-year-old speak English and Spanish?

        5   A.   English -- both.

        6   Q.   Spanglish, right?

        7   A.   Spanglish.

        8   Q.   Yeah.    Now, when he speaks in English -- is it a son or a

        9   daughter?

       10   A.   Son.

       11   Q.   Son.    When he speaks English, you understand him?

       12   A.   No.

       13   Q.   You don't?

       14   A.   Not good, good.

       15   Q.   Sometimes it's better not to know everything anyway.

       16   A.   I prefer Spanish, but --

       17   Q.   You have a lot of customers?

       18   A.   Yes.

       19   Q.   Do you have a lot of clients?       They all speak Spanish?

       20   A.   Yeah, all speak Spanish.

       21   Q.   Every single one of them?

       22   A.   Everybody, yeah.

       23   Q.   I think you know more than you think, but I understand.        All

       24   righty.     Thank you.

       25               Alvaro Martinez.
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        1   A.   Okay.    You're welcome.

        2   Q.   See how quickly you sat down?            You knew what was going on.

        3   That's 100 percent to me.

        4               Mr. Martinez.

        5   A.   (By Mr. Martinez) Good morning.

        6   Q.   Good morning.    Where do you live?

        7   A.   Miami.

        8   Q.   What part of Miami?      Get the mic closer.

        9   A.   Sweetwater.

       10   Q.   Sweetwater?

       11   A.   Yes.

       12   Q.   Are you married?

       13   A.   Yes.

       14   Q.   Are you working?

       15   A.   Jordan High Volt, electric.

       16   Q.   What do you do?

       17   A.   Jordan High Volt, electric.

       18   Q.   Electric.     Okay.    Can you be a juror?

       19   A.   No.

       20   Q.   No?    Just plain no?    Why?    Why can you not be a juror?

       21   A.   No, no.    It's yes.

       22   Q.   Yes.    All right.    Have you ever been a juror?

       23   A.   Huh?

       24   Q.   Have you ever been a juror?         Have you ever been on a jury?

       25   A.   My English is a little --
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        1   Q.     I know, I can see.     You know, the English always gets worse

        2   when you do jury selection, I have found.            I don't know whether

        3   it's my English or their English.          I haven't been able to decide

        4   yet.

        5                 Have you or anyone close to you ever been arrested?

        6   A.     No.

        7   Q.     See, you understood that perfectly.

        8                 Do you know any police officers?

        9   A.     No.

       10   Q.     You understood that perfectly.

       11                 Have you ever been a victim of a crime?

       12   A.     No.

       13   Q.     You understood that perfectly.          So all we've got to do is

       14   tell the lawyers, keep your English to the low level of the

       15   judge, and you understand everything.

       16   A.     Yeah, a little bit.

       17   Q.     Yes.   All right.    Thank you.

       18                 Pedro Bodden.   Did I say that all right?

       19   A.     (By Mr. Bodden) Bodden, yeah.

       20   Q.     Bodden.

       21   A.     Good morning.

       22   Q.     Good morning.   Still the morning.

       23                 Can you be here with us?

       24   A.     Yes.

       25   Q.     Ever been a juror?
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        1   A.     No.

        2   Q.     What type of work do you do?

        3   A.     I am art dealer.

        4   Q.     Okay.   And what kind of art?     All sorts of art?

        5   A.     Cuban art, Latin American art, principally; but in general,

        6   everything.

        7   Q.     Okay.   Have you or anyone close to you ever been arrested?

        8   A.     No.

        9   Q.     Are you married?

       10   A.     Yes.

       11   Q.     Is your wife employed?

       12   A.     Yes.

       13   Q.     What does she do?

       14   A.     She is an accountant assistant in a construction company.

       15   Q.     All right.   Have you ever been in any courtroom for any

       16   reason?

       17   A.     No.

       18   Q.     And do you know any police officers, law enforcement agents?

       19   A.     I know a police.    I have a neighbor is a police.

       20   Q.     Okay.   But you just say hi and good-bye, that kind of thing?

       21   A.     Yeah, yeah, yeah.

       22   Q.     They don't buy much art?    I don't know.    It's too expensive,

       23   huh?

       24   A.     Yeah.

       25   Q.     Have you or anyone close to you ever been arrested?
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        1   A.   No.

        2   Q.   Okay.    I think I asked you that already.      Did I miss

        3   anything?     And you live in what part of town?

        4   A.   I live in Homestead; near Homestead, Princeton.

        5   Q.   Princeton?

        6   A.   Yeah.

        7   Q.   All right.    All right.    Thank you very much.

        8   A.   Okay.    Thank you.

        9               Arthur William Deprez.

       10   A.   (By Mr. Deprez) Yes, sir.

       11   Q.   How are you, sir?

       12   A.   I'm good.

       13   Q.   Can you be here with us?     Do you want to use the microphone

       14   or not?      You probably don't need it.

       15   A.   I don't.

       16   Q.   I know you don't.     And you've got -- do you want to sit down

       17   or you can do it standing up to stretch.

       18   A.   I can stand for a little bit.

       19   Q.   All right.    For a little bit.      We will do it quickly.

       20               Where do you live?

       21   A.   North Bay Village.

       22   Q.   Married?

       23   A.   Yes.

       24   Q.   Employed?

       25   A.   I am.
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        1   Q.   What do you do?

        2   A.   I'm a Federal Medicare judge.

        3   Q.   Okay.     And what type of cases do you have?

        4   A.   Medicare cases.

        5   Q.   Okay.     What do you think about this type of case?    Do you

        6   think you can be a juror?      You're a judge already, so you're a

        7   judge of the facts as a juror.      Do you think you could do it, or

        8   do you think you would be biased?

        9   A.   Of course, I can do it.

       10   Q.   Pardon?

       11   A.   I can do it, sir.

       12   Q.   Okay.     You've dealt with Tricare before or not?

       13   A.   I am a recipient of Tricare.

       14   Q.   Okay.     Is that going to make you --

       15   A.   Absolutely not.

       16   Q.   -- unfair or anything?     Okay.

       17                Have you ever been a juror before?

       18   A.   I have not.

       19   Q.   What else should I ask you?

       20                Have you or anyone close to you ever been arrested?

       21   A.   No.

       22   Q.   Did I miss anything else?

       23   A.   Police officers.

       24   Q.   Okay.     Do you know a lot of police officers?

       25   A.   I do.
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        1   Q.   Okay.    Is that going to make you prefer one side or another?

        2   A.   Not at all.

        3   Q.   All right.     Thank you very much.

        4                Delphine Glover.    Thank you for standing up.

        5   A.   (By Ms. Glover) Good morning.

        6   Q.   You're on now.     Tell me a little bit about yourself.

        7   A.   I live at 6303 Northwest --

        8   Q.   Oh, you don't have to tell me the exact address.

        9   Neighborhood, city.

       10   A.   City of Miami.

       11   Q.   In Miami?

       12   A.   Liberty City.

       13   Q.   Liberty City.    Okay.     Can you be here with us?

       14   A.   Yes.

       15   Q.   Have you ever been a juror?

       16   A.   No, sir.

       17   Q.   Have you or anyone close to you ever been arrested?

       18   A.   No.

       19   Q.   Have you ever been a witness in any proceeding?

       20   A.   No, sir.

       21   Q.   Are you married?

       22   A.   No, I'm not married.

       23   Q.   Maybe you'll find love on a jury.         You never know, right?

       24   A.   I was living with someone.

       25   Q.   Oh, okay.    Then no.    Is that someone employed?
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        1   A.   Yes.

        2   Q.   What does he do?

        3   A.   He drive a bus.

        4   Q.   Okay.

        5   A.   Trolleybus.

        6   Q.   Can you think of any reason you should not be a juror?

        7   A.   Not as of right now.

        8   Q.   Well, I don't want you to think about it later and tell me

        9   later.     What do you think?       Any reason you should not be a

       10   juror?

       11   A.   I'll give it a try.

       12   Q.   Pardon?

       13   A.   I'm going to give it a try.

       14   Q.   Can you succeed?       I want you to succeed, not just to try.

       15   Do you think you can do it?

       16   A.   Yeah, I think so.

       17   Q.   All right.    You have any religious objection to sitting as a

       18   juror?

       19   A.   No.

       20   Q.   Okay.     All right.    Thank you.

       21                THE COURT:     Okay.   Let's move on.   While we're moving

       22   on to the next potential juror, let me tell you:          Obviously,

       23   we're a bunch of strangers.          I give you a microphone and I

       24   intentionally try to lighten it up because I think many people

       25   are scared when we ask all these questions and put a microphone.
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        1   You almost want to say, none of your business when you are

        2   asking me all these questions.      So I try to add a little bit of

        3   levity.

        4               I don't want you to misunderstand.     When I do that,

        5   it's to make you relax while we do jury selection.        But as soon

        6   as you are chosen, and then it becomes -- I mean, it's serious

        7   already, but I want you to relax.        Otherwise, people get too

        8   tense.     So I don't want you to misunderstand.     My efforts to

        9   make you relax does not mean that I don't take the case

       10   seriously and certainly the lawyers take it seriously and you

       11   should, too.     But I do that intentionally to make you more

       12   relaxed.    I think it's better than to just go through the

       13   questions:     Yes, yes, yes.   No, no, no.    So it takes a little

       14   longer, but I think it makes you more comfortable so that we can

       15   have this dialogue about whether you should serve or you can't

       16   serve.     So I wanted to say that right now in the middle of this.

       17   BY THE COURT:

       18   Q.   Lisbette Mercedes Alvarado.      Thank you.

       19   A.   (By Ms. Alvarado) Good morning.

       20   Q.   How are you?

       21   A.   Fine, thank you.

       22   Q.   Can you be here with us the next couple of weeks?

       23   A.   Yes, I can.

       24   Q.   Have you ever been a juror?

       25   A.   No, I have never been.
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        1   Q.   And where do you live?

        2   A.   I live in Cutler Bay.

        3   Q.   Are you married?

        4   A.   Yes, I am.    I have three children and I'm an early childhood

        5   teacher.

        6   Q.   And how about your husband?

        7   A.   He works in maintenance in Miami Beach for a nursing home.

        8   Q.   Okay.    Is there any reason you should not be a juror?

        9   A.   No.

       10   Q.   And have you or anyone close to you ever been arrested?

       11   A.   My husband was for a traffic citation.

       12   Q.   He was actually arrested for the traffic --

       13   A.   Well, for the night.     They take you for the night.

       14   Q.   You think he was treated fairly?

       15   A.   Yes.

       16   Q.   Okay.    Is that going to affect you in any way?

       17   A.   No.

       18   Q.   The case was taken care of?

       19   A.   Yes, he was just driving with a suspended license, and he

       20   didn't know about it.

       21   Q.   Okay.    Have you ever been a victim of a crime or witness in

       22   any proceeding?

       23   A.   No.     I've been in court for bankruptcy.

       24   Q.   For your personal or your company?

       25   A.   Yes.    My house was in foreclosure.
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        1   Q.   Okay.     I'm sorry.   And what happened?   Is that going to

        2   affect you in any way?

        3   A.   No, no.

        4   Q.   All right.     Thank you very much.

        5               Sarah Laura Gonzalez.    How are you?

        6   A.   (By Ms. S. Gonzalez) Good morning, Your Honor.

        7   Q.   Good morning.     Can you be a juror with us?

        8   A.   Yes, sir.

        9   Q.   Have you ever been a juror?

       10   A.   Yes, sir.

       11   Q.   How many times?

       12   A.   One.

       13   Q.   How long ago was it?

       14   A.   About 20 years.

       15   Q.   And do you remember which courthouse?

       16   A.   It was in the 12th Street.

       17   Q.   By the hospital?

       18   A.   Yes, sir.

       19   Q.   The Metro Justice Building?

       20   A.   Yes.

       21   Q.   A criminal case?

       22   A.   It wasn't criminal.     It was about the husband.    He was very,

       23   very --

       24   Q.   Was it a domestic dispute?

       25   A.   Yes.    Well, yes, it was a divorce, but for a lot of money
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        1   involved, and also, he hurt her so badly.       It was really --

        2   Q.   Okay.    And it was the courthouse by the hospital?

        3   A.   Yes.

        4   Q.   1351 Northwest 12th Street?

        5   A.   Yes.

        6   Q.   Okay.    Do you remember the judge?

        7   A.   No.

        8   Q.   We like to be forgotten.

        9   A.   But I remember you.

       10   Q.   You remember me because of what?

       11   A.   Yes, because I was here about four years ago by my

       12   son-in-law, a real estate forgery, and he was pressured by his

       13   boss and it was you.     You were a very nice judge.

       14   Q.   Okay.    Good to hear, but you never know.

       15   A.   And you treat him very nice because you saw that it was

       16   really a --

       17   Q.   Okay.    Was he charged with a crime?

       18   A.   Yes -- no, no, no.    Well, yeah, he was charged.     Two years.

       19   Q.   He was sentenced by me?

       20   A.   Yes.

       21   Q.   Okay.    And you came to court --

       22   A.   But everybody went about 10, 15 years and --

       23   Q.   He got two years.    All right.

       24   A.   The lawyer that he had, it was -- you tell the lawyer that

       25   he should come here to defend him because he didn't defend him
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        1   at all.

        2   Q.   I probably didn't use those words, but you understood that.

        3   All right.

        4                But you thought the prosecutor was fair or not?

        5   A.   The lawyer didn't help him at all.

        6   Q.   His lawyer?

        7   A.   His lawyer.

        8   Q.   Okay.    Are you going to hold it against these lawyers?

        9   A.   No, not at all.     My niece, she's a judge, and my --

       10   Q.   Here in Miami?

       11   A.   -- husband is a lawyer.     At all.

       12   Q.   Okay.    Your niece is a judge here in Miami?

       13   A.   No, in Puerto Rico.

       14   Q.   In Puerto Rico.    Okay.   How is she doing with the storm and

       15   all of that?

       16   A.   Yes, it's really --

       17   Q.   Hard, huh?

       18   A.   Yes, really hard.    On my family, it's really hard.

       19   Q.   Now, let me ask you about that case that was before me.

       20   A.   I was a juror also, a long time ago.

       21   Q.   Who is it that I sentenced, your --

       22   A.   My son-in-law.

       23   Q.   Your son-in-law?

       24   A.   Yes.

       25   Q.   And he went to a jury trial or he pled guilty?
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        1   A.   He was right here.     I was there.

        2   Q.   Okay.     No, I believe you.    I just want to know more because

        3   the lawyers don't know.      Right?      So they have to know.

        4                And did you think the prosecutors were fair, the

        5   prosecutors who were prosecuting him, the assistant United

        6   States attorneys?      You know, the ones who sit there.

        7   A.   Oh, yes.

        8   Q.   If he went to trial, he had his own lawyer.

        9   A.   Only the lawyer, only the lawyer.

       10   Q.   Well, only his lawyer you thought was bad?

       11   A.   Yes.     Everybody was fine.

       12   Q.   Good.     All right.

       13   A.   And you were wonderful.

       14   Q.   Okay.     Not everybody who gets two years thinks that, but I

       15   guess it's all relative, isn't it?

       16   A.   Yeah, but it was a pressure from his boss.

       17   Q.   Yeah, you told me that.

       18                Now, I don't want to go into that case and relive it,

       19   but what I want to make sure is the lawyers and the parties here

       20   had nothing to do with that case.

       21   A.   No.

       22   Q.   So they want to make sure that if you're --

       23   A.   At all.

       24   Q.   Okay.     Let's listen for a little bit.     They want to make

       25   sure that if you're selected as a juror, you are not reliving
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        1   that case.     You're just deciding this case.        Can you do that?

        2   A.   Sure.

        3   Q.   All right.       Okay.   Thank you.    Sorry I had to bring back --

        4   A.   You're welcome.

        5   Q.   -- memories, good or bad.

        6                German Merida, right?

        7   A.   (By Mr. Merida) Yes.

        8   Q.   Okay.

        9   A.   Good morning.

       10   Q.   Good morning.      What do you want to say?

       11   A.   I live in West Kendall.        I'm married.    My wife is retired,

       12   living the good life.         I'm a banker and I've never been arrested

       13   or nothing with the law.         So I don't know any law enforcement.

       14   I don't know what else.         And willing to serve, but I have a

       15   doctor's appointment next Tuesday, 1:00.           You can excuse me for

       16   just an hour or so.

       17   Q.   Next Tuesday at 1:00.

       18   A.   It's one of those specialists that are very hard to get,

       19   those appointments.

       20   Q.   You've got it.      Done.    I wrote it down.

       21   A.   Thank you.

       22   Q.   Done.    Okay.    I should have had you ask all the questions.

       23   You remember them all, better than I do.           All right.   Thank you

       24   very much.

       25             Marcus Dwayne Neloms.        Did I say that all right?
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        1   A.   (By Mr. Neloms) Correct.

        2   Q.   All right.       Where do you live?

        3   A.   Good morning.

        4   Q.   Good morning.      I should say that first.       Good morning.

        5   A.   Well, I live in Miami Gardens.            My occupation is security.

        6   I do security in Hallandale.        I do know some --

        7   Q.   You're very soft-spoken, too, or I'm hard of hearing.

        8   A.   Sorry.

        9   Q.   There you go.      Do you ever raise your voice in your job?

       10   A.   I don't have to.

       11   Q.   Okay.    Good.    That's a better way to be.

       12                Have you ever been in court because of your job?

       13   A.   No.

       14   Q.   Okay.     Are you married?

       15   A.   No.

       16   Q.   Have you or anyone close to you ever been arrested?

       17   A.   No.

       18   Q.   Do you know anyone in law enforcement?

       19   A.   Yes.

       20   Q.   See, I knew that was going to be a yes.           Okay.   Is that

       21   going to make you prefer one side or another?

       22   A.   No.

       23   Q.   What else?       Can you be a juror?

       24   A.   Sure.     Yes.

       25   Q.   I should quit while I'm ahead, with a positive note, right?
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        1               And you live where?

        2   A.   In Miami Gardens.

        3   Q.   All right.      You told me that already.    Thank you.    All

        4   right.

        5               Catherine Bell Smith, how are you?

        6   A.   (By Ms. Smith) Okay.

        7   Q.   Just okay?

        8   A.   Okay.

        9   Q.   All right.      There you go.    Can you be here with us for two

       10   weeks?

       11   A.   Yes.

       12   Q.   Ever been a juror?

       13   A.   Yes.

       14   Q.   When?

       15   A.   30 years ago.

       16   Q.   Oh, my goodness.      As a child, for sure.

       17                Okay.   Did you reach a decision?

       18   A.   Yes.

       19   Q.   Were you the foreman, forelady of the jury?

       20   A.   No.

       21   Q.   Do you remember what type of a case it was?

       22   A.   Criminal case.

       23   Q.   Do you remember who the judge was?

       24   A.   No.

       25   Q.   Which courthouse was it, do you remember?
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        1   A.   14th Street.

        2   Q.   Okay.     Do you remember what type of case it was?       It was a

        3   criminal case.      Do you remember what type?

        4   A.   No.

        5   Q.   Okay.    Anything unpleasant about that service that long ago,

        6   unusual?

        7   A.   I was young and I needed to get off work.       So it was fine.

        8   Q.   It's one way of getting out of work, right?       Okay.

        9                You can do it again?

       10   A.   Yes.

       11   Q.   Are you still working?

       12   A.   Yes.

       13   Q.   Great.     See?

       14   A.   30 years.

       15   Q.   Super.     But you can be a juror again, right?

       16   A.   Yes.

       17   Q.   And did you tell me you are married?

       18   A.   Yes, married to a police officer, retired.      My son is a

       19   sergeant for S.W.A.T.     So, yes.

       20   Q.   Is that going to make you prefer one side or another?

       21   A.   No.     And I had a nephew that was arrested.

       22   Q.   For what, do you remember?

       23   A.   Carjacking.

       24   Q.   Okay.    What happened to his case?

       25   A.   He was charged at -- not this courtroom, but on the 12th
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        1   floor, last week.

        2   Q.   Last week?

        3   A.   Yes.

        4   Q.   Okay.     Did you go to court there with him?

        5   A.   I went to testify, but I left.

        6   Q.   Okay.     Did he plead guilty or go to trial?

        7   A.   He went to trial.

        8   Q.   Okay.     And he was found guilty?

        9   A.   Yes.

       10   Q.   Do you think he was treated fairly, from what you know?

       11   A.   Yes.

       12   Q.   You were going to testify at his sentencing; is that what

       13   you were going to do?

       14   A.   I did.

       15   Q.   You did?

       16   A.   Uh-huh.

       17   Q.   In order for him to get the most lenient sentence possible,

       18   I take it, no, or what?

       19   A.   Yes, it was just the person said he speaks Spanish, and he

       20   don't speak Spanish.      So it was that kind of thing.

       21   Q.   Okay.     And do you think he was treated fairly by everybody?

       22   A.   Yes.

       23   Q.   Is that going to influence you in any way?

       24   A.   No.

       25   Q.   What else should I ask you?      Anything else?
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        1   A.   No.

        2   Q.   All right.    Thank you very much.

        3               Maria M. Menendez, right?

        4   A.   (By Ms. Menendez) Yes.

        5   Q.   And the M stands for what?

        6   A.   The M?

        7   Q.   Yes.

        8   A.   Mercedes.

        9   Q.   Mercedes.     See, I like -- all the Marias have another name,

       10   right?     Okay.

       11               Can you be a juror with us?

       12   A.   Yes.

       13   Q.   Have you ever been a juror?

       14   A.   Yes.

       15   Q.   How many times?

       16   A.   Once.

       17   Q.   How long ago was it?

       18   A.   Maybe 10 years ago.

       19   Q.   Do you remember what kind of a case?

       20   A.   I don't.

       21   Q.   Did you reach a decision?

       22   A.   Yes.

       23   Q.   Were you the foreman or forelady of the jury?

       24   A.   No.

       25   Q.   You're ready to do it again?
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        1   A.   Yes.

        2   Q.   You hesitated a little bit, right?       Okay.

        3               Are you working?

        4   A.   Yes.

        5   Q.   What do you do?

        6   A.   I'm a social worker.

        7   Q.   Do you ever go --

        8   A.   I work for Jackson Health Systems.

        9   Q.   Okay.    Do you ever go to court?

       10   A.   No.

       11   Q.   And have you ever been a witness in any proceeding?

       12   A.   No.

       13   Q.   A victim of a crime?

       14   A.   No.

       15   Q.   Do you know any law enforcement agents?

       16   A.   No.

       17   Q.   Are you married?

       18   A.   No.     Divorced.

       19   Q.   Okay.     What did your husband do when you were together, as

       20   far as work?

       21   A.   He used to work in a maintenance company.

       22   Q.   Okay.     All right.   Thank you very much.

       23   A.   Thanks.

       24   Q.   Munir Amin, right?

       25   A.   (By Mr. Amin) Right.
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        1   Q.   Okay.    We're going to give you the mic.     You probably don't

        2   need it, but the court reporter does.         All right.   A little

        3   closer.

        4                Where do you live?

        5   A.   Hialeah.

        6   Q.   Married?

        7   A.   No.

        8   Q.   Employed?

        9   A.   Yes.

       10   Q.   Doing what?

       11   A.   FirstService Residential, front desk.

       12   Q.   Ever been a juror?

       13   A.   No.

       14   Q.   Ever been a witness?

       15   A.   No.

       16   Q.   Ever been a victim of a crime?

       17   A.   No.

       18   Q.   Have you or anyone close to you ever been arrested?

       19   A.   No.

       20   Q.   Do you know any police officers?

       21   A.   I try not to.

       22   Q.   Okay.    Why, are you going to hold it against some law

       23   enforcement agents if they come and testify?

       24   A.   No, negative.

       25   Q.   Okay.    Can you think of any reason you should not be a
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        1   juror?

        2   A.   No.

        3   Q.   Can you think of any reason why you should not be here for

        4   two weeks?

        5   A.   No.

        6   Q.   All right.    Thank you very much.

        7   A.   Thank you.

        8   Q.   Alvaro Mejia.    Thank you.

        9   A.   (By Mr. Mejia) Hello.

       10   Q.   Hello.     Where do you live?

       11   A.   Coral Gables.

       12   Q.   Married?

       13   A.   Yes.

       14   Q.   Employed?

       15   A.   Yes.

       16   Q.   Doing what?

       17   A.   Real estate development.

       18   Q.   How about your wife, what does she do?

       19   A.   Realtor.

       20   Q.   Ever been a juror?

       21   A.   No.

       22   Q.   Can you be a juror?

       23   A.   What are the times?

       24   Q.   You work from what time to what time, normally?

       25   A.   Well, I've got to be home at 6:00 because I have a three and
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        1   a four-year-old and one is autistic and I've got to help my

        2   wife.

        3   Q.   Okay.   So you have to be home by 6:00.     All right.

        4   A.   And then I need to work during the day sometimes.        So I'm

        5   asking you what are the times.

        6   Q.   Okay.   Well, but you normally work --

        7   A.   From eight to five.

        8   Q.   Then we'll work from eight to five as a juror.       How is that?

        9   Can you do it?

       10   A.   I went to UM also.

       11   Q.   Okay.   Did you practice law?

       12   A.   No, I didn't.

       13   Q.   Okay.   Are you going to say, well, I know all about the law.

       14   I don't need to listen to you, Judge?

       15   A.   No, I just bleed orange.     That's all.

       16   Q.   Okay.   Have you or anyone close to you ever been arrested?

       17   A.   Define close.

       18   Q.   You define close, how close they are.      Relative, friend?

       19   A.   My friend's father got arrested for pharma, something like

       20   that.

       21   Q.   For what?

       22   A.   I believe it was called pharma.

       23   Q.   Okay.   And what happened?

       24   A.   He's serving time.

       25   Q.   Okay.   Did you go to court?
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       1   A.   No, I didn't.

       2   Q.   Do you hear anything at family reunions of what happened,

       3   who was treated fairly, what the case was about, anything like

       4   that?

       5   A.   No.

       6   Q.   Are you still close?

       7   A.   Not too much.

       8   Q.   Okay.     All right.   Thank you.

       9                Gerald Jones, how are you, sir?

      10   A.   (By Mr. G. Jones) Hey, how are you doing?        Good morning.

      11   Q.   Great.    Good morning still.      Can you be here with us?

      12   A.   Yes, I can.

      13   Q.   Are you working, sir?

      14   A.   Yes, I do.

      15   Q.   What do you do?

      16   A.   I work for Sysco South Florida.

      17   Q.   And what do you do for them?

      18   A.   I'm a night warehouse selector.

      19   Q.   Okay.     And you are not going to work nights and sleep days

      20   here, though, are you?

      21   A.   If I work there at night, yes, I have to come here and

      22   sleep.

      23   Q.   No, no.    I don't want you to work nights then.

      24   A.   Yeah.

      25   Q.   Okay.     Can you adjust and pay attention during the day?
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       1   A.   Yeah, I can.     As long as I'm not working at night and you

       2   could get me off at night, I'll come here every morning, up and

       3   ready.

       4   Q.   Okay.     Have you or anyone close to you ever been arrested?

       5   A.   Yes, I have, for petty theft back in college.

       6   Q.   What happened to the case?     You got into a program and they

       7   dropped it?

       8   A.   No, I didn't do nothing.     It got dismissed.

       9   Q.   Okay.     You think you were treated fairly?

      10   A.   By the merchant, no.     By the courts, yeah.

      11   Q.   Okay.     Are you going to hold it against anybody here because

      12   of what those merchants did?

      13   A.   No.     Fair is fair, wrong is wrong.

      14   Q.   Okay.     Do you know any police officers?

      15   A.   Yes, my uncle.     He's a sergeant at City of Miami.

      16   Q.   Okay.     Is that going to make you prefer law enforcement

      17   officers' testimony?

      18   A.   No, not at all.

      19   Q.   Is it going to make you disregard law enforcement officers'

      20   testimony just because of your uncle?

      21   A.   No, not at all.

      22   Q.   Okay.    And did you say you were married?

      23   A.   No, I'm not married.     I have two kids, though, two boys.

      24   Q.   Okay.     What does the mother of those children do for a

      25   living?
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       1   A.   She works at a call center.

       2   Q.   Okay.    What else?   Did I forget anything else?

       3                Where do you live?

       4   A.   I live in the Miami area by the Golden Glades Bus Terminal.

       5   Q.   That's far, huh?

       6   A.   No.

       7   Q.   Traffic is terrible today.

       8   A.   I mean, with traffic it's like 15 minutes.        Without traffic,

       9   probably like 10 minutes.

      10   Q.   All right.    You're my type of juror.      We may start eight to

      11   five to accommodate Mr. Mejia there.          Eight to five is what he

      12   likes.     We may do that.    Okay.

      13   A.   All right.

      14   Q.   Thank you, sir, for answering the questions.

      15   A.   (By Ms. Vettaparambil) Good morning.        You're trying to read

      16   my --

      17   Q.   Reshma Vettaparambil?

      18   A.   Vettaparambil.

      19   Q.   Yeah, you say it a lot better than I do, right?        I know.

      20   A.   Yeah, always.

      21   Q.   Okay.     How are you?

      22   A.   Good.     How are you?

      23   Q.   Great.    And can you sit here with us for a couple of weeks?

      24   A.   Yes, I can.

      25   Q.   Have you ever been a juror?
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       1   A.   No.

       2   Q.   Have you ever been a witness?

       3   A.   No.

       4   Q.   Have you ever been the victim of a crime?

       5   A.   No.

       6   Q.   Have you or anyone close to you ever been arrested?

       7   A.   No.

       8   Q.   Do you know anyone in police work?

       9   A.   No.

      10   Q.   Are you married?

      11   A.   No.

      12   Q.   I need a yes.    Do you want to sit on this jury?

      13   A.   Yes.

      14   Q.   All right.    Can you think of any reason you should not sit

      15   on this jury?

      16   A.   No.

      17   Q.   All right.   Thank you.   I'm quitting while I'm ahead.

      18               James Lee Jones, how are you?

      19   A.   (By Mr. J. Jones) The L is in the James.

      20   Q.   James Lee Jones?

      21   A.   James L.

      22   Q.   Oh, they put Lee here.    I'm sorry.     Okay.   I apologize.

      23   Does the L stand for anything?

      24   A.   No, sir.

      25   Q.   And they just put in two E's.       I don't know who did that.   I
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       1   apologize.      Okay.

       2             You know, we had a great judge in this courthouse.       You

       3   can see his portrait outside.       He never even had -- it was Joe

       4   Eaton.   He wasn't even Joseph and he had no middle name, and

       5   people always wanted to make him have initials and middle names.

       6                So Mr. Jones, can you be here with us for a couple of

       7   weeks?

       8   A.   As my duty, I will.

       9   Q.   Okay.     But you prefer not to?

      10   A.   I agree with that.

      11   Q.   All right.    Fair enough.   Are you working, sir?

      12   A.   Yes, sir.

      13   Q.   What do you do?

      14   A.   I'm a counter salesman at American Plumbing.

      15   Q.   Okay.     Have you ever been a juror before?

      16   A.   Yes, sir.

      17   Q.   How many times?

      18   A.   Just one.

      19   Q.   How long ago, do you remember?

      20   A.   It's been around about at least 20 years ago.

      21   Q.   Do you remember what type of a case it was?

      22   A.   It's been so long.    I don't know.

      23   Q.   Were you the foreman of the jury, the person who --

      24   A.   No, sir.

      25   Q.   Pardon?
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       1   A.   No, sir.

       2   Q.   No.   Did you reach a verdict?

       3   A.   Yes, sir.

       4   Q.   Okay.    Have you or anyone close to you ever been arrested?

       5   A.   No, sir.

       6   Q.   And are you married?

       7   A.   Yes, sir.

       8   Q.   Is your wife employed outside of the home?

       9   A.   Yes, sir.

      10   Q.   What does she do?

      11   A.   She is a therapist at Memorial.

      12   Q.   Okay.    All right.    Thank you very much.

      13   A.   Oh, by the way, my father was in law enforcement.      He was an

      14   Indiana State marshal.

      15   Q.   Indiana.     What part of Indiana?

      16   A.   Gary, Indiana.

      17   Q.   All right.      I drive by there when I go to my old school from

      18   Chicago.     Okay?    It's seen better times, though, Gary, probably.

      19   Have you ever been back there?

      20   A.   Couple of times.      Nothing but a ghost town.

      21   Q.   It is.     It is tough.   It's kind of sad.   All right.   Okay.

      22   Thank you.

      23              Gloria Guthrie.

      24   A.   (By Ms. Guthrie) Yes.      Good morning.

      25   Q.   Ms. Guthrie, how are you?
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       1   A.   Good.

       2   Q.   Can you be a good juror?

       3   A.   Yes.

       4   Q.   Okay.   Have you ever been a juror before?

       5   A.   No.

       6   Q.   Can you think of any reason you should not be a juror?

       7   A.   Today in the morning is a lot of problem for my job because

       8   it's a lot of meeting in the house, maybe --

       9   Q.   What do you do for a living?

      10   A.   Housekeeping.

      11   Q.   Okay.   For whom?

      12   A.   For the Turkey people, Turkish people.

      13   Q.   For their homes.    So you are now working --

      14   A.   Yes.

      15   Q.   Well, you ever take a vacation?

      16   A.   No.

      17   Q.   Well, you should.   They should give you some time off.

      18   A.   No.

      19   Q.   Okay.   But you can pay attention if you're chosen as a

      20   juror?

      21   A.   Yes.

      22   Q.   Are you married?

      23   A.   Married and separate.

      24   Q.   Okay.   And have you or anyone close to you ever been

      25   arrested?
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       1   A.   Yes, my husband.

       2   Q.   For what?

       3   A.   For DUI.

       4   Q.   Okay.    Is that going to make you prefer one side or another?

       5   A.   No, no, no.

       6   Q.   Okay.     Do you know any police officers?

       7   A.   No, only my son is the Air Force.

       8   Q.   Okay.     Now, you're mentioning that.    So I was going to ask

       9   some of the jurors in that section, too.        There is this program

      10   that helps veterans and people in the military that we call

      11   Tricare program.     Do you know anything about that?

      12   A.   Yes.     My son have the insurance.

      13   Q.   Now, the defendant is presumed innocent unless and until

      14   proven guilty beyond a reasonable doubt, but the prosecutors say

      15   that he committed fraud involving Tricare.

      16                Because of your son or other people you may know, is

      17   that going to make you say, you know what, prosecutors, you

      18   don't need to prove your case.      If you just prove it a little

      19   bit, that's enough for me because of my son.        Would you do

      20   something like that?

      21   A.   No.

      22               THE COURT:   How many people in that section, just by a

      23   show of hands, know about Tricare or participated in Tricare?

      24               We have one who knows a lot.     Somebody else?   I didn't

      25   see anybody -- Okay.      We'll get to you in a second back there.
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       1              All right.   But no one before.         All righty.

       2   BY THE COURT:

       3   Q.   Anything else you want to share with us?

       4   A.   (By Ms. Guthrie) No.

       5   Q.   All right.    Thank you.    We are almost done.

       6                Yudeisy Abreu.

       7   A.   (By Ms. Abreu) Yes.      Good morning.

       8              THE COURT:   Did I miss someone?         Who did I miss?

       9              THE COURTROOM DEPUTY:      No, I guess she's out of order.

      10   BY THE COURT:

      11   Q.   Okay.    What is your name, sir?          What is your name?

      12   A.   (By Ms. Abreu) My name?

      13   Q.   No.   The gentleman to your right.

      14   A.   (By Mr. Sandrini) Rodrigo.

      15   Q.   What is your name, sir?

      16   A.   It's Rodrigo Sandrini, sir.

      17              THE COURTROOM DEPUTY:      They switched.

      18   BY THE COURT:

      19   Q.   Okay.    You guys have to switch.

      20   A.   (By Mr. Sandrini) Okay.

      21   Q.   Otherwise, I'm going to call you by the wrong name.              I'll

      22   get everything messed up.

      23   A.   Sorry.

      24   Q.   No problem.    No big deal.

      25                Yudeisy Abreu.   Now we have got you.       Thank you.
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       1               Where do you live?

       2   A.   (By Ms. Abreu) Homestead.

       3   Q.   Married?

       4   A.   Yes.

       5   Q.   Employed?

       6   A.   Yes.

       7   Q.   Doing what?

       8   A.   Billing.

       9   Q.   Billing for what kind of company?

      10   A.   Insurance company.

      11   Q.   What does your husband do?

      12   A.   He drives a tow truck.

      13   Q.   Ever been a juror before?

      14   A.   No.

      15   Q.   Do you want to be a juror?

      16   A.   If I have to.

      17   Q.   If you have to.   That's why we call it duty, see?

      18               Can you think of any reason you shouldn't be a juror?

      19   A.   No.

      20   Q.   Have you or anyone close to you ever been arrested?

      21   A.   Yes, I was.   Insurance fraud.      I was found innocent and the

      22   case is expunged.

      23   Q.   Okay.    In State court or Federal court?

      24   A.   State.

      25   Q.   Okay.    Did you go to trial or it was through some motions,
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       1   what the lawyers call motions?

       2   A.   Yes, I didn't go to trial.     It was dismissed.

       3   Q.   Do you think you were treated fairly?

       4   A.   Yes, I was.

       5   Q.   Are you going to hold it against these prosecutors for what

       6   that State prosecutor did?

       7   A.   No.

       8   Q.   Do you think that State prosecutor was fair to you?

       9   A.   Well, he was charging me for something that I didn't do, but

      10   thanks to my lawyer --

      11   Q.   You were happy with your lawyer?

      12   A.   Yes.

      13   Q.   Okay.    Who was your lawyer, do you remember?

      14   A.   Yes.    Jude Faccidomo.

      15   Q.   Okay.    Anything else you want to share with us?

      16   A.   No.

      17   Q.   All right.    Thank you.

      18   A.   You're welcome.

      19   Q.   Rodrigo Sandrini.    Now we've got you.

      20   A.   (By Mr. Sandrini) Good morning, sir.

      21   Q.   How are you?

      22   A.   Good, and you?

      23   Q.   Great.    Can you be here with us?

      24   A.   If it's my duty, sir, yes.

      25   Q.   What type of work do you do?
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       1   A.   I'm an IT operations manager.

       2   Q.   Are you married?

       3   A.   Yes, I am.

       4   Q.   And is your wife employed?

       5   A.   Yes, she is.

       6   Q.   Who does she do?

       7   A.   She works for an export company, medical products.       She's an

       8   accounting assistant.

       9             THE COURT:    I don't know why it's doing that.     Someone

      10   has a phone on, turn it off.     That's what does it.    So everybody

      11   turn off your phone.     When you have a phone close to it, that's

      12   what happens.     See, that's how we find out that you're using

      13   your phones.     It's a sneaky way of doing it.

      14   BY THE COURT:

      15   Q.   Okay.     Can you be -- you told me that already.

      16             Have you or anyone close to you ever been arrested?

      17   A.   (By Mr. Sandrini) No, sir.

      18   Q.   Do you know any police officers, law enforcement agents?

      19   A.   No, sir.

      20   Q.   Can you think of any reason you should not be a juror?

      21   A.   Just the responsibilities I have as a manager.      I don't have

      22   anybody to replace me.

      23   Q.   Is there an assistant manager?

      24   A.   I'm an IT operations manager, sir.

      25   Q.   I know.    Is there an assistant IT operations manager?
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       1   A.   No, sir.    Unfortunately, there isn't anybody that can help.

       2   Q.   Maybe there should be one, right?          Do you have a boss?

       3   A.   The director.

       4   Q.   Huh?

       5   A.   The director.

       6   Q.   And then you should tell them.          Say, listen, look what

       7   happened.

       8               Do you ever take a vacation?

       9   A.   I did, sir, yes.

      10   Q.   What happens when you take a vacation, the whole thing

      11   collapses?

      12   A.   Well, you know, there's a mandate and I have to disconnect,

      13   but usually I have to get the director to replace me.           So yes.

      14   Q.   So maybe you'll have to do the same thing.

      15   A.   If that's what has to be done, yes, sir, yes.

      16   Q.   Okay.    Thank you very much.

      17   A.   Thank you.

      18   Q.   Juan Angulo.

      19   A.   (By Mr. Angulo) Good morning, Your Honor.

      20   Q.   Good morning.    How are you?

      21   A.   Very good, sir.    How are you?

      22   Q.   Great.     Can you be here with us?

      23   A.   Yes.    All depends on the time, sir.

      24   Q.   Tell me what time you want to work.

      25   A.   I have three jobs.
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       1   Q.   You have three jobs?

       2   A.   Yes, sir.   I'm a real estate agent for 18 years.       I have a

       3   commercial project.    The investors are from Spain, and I'm

       4   pretty much the contact with the CD, getting the approval of the

       5   project.   I am a U.S.A soccer coach for a club, a varsity soccer

       6   coach for Keys Gate High School, and we are going into the

       7   district finals.    And I do that in the afternoon and real estate

       8   in the morning.

       9   Q.   Maybe I should ask you who you're playing and then maybe I

      10   can help out the other team, huh?

      11   A.   Well, for the last three years we have been facing Gulliver

      12   School and it's a tough game.     Keys Gate Charter High School in

      13   Homestead, it doesn't have the same program, but --

      14   Q.   I was only kidding about the coaching thing.       Okay?   I'm not

      15   going to help another school.     But both of my daughters played

      16   soccer for Lourdes, so I'm aware of how important that is.

      17              So when should we ask you to come back, the non-soccer

      18   season?    So you want to come back in the summer?

      19   A.   I can do that or I can come -- I do have some Realtors that

      20   work under me.     I can schedule time.      I mean, it's just based on

      21   the --

      22   Q.   Well, how much time could you give us on this case?

      23   A.   Well, I can be here in the morning.       Nine to one, nine to

      24   two, eight to two, I can be here.

      25   Q.   Eight to two, no lunch.    Well, if we could really do that,
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       1   it would work.      But, you know, when people try to do that, it

       2   just doesn't work, because some people get here late.          Some

       3   people are diabetic.      Some people need to eat.      The court

       4   reporter needs time off.        So eight to two has not, in my

       5   opinion, been found to be ideal.          Some people disagree with me,

       6   but I don't think it works.       But if I make you come back in the

       7   summer, you could do nine to five, right?

       8   A.     In the summer, I can -- I don't have the - right now more

       9   tied to the school because I don't have an assistant coach.

      10   Q.     Okay.   Well, we'll bring you in with the teachers.      We'll

      11   bring you in with the teachers.

      12   A.     Excuse me?

      13   Q.     We'll bring you in with the teachers.

      14   A.     Oh, okay.

      15   Q.     That's what we'll do.    Okay?

      16   A.     Yeah, my job as a coach is a little -- I don't have an

      17   assistant coach.

      18   Q.     Maybe you should have one.

      19   A.     Well, the school don't have the budget to do that.

      20   Q.     Maybe someone should volunteer for the future.

      21   A.     Well, they want the hours, but they don't want to be in the

      22   field, and they need to be in the field, in the rosters.            You

      23   know, it's some responsibilities related working with the kids,

      24   too.

      25   Q.     Yes, there is.   Okay.   Thank you.
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       1   A.   You're welcome.

       2   Q.   Carla Louisme Webb.

       3   A.   (By Ms. Webb) That's me.

       4   Q.   Ms. Webb, what do you want to tell me?

       5   A.   Okay.   I work at a power plant.        It took me an hour and a

       6   half to get here.      I'm divorced.

       7   Q.   From where?

       8   A.   I'm sorry, what's that?     Oh, from -- I live by the Homestead

       9   Air Force Base.

      10   Q.   There are so many people from Homestead in this jury.          Okay.

      11   A.   I have two kids.    I think it would be a conflict because of

      12   getting my daughter to school.

      13   Q.   Okay.   You work from what time to what time, normally?

      14   A.   I work from 8:00 to 5:30.

      15   Q.   I'll tell you what.     We will not start before 8:00 and we

      16   will not go past 5:30.      So you've got no conflict.     I just

      17   resolved it.

      18   A.   I have to get my daughter to school.

      19   Q.   At what time?

      20   A.   It starts at 8:00, but I leave the house about 7:15.

      21   Q.   Okay.   So you'd rather start at 9:00 here?

      22   A.   I would just have to make provisions to see, you know, how I

      23   can get here.

      24   Q.   No, you drop off your daughter before 8:00.

      25   A.   I wouldn't make it back.     She would be waiting for me --
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       1   sometimes I go in a little earlier and get off at 4:30.           I work

       2   nine-hour days.

       3   Q.   Oh, no, but see, we haven't talked about the afternoon.          The

       4   morning you said there's no problem.          You drop her off before

       5   eight.     We will start at 9:00, 9:15.

       6   A.   And we'd be out by 2:00?

       7   Q.   Well, I haven't talked about the "out" yet.         I want to get

       8   you agreeing on the "in."

       9                So the morning there's no conflict, right?

      10   A.   Getting here would be.

      11   Q.   Why?

      12   A.   Because traffic was horrendous.          I mean, I left --

      13   Q.   You took Metrorail?

      14   A.   I did.

      15   Q.   Okay.     And it took you how long?

      16   A.   I left about 6:20 and I got here about 7:30.

      17   Q.   Okay.    So an hour.   You drop off your kid before eight.       We

      18   won't start until 9:00.       Done.

      19   A.   It gets worse.      If you don't leave by 5:30, 6:00, it gets

      20   worse.

      21   Q.   We'll start at 9:15.

      22   A.   You are pushing it.

      23   Q.   No.

      24   A.   I would do my best to get here, basically.

      25   Q.   At 9:30.    Done.   We will start at 9:30.      That's an hour and
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       1   a half, with the Metrorail working.           At the end of the day --

       2   you work till five, you said, 5:30?

       3   A.   5:30.

       4   Q.   We won't go past 5:00.

       5   A.   But how would I -- it would take me another hour and a half

       6   to get back.

       7   Q.   On the Metrorail, you think?

       8   A.   Well, Metrorail I guess, what, 20 minutes to get to

       9   Dadeland.     And traffic is around that time, between 4:00 and

      10   6:00 or 7:00.

      11   Q.   And nobody helps you with your -- are you married?

      12   A.   I'm divorced.

      13   Q.   Nobody helps you with the kids?

      14   A.   Not normally.    Well, let's say this:        My daughter is with

      15   her dad like Sunday through Tuesday.

      16   Q.   So we don't worry about that, those two days, Monday and

      17   Tuesday.     All right.

      18   A.   Yeah.    And then Wednesday, Thursday and Friday would be an

      19   issue.     And then my son just -- he just passed the test to be a

      20   firefighter at the Air Force base.           So I know I have to get him.

      21   Q.   Well, you don't need to take care of him, do you?

      22   A.   Not exactly, but I need to get him his license so he can,

      23   you know --

      24   Q.   How old is he?

      25   A.   He's 18.
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       1   Q.   I think he can get his own license, don't you think?

       2   A.   Well, he needs -- it's not a problem.     I would really have

       3   to try to work it out because my ex, you know, he's a financial

       4   advisor.      So sometimes -- he's self-employed and it could be,

       5   you know, with the schedule.

       6   Q.   Super.    So you'll be able to work it out.

       7   A.   I will do my best.

       8   Q.   All right.    Have you ever been a juror before?

       9   A.   I have not.

      10   Q.   Ever been in a courtroom before?

      11   A.   I have.    I have been a victim of a crime.    My neighbor's son

      12   broke into my house.     What happened was I guess he had to go to

      13   boot camp and pay me $5,000, which never happened.

      14   Q.   So you were not satisfied?

      15   A.   I'm okay with it.    I just wanted him to learn a lesson,

      16   which is the boot camp part of it.

      17   Q.   Have you or anyone close to you ever been arrested?

      18   A.   No.

      19   Q.   Do you know any police officers, law enforcement agents?

      20   A.   I do.

      21   Q.   What department?

      22   A.   City of Miami and Doral.

      23   Q.   Is that going to affect you one way or another?

      24   A.   No.

      25   Q.   Okay.    Anything else you care to share with us?
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       1   A.   I think that's it.

       2   Q.   All right.    Thank you.

       3              Luis Rodriguez.

       4   A.   (By Mr. Rodriguez) Good morning.

       5   Q.   Good morning.    How are you?

       6   A.   Good, and you?

       7   Q.   Great.     Can you be here with us?

       8   A.   Yes, but I'd prefer not to.

       9   Q.   Okay.    Any particular reason?

      10   A.   Because I'm leaving for boot camp in about two months and

      11   I'm trying to enjoy my two months.

      12   Q.   Okay.    Is your boot camp a military boot camp?

      13   A.   Yeah, Navy.

      14   Q.   Okay.    You know what, any objection with Mr. Rodriguez being

      15   excused so he can enjoy himself before he serves in the Navy?

      16   Hearing none, go.     Leave your badge with the Court security

      17   officer.     You don't have to report to the fifth floor.     All

      18   right?

      19   A.   Thank you.

      20   Q.   You're welcome.    It's the least we can do for you.

      21                Leah Michelle Brooks, how are you?

      22   A.   (By Ms. Brooks) I'm good.

      23   Q.   Are you going to go in the Navy, Army or Air Force?

      24   A.   No.

      25   Q.   Okay.    Because I'd do the same thing for you.    It's only
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       1   fair, right?      I don't think anyone would object.

       2               Can you be here with us for the next couple of weeks?

       3   A.   Yes.

       4   Q.   Have you ever been a juror?

       5   A.   No.

       6   Q.   Are you married?

       7   A.   No.

       8   Q.   Are you employed?

       9   A.   Yes.

      10   Q.   What do you do?

      11   A.   I'm a retail supervisor.

      12   Q.   And have you or anyone close to you ever been arrested?

      13   A.   No.

      14   Q.   Do you know any police officers?

      15   A.   No.

      16   Q.   Can you think of any reason why you should not sit as a

      17   juror?

      18   A.   No.

      19   Q.   All right.    Where do you live?

      20   A.   Palmetto Bay.

      21   Q.   Okay.    Thank you.

      22               Jansel Jose Febres Cotto.

      23   A.   (By Mr. Febres) Hello, sir.

      24   Q.   Mr. Febres, tell me a little bit about yourself.

      25   A.   I live in Doral.      I work for Red Bull.   I go to school.   I'm
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       1   studying economics.      Never been arrested.

       2   Q.   You go to school at night?

       3   A.   Excuse me?

       4   Q.   You go to school at night?

       5   A.   No.   I'm actually finishing the classes that I have left

       6   online.

       7   Q.   Online.    Great.   I like that.

       8   A.   Yeah.

       9   Q.   Can you be a juror?

      10   A.   Yeah.

      11   Q.   Have you ever been a juror?

      12   A.   No.

      13   Q.   Have you ever been a witness?

      14   A.   No.

      15   Q.   The victim of a crime?

      16   A.   No.

      17   Q.   Know any police officers?

      18   A.   No.

      19   Q.   Have you or anyone close to you ever been arrested?

      20   A.   No.

      21   Q.   You had to think about it a little bit.

      22   A.   I mean, not so close.

      23   Q.   How far?

      24   A.   I mean, friends.     You know, I mean --

      25   Q.   Are you still friends?
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       1   A.   Yeah.

       2   Q.   What were they arrested for?

       3   A.   Possession.

       4   Q.   Of drugs?

       5   A.   Yeah.

       6   Q.   Do you think they were treated fairly?

       7   A.   Yeah.

       8   Q.   Is that going to make you prefer one side or another?

       9   A.   No.

      10   Q.   All right.    Thank you.

      11                Dineiska Rodriguez.

      12   A.   (By Ms. Rodriguez) Hello.

      13   Q.   Okay.    You knew about Tricare.          What do you know about

      14   Tricare?

      15   A.   Well, I used to work for a dental office.           So I just used to

      16   process insurance claims.

      17   Q.   Okay.    Is that going to make you prefer one side or another?

      18   A.   Not at all.

      19   Q.   Okay.    And where do you live?

      20   A.   I live in Miami Gardens.

      21   Q.   And what type of job are you doing now, the same type?

      22   A.   I am a nurse.

      23   Q.   Okay.    Are you married?

      24   A.   I am.

      25   Q.   Is your husband employed?
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       1   A.   He is actually in the process of becoming a police officer,

       2   so yes.

       3   Q.   Is that going to make you prefer one side or another?

       4   A.   Not at all.

       5   Q.   What department?

       6   A.   Well, he is trying to do Florida Highway Patrol.

       7   Q.   Okay.    And have you or anyone close to you ever been

       8   arrested?

       9   A.   Yes.    My brother for disorderly conduct.

      10   Q.   Do you think he was treated fairly?

      11   A.   Yes, he was.

      12   Q.   Okay.   Anybody else?

      13   A.   And I believe my husband when he was in high school for

      14   fighting, and I do believe it was fair.

      15   Q.   Okay.    Did you know him then?

      16   A.   No.

      17   Q.   Okay.    Can you think of any reason you should not be a

      18   juror?

      19   A.   I cannot.

      20   Q.   You can work here for two weeks, right?

      21   A.   Yes.

      22   Q.   All right.    Thank you.

      23   A.   You're welcome.

      24   Q.   Laura Oropesa.

      25   A.   (By Ms. Oropesa) Hello.
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       1   Q.   Hi.    How are you?

       2   A.   I am unemployed.

       3   Q.   Where do you live?      The microphone a little closer.

       4   A.   I live in Kendall.      I am unemployed.   I do not --

       5   Q.   You want a job as a juror?

       6   A.   Yes, I would love a job, actually.

       7   Q.   Okay.   You've never been a juror before?

       8   A.   No, I have not.       And I have been arrested.

       9   Q.   For?

      10   A.   Domestic violence and --

      11   Q.   What happened to the case?

      12   A.   I was on probation and --

      13   Q.   Do you think you were treated fairly?

      14   A.   Yes, I was.

      15   Q.   By everybody?

      16   A.   Well, I did sit in one chair for 12 hours straight.         So I

      17   guess I didn't enjoy that.       But other than that, it was --

      18   Q.   Did you have a lawyer?

      19   A.   Yes, I did.

      20   Q.   Were you happy with your lawyer?

      21   A.   Not the first time.      The second time, I was.

      22   Q.   Are you going to hold it against these lawyers for your

      23   first one?

      24   A.   No, I won't hold it again them, no.

      25   Q.   How about the prosecutor?
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       1   A.   The prosecutors were great.          They were very professional and

       2   very courteous, yes.        Great.

       3   Q.   And the judge?

       4   A.   The judge was also very nice, yes.

       5   Q.   Okay.    All right.     Any reason why you should not be here for

       6   two weeks?

       7   A.   No, I can't think of any.

       8   Q.   Do you know any police officers, law enforcement agents?

       9   A.   No, I do not.

      10   Q.   Did I miss anything?

      11   A.   Not that I can think of.

      12   Q.   Okay.     Thank you.

      13                Then I have Eilis Arronde.

      14             THE COURT:       Did we ever find?

      15             THE COURTROOM DEPUTY:         She had left, but she came back.

      16   So she is downstairs.

      17                THE COURT:    Okay.   So she's not here.      She is waiting

      18   downstairs.

      19                THE COURTROOM DEPUTY:      Yes.

      20                THE COURT:    I think we have enough people as it is.

      21   Okay.

      22                Does the prosecutor wish to ask -- are you all okay or

      23   does anybody need a bathroom break?              Nobody?

      24                You want a bathroom break?

      25             MR. DIAZ:       I want to say something because I was
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       1   hearing --

       2               THE COURT:   Well, we've to give you a microphone,

       3   Mr. Diaz.     I can hear you, but --

       4   BY THE COURT:

       5   Q.   Yoelis Diaz.     What do you want to say?

       6   A.   (By Mr. Diaz) That I know somebody that has been arrested.

       7   Q.   Who?

       8   A.   It's my cousin.

       9   Q.   And what was he arrested for?

      10   A.   I don't know what, but I remember that he was grabbing a

      11   panther, a Florida panther.      I hear on the news.

      12   Q.   You heard about your cousin's case in the news?

      13   A.   Yes, because he live in Miami, I live in Homestead and we

      14   are not talking or I don't see him for about two years.

      15   Q.   You still see him now?

      16   A.   No, I don't see him.

      17   Q.   Is that going to influence you in any way?

      18   A.   No, no.    I just remember when everybody talking.

      19   Q.   Thank you for bringing it up.

      20               THE COURT:   Anyone else who now it triggers a

      21   particular answer that you didn't get a chance to provide?

      22   Nobody?     Okay.

      23               How many people in these two rows need to go to the

      24   bathroom?     Okay.   The court security officer is going to take

      25   you to the bathrooms in the jury room.
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       1              Okay.     How many people need to go over there?      Not so

       2   many, but go outside and come right back.        We're going to wait

       3   for you.    Because if I give you all a break -- so many people.

       4   Don't drink so much water.      No, no, no.    Hold on.    Not so many,

       5   unless you absolutely have to.       There are only two bathrooms in

       6   there.    Okay.    Go to the bathroom and come back.       Remember your

       7   seat.

       8              In the meantime, lawyers, you can start thinking about

       9   what you need to do because you won't have as much time

      10   afterwards.       So you might as well do your thinking and talking

      11   and deciding now.

      12              Where are you going?

      13              MR. RASHBAUM:    Just over there.

      14              MR. MARCUS:    Is it okay if we sit over here for a

      15   minute?

      16              THE COURT:    Well, you've got to ask permission to move

      17   in the courtroom.       You can't just get up.

      18              Okay.    What, you can't do it there like everybody else

      19   does?    Do it right there, where you are, with your client.

      20              And don't worry, I'm going to give you a lunch break,

      21   too.    Don't worry.

      22              I think we have got everybody, no?      Everybody in the

      23   first two rows.      Do we have any gaps there, back there?       I think

      24   everybody is back.      Everybody is back.    All right.

      25              Does the Government wish to say anything and ask any
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       1   questions?    You may do so.

       2              MR. LARSEN:    Thank you, Your Honor.

       3              THE COURT:     You can use the lectern.    You can turn it

       4   around, use the microphone.

       5              Mr. Larsen, you've got the floor.

       6              MR. LARSEN:     Good morning, everybody.

       7              THE VENIRE:     Good morning.

       8              MR. LARSEN:     I want to start by thanking you all for

       9   your service.    I know it's a very important service, as the

      10   Court has advised.       We all appreciate your service, everyone in

      11   the courtroom.

      12              My name is Kevin Larsen.       I'm an assistant United

      13   States attorney.     With me at the table is Jon Juenger.      He's

      14   also a prosecutor, assistant United States attorney in the

      15   office.    You're going to hear more from him as he gives his

      16   opening statements later if you're selected.

      17              But I want to talk to you just briefly, and I think you

      18   heard some of this from Judge Moreno, but this case involves

      19   allegations that the defendant in this case, Mr. Monty Grow,

      20   committed a fraud on a Government entitlement program.         We

      21   talked a little bit about that this morning and that program is

      22   Tricare.     And as you've heard from Judge Moreno, Tricare is an

      23   entitlement program that is there for members of the military

      24   and their family members.

      25              Does anybody here in the jury pool have strong opinions
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       1   either way about Government entitlement programs that would

       2   affect your ability to be fair and impartial either way in this

       3   case?

       4            For example, does anybody here have strong opinions

       5   where the allegation that the Government entitlement program is

       6   a victim of a fraud?    Any strong feelings about that that would

       7   affect your ability to be fair and impartial?

       8            MR. NEGRIN:     I do.

       9            MR. LARSEN:    Okay, sir.

      10            THE COURT:    We're going to give you a microphone.

      11   Mr. Negrin, right?

      12            MR. NEGRIN:    Yes, sir.

      13            THE COURT:    You don't need to ask him any more

      14   questions.

      15            MR. LARSEN:    Okay.    The second area that I want to ask

      16   you, ladies and gentlemen, deals with a concept called

      17   cooperating witnesses.    If you are selected to serve on this

      18   jury, you will hear evidence in this case and some of the

      19   witnesses in this case you will hear are witnesses that have

      20   either been charged and pled guilty and are cooperating with the

      21   Government and will be testifying about things they saw, heard,

      22   on their participation in the alleged scheme that has been

      23   charged to Mr. Grow.

      24            Does anybody here feel strongly about cooperators,

      25   folks that were involved or allegedly involved in the charged
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       1   scheme that would make it difficult for you to believe what that

       2   person is saying?     Do you have an issues with someone who's

       3   cooperating with the Government?        Are you more likely to believe

       4   them or less likely to believe them just because they're

       5   cooperating with the Government?

       6             THE COURT:    We have to give you a microphone because

       7   that's the only way the court reporter can hear it.

       8            This is Mr. Jean, right?        Mr. Jean, right?

       9             MR. JEAN:    You're asking me if they were charged with

      10   the same thing that the guy being charged with now and they're

      11   cooperating?

      12   BY MR. LARSEN:

      13   Q.   Well, in the case the Government will present, there will be

      14   one or more witnesses that will testify at trial that they were

      15   charged and pled guilty to the conduct that Mr. Grow is alleged

      16   to have committed.     They will tell you about what they did in

      17   furtherance of that scheme; what crimes they committed, for lack

      18   of a better word.      They will tell you that they pled guilty and

      19   that they are cooperating with the Government and they may say

      20   they hope that the Government will look favorably upon their

      21   cooperation.

      22   A.   (By Mr. Jean) To give them like a lesser sentence?

      23   Q.   Possibly.   But I can't say what they would say, but the

      24   concept is something I'm trying to find out from you all.        Is

      25   that something that any of you would feel automatically
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       1   discredits a witness because they're cooperating or the other

       2   direction?

       3   A.     Not necessarily.

       4   Q.     Okay.    Anybody else?

       5                  I have just a couple of follow-up questions for a

       6   couple of the jurors.

       7                  Let me ask first, Mr. Bolton?

       8   A.     (By Mr. Bolton) Yes.

       9   Q.     When Judge Moreno was questioning --

      10                  THE COURT:    Okay.    We've got to give him a microphone,

      11   even though he probably doesn't need one, but still we're going

      12   to do that.

      13                  MR. BOLTON:    We both have similar surnames.

      14   BY MR. LARSEN:

      15   Q.     Oh, excuse me.        I'm sorry.

      16   A.     (By Mr. Bolton) John Bolton.

      17   Q.     Mr. John William Bolton.

      18   A.     Yes.

      19   Q.     Mr. Bolton, you previously, in answering your questions,

      20   mentioned that you previously served as a foreperson on a jury,

      21   but I didn't hear if there was a verdict or what type of

      22   verdict.

      23                  THE COURT:    Well, the type of verdict I don't let you

      24   ask.

      25                  MR. LARSEN:    Okay.
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       1               THE WITNESS:    It was not a mistrial.

       2               THE COURT:     Okay.

       3   BY MR. LARSEN:

       4   Q.   I have got a question for --

       5               THE COURT:     Thank you, Mr. Bolton.

       6               MR. BOLTON:    You're welcome.

       7   BY MR. LARSEN:

       8   Q.   Ms. Vanessa Fernandez?

       9   A.   Yes.

      10               THE COURT:     Thank you for the mic.

      11   BY MR. LARSEN:

      12   Q.   Good morning.    Ms. Fernandez, you mentioned that you worked

      13   in marketing, and I wanted just to ask a follow-up.              If you

      14   could tell us what type of marketing you work in?

      15   A.   (By Ms. Fernandez) Absolutely.            I specialize in hospitality,

      16   travel and tourism.

      17   Q.   Thank you.

      18   A.   You're welcome.

      19   Q.   Mr. Mejia, Alvaro Mejia?

      20   A.   (By Mr. Mejia) Yes.

      21   Q.   Good morning.

      22   A.   Good morning.       Good afternoon.

      23               THE COURT:     Well, not yet.       Not yet.   Not yet.

      24               MR. MEJIA:     It's 5:00 somewhere.

      25   BY MR. LARSEN:
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       1   Q.   Mr. Mejia, you mentioned a friend's father had been arrested

       2   for -- I thought I heard something called pharma?

       3   A.   (By Mr. Mejia) Pharma International.       I don't remember the

       4   name of the company.

       5   Q.   Do you remember what the case -- do you know about pharma?

       6   A.   No.

       7   Q.   Okay.     Do you remember anything about what the case

       8   involved?      Was it pharmaceuticals?

       9   A.   Oh, yes, pharmaceuticals, definitely.

      10   Q.   Okay.     Was it a pharmacy?

      11   A.   It was a pharmaceutical company here based in Miami.        I

      12   think it's called Pharma International.

      13   Q.   Okay.    And was your friend's father just arrested or was he

      14   tried?     Did he go to trial?

      15   A.   He was indicted.

      16   Q.   Indicted?

      17   A.   Yes.

      18                THE COURT:   Did he plead guilty or go to trial?

      19                MR. MEJIA:   I don't know.

      20                THE COURT:   Are you still friends with the same friend?

      21                MR. MEJIA:   Yeah.   I mean, yeah, we all grew up

      22   together.

      23                THE COURT:   Does he ever talk about his father and what

      24   happened to him?      Does he ever talk about his father and what

      25   happened to him?
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       1             MR. MEJIA:    No.     I mean, there's not --

       2             THE COURT:    Pardon?

       3             MR. MEJIA:    There's not much to say.        No, he doesn't.

       4             THE COURT:    Okay.

       5             MR. LARSEN:   Thank you, Your Honor.         That's all I have.

       6             THE COURT:    All right.      Defense?

       7             MR. MARCUS:   Thank you, Your Honor.

       8             Good morning.

       9             THE VENIRE:    Good morning.

      10             MR. MARCUS:   Again, my name is Jeff Marcus.         And along

      11   with my colleagues, Kate Meyers and Dan Rashbaum, we have the

      12   privilege of representing Mr. Monty Grow, and like everyone has

      13   said, both the judge and Mr. Larsen, we are just looking for,

      14   obviously, jurors that can be fair.            I have some follow-up

      15   questions.   I'm going to ask some general questions and I may

      16   ask some individual questions, and if you have something to say,

      17   just indicate your hand and the marshal will bring a microphone

      18   to you.

      19             Again, we're not trying to pry, but obviously, all of

      20   us have life experiences; and one of the things we're looking

      21   for is based on the kind of case that we have, do you have

      22   strong feelings that might come into play.           At the end of the

      23   case, the judge will instruct you on the law and you'll hear

      24   evidence throughout the case, and one of the things we're trying

      25   to determine is if you have strong feelings that would be hard
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       1   for you to put aside when you hear the evidence that both sides

       2   will present.

       3             So let's just start with the fact that this case

       4   involves a large compounding pharmacy.         Has anyone ever received

       5   prescriptions or medications from a compounding pharmacy?

       6             MS. GLOVER:    Like Walgreens?

       7             MR. MARCUS:    So not like Walgreens.      So this is a

       8   specialty pharmacy that will make medications in batches for

       9   people.   So not like going to CVS.

      10               A JUROR:   You mean --

      11             THE COURT:    Hold on.     We can't have people speaking

      12   without a mic.    We've got to do that.        We've got to have --

      13             MS. GLOVER:    Does it come through the mail?

      14   BY MR. MARCUS:

      15   Q.   Yes, ma'am, this is a pharmacy that did send medications

      16   through the mail.

      17   A.   (By Ms. Glover) Because I have received medicine --

      18             THE COURT:    I'm sorry, I can't hear you.

      19             MS. GLOVER:    I have received medicine through the mail.

      20             THE COURT:    You have to stand up.      Thanks.

      21             MS. GLOVER:    I have received medicine through the mail.

      22             THE COURT:    Thank you.      You have received medicine from

      23   the mail.

      24             This is who?

      25             MS. GLOVER:    Delphine.
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       1               THE COURT:     Thank you.

       2   BY MR. MARCUS:

       3   Q.   With that pharmacy, did you have any negative experiences

       4   with the way you received your medications?

       5   A.   (By Ms. Glover) No, they put it in a bag.

       6   Q.   And did you submit a claim to a health insurance program?

       7   A.   Yes.    My insurance had gave out, so I stop receiving it.

       8   Q.   Because your insurance cut off the medicine?

       9   A.   Cut off, exactly.

      10   Q.   Okay.    And had your doctor prescribed you to continue on the

      11   medication when it was cut off?

      12   A.   Yes, I had to find some other way to get some insurance.

      13   Q.   Okay.     And was this private health insurance?

      14   A.   Medicaid.

      15   Q.   Medicaid.    Okay.     Thank you, ma'am.

      16                THE COURT:    Thank you, Ms. Glover.

      17                MR. MARCUS:    So what we're talking about -- this case

      18   you'll hear a lot about prescription medications and some of

      19   these medications are very costly and we will talk about that.

      20                Has anyone had either experiences themselves or, you

      21   know, close friends or family that have been denied medication

      22   by an insurance company?

      23                MS. CRUZ-CARABALLO:    Yes, it recently happened to my

      24   husband.

      25               THE COURT:     I'm sorry.   You have to state your name for
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       1   the court reporter.

       2                MS. CRUZ-CARABALLO:    My name is Maylyn Cruz-Caraballo.

       3                THE COURT:    Thank you, Ms. Cruz-Caraballo.

       4                MS. CRUZ-CARABALLO:    It happened to my husband that he

       5   got denied.     That was the medication that he used.       It was

       6   prescribed by the dermatologist and we took it to the Walgreens

       7   and it was denied.        Well, it wasn't denied.   It was not covered.

       8   So he has to pay out-of-pocket, but we didn't because it costs

       9   almost $1,000.

      10             So then we call the doctor and he say, I have another

      11   way to get the same medication from a Tampa pharmacy.           So he got

      12   the medication from -- well, they fax the prescription to them

      13   and they just did a copay that was a lot less.        I don't know

      14   what was the difference, because why it's not covered by

      15   Walgreens and it's covered from medication -- from a pharmacy

      16   somewhere else and it was the same insurance?        So for me, it was

      17   pretty rare.     I don't know.     I think that's not fair because we

      18   pay for the insurance.

      19   BY MR. MARCUS:

      20   Q.   You pay for the insurance.       And the medication, was it very

      21   expensive?

      22   A.   (By Ms. Cruz-Caraballo) Yeah, it cost more than $1,000.

      23   Q.   Sure.    Okay.   Thank you.

      24   A.   So it made me very upset.

      25   Q.   Were there any other hands?        Anyone who has had an
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       1   experience where they were denied coverage because of the

       2   expense of medication?

       3   A.   (By Ms. Garcia) My name is Berny Garcia.

       4              THE COURT:     Thank you.

       5              MS. GARCIA:     I recently had an arm lift surgery and my

       6   insurance company did not --

       7              THE COURT:     I'm sorry.    I couldn't hear you.

       8              MS. GARCIA:     My insurance company did not cover the

       9   cream for it.        I had to pay for it, but I was fine with it.         I

      10   mean, it's really expensive and it's like steroids.            So I was

      11   okay.   But that was about it.

      12   BY MR. MARCUS:

      13   Q.   Okay.   How about more generally with medical procedures?

      14   Has anyone been in the hospital or maybe with a surgery or some

      15   other procedure where the procedure was denied, coverage in some

      16   way, by their insurance program?

      17   A.   (By Ms. Smith) Catherine Smith.           My husband was denied from

      18   workmen's comp for a procedure that was supposed to have been

      19   done and they denied it and then his kidneys ended up failing.

      20   So then they came back and paid for the kidney and now they're

      21   paying for the medicine which he have to get an infusion like

      22   three times out of the year and the infusion itself is like

      23   $10,000.     So --

      24   Q.   Sorry to hear that, but thank you for letting us know.

      25              You've heard the word Tricare.         It's come up.   Tricare
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       1   is essentially an insurance program that covers people in the

       2   military who are serving as well as family members.             It's a

       3   Government insurance program.         Has anyone ever received Tricare

       4   insurance or had a family member that's received insurance

       5   through Tricare?

       6   A.   (By Mr. Deprez) I receive Tricare and my wife receives

       7   Tricare.

       8              THE COURT:     Yeah, you had told us that before.

       9              MR. DEPREZ:     Right.    Well, he wanted to know.

      10              THE COURT:     Yeah.

      11   BY MR. MARCUS:

      12   Q.   Did you have any negative experiences with Tricare in terms

      13   of the way that they processed your claims?

      14   A.   (By Mr. Deprez) Not at all.

      15   Q.   Okay.   Thank you.

      16              THE COURT:     Hold on.    We can't be in two places at

      17   once.   Only one.   He is looking at someone back there.

      18              MS. GUTHRIE:    My name is Gloria Guthrie.        My son is in

      19   the Air Force, is Tricare.          Any --

      20              THE COURT:     Didn't you tell us that already?

      21              MS. GUTHRIE:     Yes.

      22              THE COURT:     You did.    Thank you.

      23              MS. GUTHRIE:     The procedure is very fine with him.

      24   He's all the time go to the dentist.             He go to the doctor.

      25   Everything is okay.
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       1               MR. MARCUS:   Okay.   Thank you, ma'am.

       2               THE COURT:    You have somebody here now if you want to

       3   continue with that line of questioning.

       4   BY MR. MARCUS:

       5   Q.   Has anyone ever received a prescription for medication

       6   through Telemedicine?       Has anyone every heard that term,

       7   telemedicine, where you have a consultation with a physician

       8   over the phone?

       9               You're going to hear a lot about sales and marketing in

      10   this case.     You're going to hear that Mr. Grow was doing

      11   marketing for a large pharmacy, a compounding pharmacy.

      12               Is there anyone on the panel who has experience, other

      13   than Ms. Fernandez, with marketing in their work?

      14   A.   (By Ms. Berezin) My name is Angelica Berezin.      Yes, in my

      15   line of work we do quite a bit of marketing.

      16   Q.   Have you ever worked on a commission basis?

      17   A.   Yes.

      18   Q.   You've been paid for commissions in real estate or --

      19   A.   Yes.

      20   Q.   Any other type of business?

      21   A.   No.

      22   Q.   Have you ever worked for a large real estate company?

      23   A.   Yes.

      24   Q.   Did that company ever employ attorneys --

      25   A.   Yes.
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       1   Q.   -- to provide advice on business?

       2   A.   Yes.

       3   Q.   Did you ever interact with attorneys as part of your work?

       4   A.   Yes.

       5   Q.   And did they provide you with advice?

       6   A.   Yes.

       7   Q.   Have you ever received advice about your compensation, how

       8   it would be structured from an attorney?

       9   A.   Not from an attorney.

      10   Q.   Okay.    Are you familiar with multi-level marketing

      11   companies?     Do you know that term, Ms. Berezin?

      12   A.   No.

      13   Q.   You ever hear of like Mary Kay or Avon?

      14   A.   Yes.

      15   Q.   Okay.    Has anyone else in the panel heard of a company like

      16   Mary Kay or Avon?    Okay.

      17               Does anyone know anyone who has worked at a company, a

      18   marketing company, a multi-level marketing company like that?

      19   A.   (By Ms. Brooks) Leah Brooks.       My mom sells Mary Kay and

      20   she's sold Avon before.

      21   Q.   How long did she do that for?

      22   A.   She's actively selling Mary Kay and maybe like five years

      23   ago she was selling Avon.

      24   Q.   And is she paid on a commission basis?

      25   A.   Yes.
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       1   Q.   And does she get commissions based on reps that she has been

       2   able to bring into the company?

       3   A.   Yes.

       4   Q.   Okay.     Thank you.

       5               I think I saw there were some other hands in the back.

       6   A.   (By Ms. Alvarado) Lisbette Alvarado.     My daughter sells

       7   Avon.

       8   Q.   And I guess the same question for you:       Does she get paid on

       9   a commission basis?

      10   A.   Yes.    According to what she sells, yeah.

      11   Q.   Okay.    And if she's able to bring in other sales

      12   representatives, does she also get commissions as well for that?

      13   A.   Yeah, but she hasn't.      I mean, she has never put somebody

      14   else to work for her.

      15   Q.   Okay.     Thank you.

      16                I believe I saw one more hand.   Ms. Fernandez?

      17   A.   (By Ms. Fernandez) I have several colleagues that work with

      18   Rodan & Fields.     It's like cosmetics and they do the same thing.

      19   Q.   They do the same thing?

      20   A.   Yeah.

      21   Q.   Is there anyone that has --

      22                THE COURT:   Thank you, Ms. Fernandez.

      23   BY MR. MARCUS:

      24   Q.   Yes, thank you.

      25               This is just for everyone on the panel.     Is there
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       1   anyone who has negative feelings about a company like Mary Kay

       2   or a company that does multi-level marketing?

       3                 THE COURT:   Someone has his hand up over there.   I

       4   think it's Mr. Mejia.

       5   BY MR. MARCUS:

       6   Q.    Mr. Mejia?

       7               MR. MARCUS:    Thank you, Your Honor.

       8                 MR. MEJIA:   You want me to say my feelings?   Yeah, it's

       9   kind of like Herbalife, kind of like a Ponzi scheme, if you ask

      10   me.

      11   BY MR. MARCUS:

      12   Q.    Do you have an issue with people working on commissions?

      13   A.    No.     Everybody can choose to do what they want.

      14   Q.    Okay.    Would it depend to you on the product that was being

      15   marketed?

      16   A.    I wouldn't trust it.

      17   Q.    Okay.     Even if it was a licensed pharmacy that does business

      18   in 50 states?

      19   A.    I would have my doubts.

      20   Q.    Okay.    Thank you for your honesty.

      21                 THE COURT:   You have two minutes.

      22   BY MR. MARCUS:

      23   Q.    Is there anyone on the panel who has had medical training

      24   themselves?       I know we have at least one nurse on the panel, but

      25   any kind of medical training?
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       1             Anyone who has ever gotten any training on

       2   pharmaceuticals in any way?

       3             Has anyone --

       4             THE COURT:    I think someone was raising their hand over

       5   there.

       6             MR. MARCUS:    Thank you.

       7             MS. BROOKS:    Leah Brooks.        I used to work in a pharmacy

       8   before I was at the job I'm at now.           And so I started as just

       9   like the cashier taking like prescriptions and things like that,

      10   but then I moved to starting -- I started filling medicine and

      11   things like that.      So I worked like right with the pharmacist.

      12             THE COURT:     Thank you, Ms. Brooks.

      13             MR. MARCUS:     Thank you.

      14            MS. BROOKS:     You're welcome.

      15   BY MR. MARCUS:

      16   Q.   The medications in this case are very expensive.         The

      17   commissions made in this case, both by Mr. Grow and others, are

      18   a lot of money.     You're going to hear that Mr. Grow made

      19   millions of dollars.      The pharmacy made tens and tens of

      20   millions of dollars through their business.           Knowing that,

      21   knowing the large amounts of money, is there anyone who feels

      22   negatively or questions the business practice simply based on

      23   the fact that a lot of money was made by this pharmacy and by

      24   its marketers?

      25             Will anyone on the panel hold that against Mr. Grow
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       1   that he made a lot of money as a marketer?

       2            You've heard that Mr. Grow played college football at

       3   the University of Florida, then went on to play in the NFL.           Is

       4   there anyone on the panel who has any negative feelings or

       5   biases against professional athletes in any way?

       6            Can everyone be fair to Mr. Grow?

       7            THE COURT:    All right.     Discuss it with your client and

       8   approach sidebar when you're ready.

       9            We're almost done, folks.

      10               MR. RASHBAUM:   Judge, may I just walk over towards

      11   Mr. Grow?

      12            THE COURT:    Sure.

      13            MR. RASHBAUM:      Thank you, Your Honor.

      14            THE COURT:    I'm going to give you a break soon.         I know

      15   some of you still need to go to the bathroom.          I haven't

      16   forgotten.

      17            Okay.    Let's go.    I need you all here now.

      18       (The following proceedings were held at sidebar:)

      19            THE COURT:    Mr. Larsen, right here.        Don't press the

      20   button because the marshals will come with guns.         You can move,

      21   but just don't press the button.        You've got to give him room.

      22            Who's going to speak for the defense?         Mr. Marcus,

      23   you're over here, and the rest of you can be next to him.            Don't

      24   press that button.

      25            All right.    Jose Perez.      Government.   Accept, reject or
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       1   cause.

       2               MR. LARSEN:     Accept.

       3               THE COURT:     Defense.

       4               MR. RASHBAUM:     Cause.

       5               MR. MARCUS:    Cause.

       6              THE COURT:     No, who's speaking?       You all decided.

       7   Granted.

       8               Yoelis Diaz.    Government.

       9               MR. LARSEN:     Accept.

      10               THE COURT:     Defense?

      11               MR. MARCUS:     Accept.

      12               THE COURT:     Juror Number 1.

      13               Maximiliano Ollenik.       Government?

      14               MR. LARSEN:     Accept.

      15               THE COURT:     Defense.

      16               MR. MARCUS:     Accept.

      17               THE COURT:    What do we do with the second week with

      18   him?     You're going to do this trial in a week?

      19               MR. MARCUS:     No, I guess he said that --

      20              THE COURT:     Lower your voice.       I don't care, but if you

      21   want a sidebar, you might as well use it.

      22              MR. MARCUS:     I think he wanted you to call his employer

      23   to get out of it.

      24              MR. LARSEN:     Your Honor, we can go cause on him.         We're

      25   not going to finish the trial in a week.
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       1             THE COURT:    Well, it's going to be quicker than you

       2   think.

       3             MR. LARSEN:    I agree with you, Your Honor.

       4             THE COURT:    Cause.

       5             Roberto Luis Izquierdo Beltran.       Government.

       6             MR. LARSEN:    Accept.

       7             THE COURT:    Defense.

       8             MR. MARCUS:    Accept.

       9             THE COURT:    Okay.    Juror Number 2.

      10             Jefnie Jean.    Government.

      11             MR. LARSEN:    Accept.

      12             THE COURT:    Defense.

      13             MR. MARCUS:    Accept.

      14             THE COURT:    Juror Number 3.

      15             Nathalie Petit Car.

      16             MR. LARSEN:    Accept.

      17             THE COURT:    Defense.

      18             MR. MARCUS:    Strike.

      19             THE COURT:    Defense challenge number 1 out of 10.

      20             Angelica Berezin.      Government.

      21             MR. LARSEN:    Accept.

      22             THE COURT:    Defense.

      23             MR. MARCUS:    Accept.

      24             THE COURT:    Juror Number 4.

      25             Elizabeth Ramirez.
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       1             MR. LARSEN:     Strike.

       2             THE COURT:    Government's first challenge out of six.

       3             Francisco Chamorro.       Government.

       4             MR. LARSEN:     Cause.

       5             THE COURT:    Why?

       6             MR. LARSEN:    He expressed feelings that his husband

       7   [sic] was mistreated by law enforcement.          He was not treated

       8   fairly.

       9             THE COURT:    Who was not treated fairly?

      10             MR. LARSEN:    That he was not treated fairly.        He was

      11   arrested for throwing a coconut at a shutter, had problems with

      12   the system.   He had issues with the system.          He expressed a

      13   biased against law enforcement.

      14             THE COURT:    For the shooting the missile and you all

      15   laughed and --

      16             MR. LARSEN:     Well, he --

      17             THE COURT:    Hold on.     One at a time.    When I interrupt,

      18   which is a lot, I'm sorry, you've got to stop.

      19             MR. LARSEN:    Sure.

      20       (The following proceedings were held in open court:)

      21             THE COURT:    Mr. Chamorro, who was it who was arrested

      22   and you said he was throwing the coconut?

      23             MR. CHAMORRO:    My cousin.

      24             THE COURT:    Your cousin, that's right.

      25       (The following proceedings were held at sidebar:)
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       1              MR. LARSEN:    Sorry, his cousin.

       2              THE COURT:    That's why you had the whole thing wrong.

       3              MR. LARSEN:    I'm sorry.       Okay.   I thought I heard

       4   husband.

       5              THE COURT:    No, no.    So his cousin.          He said, it was

       6   shooting a deadly missile.       So we thought it was serious and

       7   then he said he threw a coconut and everybody laughed and then I

       8   said, I guess it wasn't so serious.             Remember?

       9              MR. LARSEN:    Yes.

      10              THE COURT:    Cause challenge denied but --

      11              MR. LARSEN:    Strike.

      12              THE COURT:    -- it's a perfectly legitimate reason, for

      13   whatever reason, for a peremptory challenge.            That's why we have

      14   the peremptory challenges till the Supreme Court bands them

      15   eventually.

      16              Okay.   Jorge Negrin.     Government.

      17              MR. LARSEN:    Cause.

      18              THE COURT:    Granted.

      19              Elky Hortensia Porto.       Government.

      20              MR. LARSEN:    Accept.

      21              THE COURT:    Defense.

      22              MR. MARCUS:    Strike, Your Honor.

      23              THE COURT:    Defense challenge number 2 out of 10.

      24              Thony Williams Garcon.        Government.

      25              MR. LARSEN:    Accept.
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       1               THE COURT:    Defense.

       2               MR. MARCUS:    Strike.

       3            THE COURT:       Defense challenge number 3 out of 10.

       4               Esther Margarita Rossetto.           Government.

       5               MR. LARSEN:    Accept.

       6               THE COURT:    Defense.

       7               MR. MARCUS:    Strike.

       8            THE COURT:       It's someone's phone.        Did you press that?

       9            MR. LARSEN:      No.

      10       (The following proceedings were held in open court:)

      11               THE COURT:    Turn off your phones, folks.         Thank you.

      12       (The following proceedings were held at sidebar:)

      13               THE COURT:    I think we were at Esther Margarita

      14   Rossetto.    Government, you accepted?           Is that what you did?

      15               MR. LARSEN:    Yes, Your Honor.

      16               THE COURT:    Defense.

      17            MR. MARCUS:       That was a strike, Your Honor.

      18               THE COURT:    I'm sorry.      Defense challenge number -- is

      19   that three or four?

      20            THE COURTROOM DEPUTY:          Four.

      21            MR. LARSEN:       Four

      22            THE COURT:       Four.

      23            Kelly Ann Padron.        Government.

      24               MR. LARSEN:    Accept.

      25               THE COURT:    Defense.
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       1              MR. MARCUS:     Accept.

       2              THE COURT:    Juror Number 5.

       3              Diego Hurtado.

       4              MR. LARSEN:     Accept.

       5              THE COURT:    Defense.

       6              MR. MARCUS:     Accept.

       7              THE COURT:    Juror Number 6.

       8             You have to lower your voice in case you say reject and

       9   they hear you.

      10              Rosemarie Rey.       Government.

      11             MR. LARSEN:     Cause, Your Honor.

      12              THE COURT:    Granted.

      13              Maylyn Cruz-Caraballo.         Government.

      14              MR. LARSEN:     Accept.

      15              THE COURT:    Defense.

      16             MR. MARCUS:     Cause, Your Honor.

      17             THE COURT:     Why?

      18              MR. MARCUS:    Let me just look at my notes.       She had a

      19   conflict with -- if we don't finish in two weeks, Your Honor,

      20   which is possible, she said she has a surgery starting on that

      21   Monday.

      22              THE COURT:    February 5th.

      23              MR. RASHBAUM:    Yes.

      24              MR. MARCUS:    I don't know how long this case is going

      25   to be.    We have a defense case.         I don't want her to hold it
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       1   against us.

       2             THE COURT:     She won't hold it against you.      We'll be

       3   done.   We'll be done.    Just work harder for two weeks.       It's not

       4   enough for cause.

       5             MR. MARCUS:    We will strike.

       6             THE COURT:     Defense challenge number 5.

       7             Vanessa Fernandez.       Government.

       8             MR. LARSEN:     Accept.

       9             THE COURT:     Defense.

      10             MR. MARCUS:    Your Honor, for cause.       I believe she has

      11   a trip.

      12             THE COURT:     Granted.    Accept, reject or cause.    You

      13   don't have to say anything unless I ask.

      14             MR. MARCUS:     Cause.

      15             THE COURT:     Granted.

      16             Leisy Meneses.     Government.

      17             MR. LARSEN:     Accept.

      18             THE COURT:     Defense.

      19             MR. MARCUS:     Accept.

      20             THE COURT:     Juror Number 7.

      21             John Bolton.     Government.

      22             MR. LARSEN:     Accept.

      23             THE COURT:     Defense.

      24             MR. MARCUS:     Strike.

      25             THE COURT:     What a surprise.       Number 6.
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       1            Berny Garcia.    Government.

       2            MR. LARSEN:     Accept.

       3            THE COURT:    Defense.

       4            MR. MARCUS:     Accept.

       5            THE COURT:    Juror Number 8.

       6            David a/k/a Gonzo Gonzalez.           Government.

       7            MR. LARSEN:    Cause.     He had issues with the schedule.

       8            THE COURT:    Right.     You're right.     Granted.

       9            Immacula Thelisma.       Government.

      10            MR. LARSEN:    Cause.

      11            THE COURT:    Granted.

      12            Oved Leon.    Government.

      13            MR. LARSEN:    Cause.

      14            THE COURT:    Granted.

      15            Alvaro Martinez.

      16            MR. LARSEN:    Cause.

      17            THE COURT:    Granted.     I've never had so many people who

      18   don't speak English.

      19            Pedro Bodden.

      20            MR. LARSEN:     Accept.

      21            THE COURT:    Defense.

      22            MR. MARCUS:     Accept.

      23            THE COURT:    Juror Number 9.

      24            Arthur Deprez.     Government.

      25            MR. LARSEN:     Accept.
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       1            THE COURT:    Defense.

       2            MR. MARCUS:    Cause.

       3            THE COURT:    Granted.

       4            You don't think a judge could be a fair juror?

       5            MR. MARCUS:    He specializes.

       6            THE COURT:    A specialized judge cannot be a fair juror.

       7   Okay.

       8            Delphine Glover.    Government.

       9            MR. LARSEN:    Accept.

      10            THE COURT:    Defense.

      11            MR. MARCUS:    Accept.

      12            THE COURT:    Juror Number 10.

      13            Lisbette Mercedes Alvarado.          Government.

      14            MR. LARSEN:    Accept.

      15            THE COURT:    Defense.

      16            MR. MARCUS:    Strike.

      17            THE COURT:    Why is that happening?

      18            I'm sorry.    My attention is not focused.

      19            Lisbette Alvarado.      Government.

      20            MR. LARSEN:    We accepted, Your Honor.

      21            THE COURT:    Defense.

      22            MR. MARCUS:    Strike.

      23            THE COURT:    Defense challenge number 7.

      24            Sarah Laura Gonzalez.       Government.

      25            MR. LARSEN:    Strike.
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       1            THE COURT:    Government's third challenge, right?

       2            MR. LARSEN:    Yes, Your Honor.

       3            THE COURT:    German Merida.         Government.

       4            MR. LARSEN:    Accept.

       5            THE COURT:    Defense.

       6            MR. MARCUS:    Accept.

       7            THE COURT:    Juror Number 11.

       8            Marcus Neloms.     Government.

       9            MR. LARSEN:    Accept.

      10            THE COURT:    Defense.

      11            MR. MARCUS:    Accept.

      12            THE COURT:    We've got 12 jurors.         Okay.    Okay.

      13   Government used three out of six.         Defense used seven out of 10.

      14   Rendering any issues regarding cause moot.          We're going to pick

      15   a lot of alternates because things can happen.              So I will give

      16   each side three challenges and we'll choose.

      17            Do I have enough people?         Yeah, I think so.      How many

      18   seats in there?

      19            THE COURTROOM DEPUTY:       16.

      20            THE COURT:    We'll choose four alternates and I will

      21   give you -- well, then I'll give you two challenges each side.

      22   You don't need that many.

      23            Four more jurors, which is 50 percent.             So that's

      24   pretty generous.

      25            Catherine Bell Smith.       Government.
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       1              MR. LARSEN:      Accept.
       2              THE COURT:      Defense.
       3              MR. MARCUS:      Strike.
       4              THE COURT:      Defense alternate 1 out of 2.

       5              Maria Menendez.        Government.
       6              MR. LARSEN:      Accept.
       7              THE COURT:      Defense.
       8              MR. MARCUS:      Accept.

       9              THE COURT:      Alternate Juror Number 1 out of 4.
      10              Munir Amin.      Government.
      11              MR. LARSEN:      Accept.
      12              THE COURT:      Defense.
      13              MR. MARCUS:      Accept.
      14              THE COURT:      Alternate Number 2.

      15              Alvaro Mejia.       Government.
      16              MR. LARSEN:      Accept.
      17              THE COURT:      Defense.

      18              MR. MARCUS:      Cause.

      19              THE COURT:      Granted.
      20              Gerald Jones.       Government.

      21              MR. LARSEN:      Accept.
      22              THE COURT:      Defense.
      23              MR. MARCUS:      Accept.

      24              THE COURT:      Alternate Number 3.

      25              Reshma Vettaparambil.             Government.
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       1             MR. LARSEN:    Accept.

       2             THE COURT:    Defense.

       3             MR. MARCUS:    Accept.

       4             THE COURT:    Number 4.     You think we need more?

       5             MR. MARCUS:    I don't think so.

       6             THE COURT:    That means you all used only one out of the

       7   four, showing how generous we are with peremptory challenges.

       8   So the next time you guys go to some Federal Bar function among

       9   judges and it's about the challenges, you can use this one as an

      10   indication that you don't need that many challenges.

      11       (The following proceedings were held in open court:)

      12             THE COURT:    Okay.   Tell me when you're ready, Gilda.

      13             THE COURT REPORTER:      I'm ready, Judge.    Thank you.

      14            THE COURT:     See, she's the most important person here.

      15   If she's not ready, we can't do anything, see?

      16             All right.    I'm going to excuse with our thanks

      17   Mr. Perez.   You can go.    There's a door right there on your

      18   right.   You can use that one and leave.        You can leave.   Look at

      19   that, in perfect English you knew that.

      20            Mr. Diaz, you're Juror Number 1.         Move on down to that

      21   first seat next to you.     You're Number 1.

      22             Mr. Ollenik, you're excused.         Go to the fifth floor.

      23   Make sure you tell them you haven't eaten lunch.          They'll send

      24   you to lunch.   Okay?

      25            Mr. Izquierdo, move on down to that second seat.
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       1              Mr. Jean, move on down to that third seat.

       2              Ms. Petit Car, you're excused with our thanks.        You can

       3   go out that way.     I think it's easier on your left.

       4              Ms. Berezin, move on down to the fourth seat.

       5              Kelly Ann Padron, move on down to the fifth seat, and

       6   Diego Hurtado, move on down to the sixth seat.

       7              The rest of you in the second row are excused with our

       8   thanks.    Go to the fifth floor.     Make sure they let you go to

       9   lunch.    Don't let them force you to go to another judge without

      10   eating, okay?    And if you need to go to the bathroom, go even

      11   before you get to the fifth floor.           Thank you.

      12              Now, for those of you back there, I want these jurors

      13   who have been selected, can you show them how comfortable those

      14   chairs are?    Can you rock and swivel?        See, that's business

      15   class, and you all back there are in coach.

      16              So what's going to happen is you may get upgraded to

      17   business class.    I want you to show the same enthusiasm as you

      18   would if you were moving up through those curtains, you know, up

      19   to business class.

      20              So Ms. Cruz-Caraballo, you're excused with our thanks.

      21   Go to the fifth floor.     I hope everything works out for February

      22   5th.

      23              Vanessa Fernandez, you're excused.         Go to the fifth

      24   floor.    Have a pleasant trip to New York on the 31st.

      25              Leisy Meneses, come on up and take your upgraded
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       1   business class seat here in the first row.      Number 7.

       2            Mr. Bolton, you're excused with our thanks.        Stop by

       3   the fifth floor.     Have a good day.

       4            Berny Garcia, come on up and take the first seat in the

       5   second row of the jury.

       6            David Gonzalez or Mr. Gonzalez, Gonzo Gonzalez, you're

       7   excused with our thanks.    Stop by the fifth floor.

       8            Immacula Thelisma, you're excused with our thanks.

       9   Oved Leon, too, and Alvaro Martinez, too, go to the fifth floor.

      10            Pedro Bodden, come on up and take the ninth seat in the

      11   second row.

      12            Arthur William Deprez, you're excused with our thanks.

      13   You've heard enough of these cases.

      14            Delphine Glover, come on up and take the 10th seat here

      15   in the second row.

      16            Lisbette Alvarado, you're excused with our thanks.

      17            Sarah Laura Gonzalez, you're excused with our thanks.

      18   Go to the fifth floor.

      19            German Merida, come on up and take the next seat in the

      20   second row.   Don't forget to remind me about next Tuesday at

      21   one.

      22            MR. MERIDA:    Thank you.

      23            THE COURT:     It's not tomorrow.   It's next Tuesday.       I

      24   got it, but remind me anyway.

      25            Marcus Neloms, come on up and take the next seat,
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       1   please, sir.

       2                Catherine Smith, you're excused with our thanks.     Go to

       3   the fifth floor.      Have a good day.

       4                Maria Mercedes Menendez, come on up and take the next

       5   seat.

       6                Munir Amin, come on up and take the next seat, please.

       7                Mr. Mejia, you're excused with our thanks.     Go to the

       8   fifth floor.      Thank you very much, sir.

       9               Gerald Jones, come on up and take the next seat.

      10                Reshma Vettaparambil, come on up and take the next

      11   seat, please.

      12                Any of the jurors who have been selected so far have

      13   any questions, any answers, any potential excuses you have not

      14   used before or, you know, like the weddings, forever hold your

      15   peace.   That doesn't even work anymore, does it?        But it will

      16   here.

      17   BY THE COURT:

      18   Q.   Yes.     Let's talk with Mr. Jean.      We're going to give you a

      19   microphone, maybe.      You don't need one, but I'm going to give it

      20   to you anyway.

      21               What do you wish to say, sir?

      22   A.   (By Mr. Jean) I got a doctor's appointment on Friday.

      23   Q.   Okay.    You forgot about it before?

      24   A.   Yeah.

      25   Q.   Okay.     What time?
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       1   A.   I don't remember.

       2   Q.   Well, I can't give you the whole Friday off, right?

       3   A.   No, it's in the morning.

       4   Q.   Do you know more or less -- have you been to that doctor

       5   before?

       6   A.   No.     It's the first time.

       7   Q.   And you don't know what time?

       8   A.   I was going to call.

       9   Q.   You have your phone?

      10   A.   Yeah.

      11   Q.   Call.    Find out.

      12   A.   Right now?

      13   Q.   Yeah.    That's when I want to find out.

      14   A.   All right.

      15   Q.   I don't want to find out after you're sworn that it's a

      16   12-hour appointment.      Go ahead.       We'll wait for you.   I mean,

      17   you don't have to discuss anything private.           Do you have your

      18   phone?     Just call up and confirm, hey, what time is my

      19   appointment on Friday?      They are usually good.       They will send

      20   you to someone.     They usually call you to remind you.

      21              While he's doing that, anybody else in the second row?

      22              Oh, look at that.      Okay.     Let's give a microphone there

      23   to him.

      24   A.   (By Mr. Neloms) Yes, during each session, how long does --

      25   Q.   Hold on.     Let me get --
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       1   A.   Oh, I'm sorry.   My name is Marcus Neloms.

       2   Q.   Yeah, I am looking for with my notes.       Give me a little --

       3   Marcus Neloms?

       4   A.   Yes.

       5   Q.   I got you.   I have so many other names with notes, I can't

       6   even -- okay.     What's the problem that you have?

       7   A.   How long do each session last a day?

       8   Q.   You work usually from what time to what time?

       9   A.   From 4 to 12, Thursday through Monday.

      10   Q.   You work from 4 to 12 at night, right?

      11   A.   Yes.

      12   Q.   Well, you have to quit that for a while and just do this,

      13   because otherwise -- unless you think you can sleep only six

      14   hours.   Is that all right?

      15   A.   Well, it's as far as the pay.

      16   Q.   The pay?

      17   A.   Yes.

      18   Q.   The pay is $40 a day no matter what.

      19   A.   I understand, but the bills got to be paid as well.

      20   Q.   Pardon?

      21   A.   Bills got to be paid as well.

      22   Q.   Okay.   So what did you tell me about that before?

      23   A.   I didn't tell you before.

      24   Q.   Okay.   So what do you want to tell me about it now?

      25   A.   Well, I don't think it would be enough for the bills.
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       1   Q.   Okay.    So you think it's going to create a problem for you?

       2   A.   Correct.

       3   Q.   All right.      "All right" means I understand what you're

       4   saying.

       5                Okay.   Anybody else?

       6                All right.   Let's see who we have.

       7   A.   (By Mr. Bodden) Thank you.

       8   Q.   This is?

       9   A.   Pedro Bodden.

      10   Q.   There you go.

      11   A.   Thank you.      I am happy to stay here.

      12   Q.   All right.      So are we.

      13   A.   But I have to -- I need to be honest.          My English really --

      14   when I sell art, when I try to sell a picture, a painting, I

      15   speak for two or three minutes and I do my effort, you know?

      16   But I don't know if my English is enough, is sufficient to

      17   serve.    It's only my -- I want to stay, but it's a challenge for

      18   me, you know?

      19   Q.   You know, when you sell Latin American art, I suspect you

      20   probably sell it to people who speak Spanish.           I don't know.

      21                You ever sell any art to Carlos De La Cruz?       He's a

      22   good friend of mine.       Do you know him?      You know of him, I'm

      23   sure.

      24   A.   Yeah, yeah.      Sometimes --

      25   Q.   And you probably do it in Spanish, because that's good
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       1   marketing.        You speak in Spanish to someone who's a customer.

       2   But do you ever do anything that is not as important as selling

       3   art?     Do you ever chat with anybody about other things?

       4   A.     Yes, sometimes --

       5   Q.     And you do it in English?

       6   A.     Yes, sometimes I need to speak English.

       7   Q.     Of course.

       8   A.     But --

       9   Q.     Like right now.

      10   A.     Yes, yes.     Thank you.       But --

      11   Q.     And you are doing perfectly.

      12   A.     Okay.    Thank you.     Thank you very much.   But when the

      13   conversation is a little bit deep, maybe I don't understand a

      14   lot.

      15   Q.     Okay.     Let's see how deep.

      16   A.     For me, I am good here, but it's a challenge for me.

      17   Q.     What I have -- I don't usually speak deeply.        That's one of

      18   my many faults.        Have you understood what I have said?

      19   A.     Yes.

      20                  THE COURT:    Lawyers, speak my not-to-deep English.    And

      21   Government, tell your witnesses to speak not-deep English.            And

      22   then you'll be fine.

      23                  MR. BODDEN:    Okay.

      24                 THE COURT:     All right.

      25                  MR. BODDEN:    Okay.    Thank you.
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       1             THE COURT:      Thank you for bringing it up.

       2   BY THE COURT:

       3   Q.   I don't know, did we give Mr. Jean enough time there?             Okay.

       4   What time is your doctor's appointment this Friday?

       5   A.   (By Mr. Jean) It's at nine.

       6   Q.   Nine.    Do you know how long it will take?

       7   A.   It's supposed to be just a checkup.

       8   Q.   Okay.     But sometimes that takes -- okay.           So if we start at

       9   10:15, do you think you'll make it?

      10   A.   Yeah, I mean, it's at Jackson.            So, yeah.

      11   Q.   You can even take the Metrorail, if you wanted to.

      12   A.   I can try.

      13   Q.   Okay.     So don't worry.    Don't cancel the appointment.        And

      14   on this Friday, we will start at 10:15 and we will wait for you,

      15   you know, unless there's some problem.             Okay?

      16   A.   All right.

      17                THE COURT:   All right.    Anybody else?

      18                Okay.   Let me see the lawyers at sidebar, please.

      19                You all are on hold, on standby, see, back there,

      20   waiting to see if you get your upgrade.

      21                You don't have to put this down.

      22        (There was a brief discussion off the record, and the

      23   following proceedings were held at sidebar:)

      24                THE COURT:   Okay.   What do you want to do about

      25   Mr. Neloms?     Government.
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       1            MR. LARSEN:    We'd like to keep him.

       2            THE COURT:    What does the defense want to do?

       3            MR. MARCUS:    We'd like to keep him.       I don't know if

       4   you tell him we're going to stop by a certain time in the

       5   afternoon, like late afternoon, that he could then still work,

       6   if he wants to.

       7            THE COURT:    What time does he start work?

       8            MR. MARCUS:    He said 4 to 12.      I don't know if he can,

       9   you know, work 6:30 or 7.

      10            THE COURT:    Did you hear me talk about how I don't

      11   think it's ideal to work till 3:00, and that's without a lunch

      12   break, let alone with a lunch break?         How is that going to work?

      13            Why in the world would both of you want an individual

      14   who works, who needs the money, unless your goal is to get a

      15   hung jury, or you like the first alternate more than anybody

      16   else?

      17            MR. RASHBAUM:    I don't like him.

      18            MR. LARSEN:    Well, I don't really want an angry,

      19   reluctant juror.     I was only saying to keep him if the Court --

      20   I don't know if the Court was -- you talked about calling the

      21   employers before.     I don't know if that's something --

      22            THE COURT:    Of course, I do that, but I don't want to

      23   start with that --

      24            MR. LARSEN:    Okay.

      25            THE COURT:     -- especially on a case that takes more
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       1   than a couple of days.

       2            MR. LARSEN:    Yeah.

       3            THE COURT:    Not because I think the employer will do

       4   anything, but because the employee will not be happy.

       5            MR. LARSEN:     I agree.

       6            THE COURT:    I want happy jurors for both of you.      Both

       7   of you should want happy jurors as much as you can under the

       8   circumstances.

       9            So what I'm going to do is I'm going to excuse him for

      10   cause, and then what I will do with you all, if you want,

      11   because we already did everything else, since you all had

      12   challenges still left --

      13            MR. LARSEN:    Where did we leave off?

      14            THE COURT:     -- either start again with what you got or

      15   move on to Mr. Jones.

      16            What say the Government?

      17            MR. LARSEN:    Mr. Jones?

      18            THE COURT:    No, I'm giving you two choices.

      19            MR. LARSEN:    Okay.

      20            THE COURT:    He was accepted.      We can start again after

      21   German Merida.   German Merida was accepted by both of you as the

      22   11th juror.   Marcus Neloms was the 12th juror.      Both of you had

      23   challenges left.   We can rewind it back to then and do it again,

      24   if you want, or we can move on to James Jones.

      25            MR. LARSEN:    To James Jones?
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       1             THE COURT:      Yeah, I think that was the next one.

       2             MR. MARCUS:      We'd would like to rewind, Your Honor.

       3             THE COURT:      You want to rewind, okay.       Then we'll

       4   rewind.

       5             MR. LARSEN:     Where are we starting again?

       6             THE COURT:      Starting at the end of Neloms.

       7             Catherine Smith had been a defense alternate number 1

       8   challenge.    Now you know a little bit more, so there's no

       9   prejudice to anybody because you know how your opponent is

      10   thinking anyway.     But she was excused already, so we can't bring

      11   her back.    But you can say accept if you want to.

      12               MR. LARSEN:    Accept.

      13             THE COURT:      What say the defense?

      14             MR. RASHBAUM:      Don't play games.

      15               MR. MARCUS:    Strike.

      16             THE COURT:      Of course, you better.        Otherwise, we'll

      17   bring her right back.

      18             Defense challenge number 8 out of 10.

      19             Okay.   Now, let's see.         Where am I?   Now we have Maria

      20   Mercedes Menendez.     Government.

      21               MR. LARSEN:    Accept.

      22             THE COURT:      Government accepted.      Defense, you

      23   reaccept?

      24               MR. MARCUS:    Strike.

      25             THE COURT:      You strike Ms. Menendez.        That's defense
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       1   challenge number 9.

       2            Amin, Munir.    Government.

       3            MR. LARSEN:     Strike.

       4            THE COURT:    Okay.   Government.     Why did I do this?

       5   Government's fourth challenge.

       6            Okay.   Alvaro Mejia was a cause challenge.      So we have

       7   Gerald Jones.    Government.

       8            MR. LARSEN:     Accept.

       9            THE COURT:     Defense?

      10            MR. MARCUS:     Accept.

      11            THE COURT:    He becomes the 12th juror.

      12            Reshma Vettaparambil.        Government.

      13            MR. LARSEN:     Accept.

      14            THE COURT:    Defense.     Now we've got 12 jurors.   So now

      15   you've got two challenges each to choose four alternates.

      16            Okay.    You accept, defense?

      17            MR. MARCUS:     Accept.

      18            THE COURT:    Alternate Number 1.

      19            James Jones.

      20            MR. LARSEN:     Accept.

      21            THE COURT:     Defense.

      22            MR. MARCUS:     Accept.

      23            THE COURT:    Alternate Number 2.

      24            Gloria Guthrie.

      25            MR. LARSEN:     Accept.
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       1              THE COURT:    Defense.

       2              MR. MARCUS:    Challenge, strike.

       3              THE COURT:    Defense challenge number 1 out of 2 for the

       4   alternate.

       5              Yudeisy Abreu.

       6              MR. LARSEN:    Strike.

       7              THE COURT:    I'm going to excuse for cause because of

       8   the prior incident.

       9              Rodrigo Sandrini.    Government.

      10              MR. LARSEN:    Accept.

      11              THE COURT:    Defense.

      12              MR. MARCUS:    Cause.

      13              THE COURT:    Why?

      14              MR. MARCUS:    He was the one who had a work conflict,

      15   was unsure that the manager was going to replace him in the

      16   company.     He didn't seem very --

      17              THE COURT:    Happy to be here?

      18              MR. MARCUS:    That's right.

      19              THE COURT:    Granted.

      20              What do we have one alternate so far?

      21              THE COURTROOM DEPUTY:       We have two alternates.

      22              THE COURT:    Juan Angulo.       Government.

      23              MR. LARSEN:    Cause.

      24              THE COURT:    Granted.

      25              Carla Webb.    Government.
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       1              MR. LARSEN:     Strike.

       2              THE COURT:    Government, one out of two.

       3              MR. LARSEN:     We can keep --

       4              THE COURT:    Well, it's close.          It's close.

       5              MR. LARSEN:    She doesn't seem to want to be here.

       6              THE COURT:    No, she didn't, but she will think of

       7   enough excuses to be for cause eventually.              What are we going to

       8   do?

       9              Luis Rodriguez.       I sent him to enjoy himself before the

      10   Navy.

      11              Leah Brooks.

      12              MR. LARSEN:     Accept.

      13              THE COURT:     Leah Brooks was accepted.            Defense.

      14              MR. MARCUS:     Accept.

      15         (There was a brief discussion off the record.)

      16              THE COURT:    Okay.    You accepted Ms. Brooks.

      17              MR. MARCUS:    Yes, she's the third, Number 3.

      18              THE COURT:    Yeah, Alternate Number 3 is Ms. Brooks.

      19              Jansel Jose Febres Cotto.             Government.

      20              MR. LARSEN:     Accept.

      21              THE COURT:     Defense.

      22              MR. MARCUS:     Accept.

      23              THE COURT:    We have got four alternates.             So we don't

      24   need to do anything else.

      25              We got almost 100 percent jury utilization.
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       1       (The following proceedings were held in open court:)

       2            THE COURT:    Okay.   Mr. Neloms, I'm going to excuse you.

       3   Okay?   Go to the fifth floor.    Thank you.

       4            Ms. Menendez, I'm going to excuse you now.          All right?

       5   And Mr. Amin, I'm going to excuse you, too.           All right?    See

       6   what happens?   Look at that.    But I don't want you to think we

       7   took away your upgrade or anything, but it looks like you're

       8   happy anyway.

       9            Mr. Jones, move on down to that seat, please.             Thank

      10   you so much.

      11            And Ms. Vettaparambil, you can move on down to that

      12   seat.

      13            Mr. James Jones, come on up and take the next seat.

      14            MR. J. JONES:    Can I use the bathroom?

      15             THE COURT:   Right over there.        Take your time.     Wait.

      16   Okay.

      17            THE COURT SECURITY OFFICER:          He asked to use the

      18   restroom.   I think you told him -- you said okay.

      19       (Juror James Jones retired from the courtroom.)

      20            THE COURT:    Well, can you wait outside to make sure

      21   when he's done, to come back here?           We'll keep his seat.

      22            When you got to go, you got to go, I guess.

      23             Ms. Guthrie, you're excused.          You can go to the

      24   bathroom if you want, too, but go to the fifth floor.

      25            Yudeisy Abreu, you're excused.
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       1                Rodrigo Sandrini, you're excused.

       2             Juan Angulo, you're excused.

       3             Carla Webb, you're excused.        Go to the fifth floor.

       4             Mr. Luis Rodriguez was previously excused.

       5             Ms. Brooks, come on up and take the next to the last

       6   seat here.

       7                And Jansel Jose Febres Cotto, come on up and take the

       8   last seat.

       9             And let me wait for Mr. Jones before I excuse you all,

      10   Mr. James Jones.

      11             Anything that either one of you, any of you now want to

      12   say regarding sitting here for two weeks, paying attention and

      13   doing your duty?     Any problems, excuses, causes, complaints?

      14   BY THE COURT:

      15   Q.   Okay.     Let's go to -- okay.

      16   A.   (By Ms. Glover) Will we still be here on February the 7th?

      17   Q.   Pardon?

      18   A.   February the 7th.

      19   Q.   February 7th?

      20   A.   Yeah.

      21   Q.   No, you won't be here.

      22   A.   We'll be finished then, huh?

      23   Q.   Pardon?

      24   A.   We'll be finished with the jury?

      25   Q.   Yeah.     What do you have February 7th?
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       1   A.   I have an appointment.

       2   Q.     At what time?

       3   A.     10:00.

       4   Q.     Don't cancel it.       Doctor's appointment?

       5   A.     Yes.

       6   Q.   No problem.      Is it just for a checkup or something like

       7   that?

       8   A.     Yes.

       9        (Juror James Jones entered the courtroom.)

      10                 THE COURT:    Okay.   Mr. Jones, we have a seat ready for

      11   you.    It's not an aisle seat, but it's still business class?

      12                 MR. J. JONES:    Yes.

      13                 THE COURT:    Okay.   Hold on.      Let me get Mr. Jones

      14   seated to make it easy.          Right there.

      15   BY THE COURT:

      16   Q.   Yes, Mr. Diaz.

      17   A.   (By Mr. Diaz) Yes.        One question.

      18   Q.   Okay.      Just one?

      19   A.   Just one.      Is the company pay for the two weeks?

      20   Q.   They don't have to if they don't want to, but they can't

      21   fire you.

      22   A.     Okay.

      23   Q.   So what do you think?

      24   A.   No, just talking with my company.

      25   Q.     How big is your company?
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       1   A.    How big is my company?

       2   Q.    Yeah.

       3   A.    400 employees, maybe.

       4   Q.    Usually big companies do it, but I cannot force them to pay

       5   you for not working.

       6   A.    What about if I am salary?     I am not work by hour.    I am

       7   work by the whole year.

       8   Q.    Okay.   It seems like they probably would, but I cannot force

       9   them to pay you.

      10   A.    I understand.

      11   Q.    So what impact will that have on your --

      12   A.    For example, if I am going to be out today, I am going to

      13   pay because I am salary.       I don't work by hour.

      14   Q.    I got that.   So how does that affect your jury duty?      Tell

      15   me.

      16   A.    No, just question.   It's not affected.

      17   Q.    No, but I have a question of you.       Can you be fair even if

      18   your employer says, you know what, I could take a few days off,

      19   but two weeks is too much.      I'm going to dock your pay, which he

      20   can do.     He can say, I can't pay you.      I can't afford to pay you

      21   for two weeks.

      22   A.    Yes, it's going to affect me because it's a lot of money.

      23   Q.    I know.   So would it affect your decision in this case?

      24   A.    No.

      25   Q.    Will it cause a hardship to sit as a juror?
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       1   A.   Yes, if they don't pay me.      If they pay, it's --

       2   Q.   Yeah, of course.     If they pay, you get paid twice.       Maybe

       3   you have to give the money that you get paid from here, which is

       4   much less.     Some employees do that.

       5             THE COURT:     What say the Government for Mr. Diaz?

       6                Hold on.   We have a tsunami coming here.      Well, maybe I

       7   should ask what --

       8   BY THE COURT:

       9   Q.   Mr. Izquierdo, what is your issue?

      10   A.   (By Mr. Izquierdo) I work and I got two jobs and in my house

      11   I am the only work.

      12   Q.   What did you tell me before?

      13   A.   I work for Holiday Inn.

      14   Q.   Yeah.

      15   A.   And Alamo, Enterprise Rent-A-Car.

      16   Q.   Did you tell me about Alamo?

      17   A.   No, no.

      18   Q.   You forgot.

      19   A.   Because Alamo is part-time, so --

      20   Q.   But you didn't tell me that.

      21   A.   Sorry.

      22   Q.   You told me Holiday Inn, because we went through the

      23   language issue and I said, remember, you speak with any of the

      24   guests or anything like that?      And you said, no, no, I don't

      25   speak with anybody.      Remember that?       About two hours ago, but
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       1   still.

       2   A.     So the company has to pay me?      It's obligatory or not?

       3   Q.   No, the company doesn't have to pay you.          Usually big

       4   companies do, if you work for the school board, if you work for

       5   Holiday Inn.     But they cannot fire you or demote you or punish

       6   you.     It would be like you have a leave, but I cannot force them

       7   to pay you.     I'm going to be honest with you.        They cannot

       8   punish you because, if they do, they will be punished.           So they

       9   never do when I call, but I cannot promise you that they will

      10   pay you.    I cannot.

      11   A.   So I think I can't be here.

      12   Q.     Why didn't you tell me that before?

      13   A.   I don't know.      The thing is in my house, it's the only work.

      14   I have two childs [sic].

      15   Q.     Why didn't you tell me all of that before?

      16   A.   I'm sorry about that.

      17   Q.     All right.   Yeah, because it kind of messes everything up,

      18   see?     That's the reason.    Most judges don't ask the last

      19   question that I ask, and then we have all kinds of problems.            I

      20   ask it because I've seen problems.            I've learned from that.

      21              THE COURT:    What say the Government as to Yoelis Diaz?

      22               MR. DIAZ:    I want to say --

      23               THE COURT:    No, hold on.    You've said enough already.

      24               Accept, reject or cause?

      25              MR. LARSEN:    Your Honor, we accept.
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       1              THE COURT:    What say the defense?

       2              MR. MARCUS:     Your Honor, just in light --

       3              THE COURT:    No, no.     I'm sorry.   Accept, reject or

       4   cause?   You have a chance to make opening statement soon.

       5              MR. MARCUS:     Caused based on the hardship.

       6              THE COURT:    No.   Accept, reject or cause?     One word.

       7              MR. MARCUS:     Cause.

       8              THE COURT:    Granted.

       9              Okay.    Mr. Perez -- Mr. Diaz, you can go.          Perez was

      10   before that.

      11              On Izquierdo, what say the Government?

      12              MR. LARSEN:     Accept, Your Honor.

      13              THE COURT:    What say the defense?

      14              MR. MARCUS:     Cause.

      15              THE COURT:    Granted.

      16              Mr. Izquierdo, go to the fifth floor.        See what

      17   happens.    Okay?

      18              That means that Ms. Vettaparambil, you're going to move

      19   on down to the first seat.

      20              And Mr. Jones, you are going to move on down to the

      21   second seat -- wait, wait.          Mr. James Jones.   Sorry.    I made a

      22   mistake not using first names.

      23              MR. J. JONES:    We have two Joneses.

      24              THE COURT:    I know.     That's why we are doing it that

      25   way.   The alternates would move to Number 1 and Number 2.
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       1             THE COURT:       All right.      Can you all move down two?

       2             Dineiska Rodriguez, Government?

       3                MR. LARSEN:    Accept.

       4                THE COURT:    Defense?

       5                MR. MARCUS:    Accept.

       6             THE COURT:       Okay.   Come on up and get your upgrade.

       7                Laura Oropesa, Government?

       8                MR. LARSEN:    Accept.

       9                THE COURT:    Defense?

      10                MR. MARCUS:    Accept.

      11             THE COURT:       Come on up and take the next seat.

      12             Any objections from the Government to the jury as

      13   you've selected them?

      14            MR. LARSEN:       No, Your Honor.

      15             THE COURT:       From the defense?

      16            MR. MARCUS:       No, Your Honor.

      17             THE COURT:       All right.      I hate to say it, because we

      18   don't have anybody else left -- that's the real reason -- any

      19   other issues?

      20                MS. RODRIGUEZ:    Just an appointment for February 5th,

      21   but it's not a big deal.

      22   BY THE COURT:

      23   Q.   Okay.    Ms. Rodriguez.       Did you tell me that before?

      24   A.   (By Ms. Rodriguez) No, because I didn't know.          You said two

      25   weeks and then I work nights, so --
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       1   Q.   I said two, we could run into Monday or Tuesday.       I think I

       2   said that, but I probably didn't say it loud enough.

       3   A.   It's fine.     I can change it.

       4   Q.   What do you have on February 5th?        What time?

       5   A.   3:00 p.m.

       6   Q.   What is it?

       7   A.   3:00 p.m.

       8   Q.   A doctor's appointment?

       9   A.   Yes.

      10   Q.   Okay.     Don't cancel it.   We'll just quit and then we'll pick

      11   up if we have to for the next day.

      12   A.   Thank you.

      13   Q.   All right.     But you have to remind me.

      14   A.   I will.

      15   Q.   Anybody else?

      16               Mr. Jones?

      17   A.   (By Mr. J. Jones) I have a doctor's appointment --

      18   Q.   Hold on.     We're going to give you --

      19   A.   I have a doctor's appointment --

      20   Q.   Hold on.    I have to find your name here.

      21                Mr. James Jones, when do you have a doctor's

      22   appointment?

      23   A.   On the 12th of February.

      24   Q.   If we are not done by then, I'm going to see the same doctor

      25   with you.      How is that?   Okay?    No problem.
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       1               THE COURT:   Anybody else?         We try to make it easy

       2   because we know you're kind of volunteering, but not really

       3   volunteering.     It's like the old draft days of the military; and

       4   in my days, by lottery, that's how it was.             And sometimes you

       5   win, sometimes you lose, but the consequences aren't as great,

       6   at least in my days.      You would be sent to Vietnam, so -- but I

       7   want to make sure we have no issues, right?             If we have no

       8   issues, now you can rise, raise your right hand, and

       9   Mrs. Christie is going to swear you in as the jurors to try this

      10   case.

      11       (The jury and alternates were duly sworn by the courtroom

      12   deputy.)

      13               THE COURTROOM DEPUTY:     Thank you.      You can have a seat.

      14               THE COURT:   Okay.   We're going to let you go.       I've got

      15   to give you a couple of instructions.            I already told you how a

      16   trial is conducted.      You're going to hear opening statements and

      17   then the Government starts calling witnesses.            But I'm going to

      18   send you to lunch.

      19               But I'm going to give you some cautionary instructions.

      20   The first one is:    You'll see the lawyers.          You're going to see

      21   the witnesses, the parties involved in this case, and you being

      22   polite would want to say, hey, how are you doing?            Good morning,

      23   good afternoon.     And you're going to notice that no one linked

      24   to the case, witness, party, lawyer, will even acknowledge your

      25   greeting.    They won't even say hello to you.          So that means you
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       1   can't hold it against them.     They're very nice and very polite,

       2   but they fear me more than they love you, and I have an order

       3   that says they cannot even say hello to you.            So don't hold it

       4   against them.     All right?   That's the first thing.        So if you

       5   are up in the elevator and they're looking up at the ceiling,

       6   you know, it's because they know they can't have any contact

       7   with you.

       8               So you have to wear your juror badge at all times

       9   around the courthouse because even though they selected you and

      10   they know you, they are running around, preparing their case:

      11   What are you going to do?      The judge, you know, he's pushing us

      12   hard.     So they may not even see you.        So don't hold it against

      13   them, okay?     You are going to see them around town, in the cafe.

      14               I don't require them to hide into another bathroom or

      15   go to another restaurant because I'm going to trust them because

      16   they have my orders.      But then you can't hold it against them,

      17   okay?     So don't put them on the spot.        How long is this case

      18   really go to take?      Because they're not going to answer.

      19               If anyone approaches you and wishes to talk about the

      20   case, you tell them, I'm on the jury.           I can't.   If they

      21   persist, you let me know.      And remember what I said three hours

      22   ago:     No googling.   Don't start googling the lawyers about their

      23   cases, other cases or this case.        There probably will be

      24   something on the Internet about it.           Don't.   Please, don't look

      25   it up.
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       1              Can you all do that for me?         You can all do that?

       2   Okay.    All right.

       3              Then from now on, you don't go to the fifth floor

       4   because then they'll send you into a boring, long case.            You

       5   don't want to do that.     You want to stay here with good lawyers

       6   in a case that won't be short, but won't be long.

       7             So you are going to go in and out of my hallway, which

       8   is your hallway, and the court security officer is going to show

       9   you.    Before that, some of you already know.         I don't know about

      10   many of you because we have moved around, but we have bathrooms.

      11   You can use that.     Coffee, soda.      But you can go and eat.

      12              Now, I'm going to give you a shorter lunch hour today

      13   than normal.    So if you want to go to the Constitution Cafe on

      14   the seventh floor, feel free.       If you want to go outside, fine.

      15   But I want you to get here -- it's 20 till one -- because this

      16   took longer because I didn't manage it well.           It's my fault.

      17              So if you can get here at 20 after one, it's a

      18   40-minute lunch hour.     I guess it's not an hour.        But if you can

      19   do that, we can get started and maybe we'll quit earlier.              You

      20   know, I usually quit when the sun goes down, but we'll quit a

      21   little bit earlier if you can do that.

      22              Can you all do that?     Okay?

      23              You eat wherever you want.          I don't recommend places,

      24   so go ahead, do whatever you need to do and come back.           You

      25   don't come into the courtroom until a man in blue brings you in.
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       1   Sometimes there are different shifts.             Okay?    So we'll see you

       2   at 20 after one.

       3              THE COURT SECURITY OFFICER:          All rise.

       4       (The jury retired from the courtroom at 12:41 p.m. )

       5              THE COURT:   Let me hear that door.            There.

       6              Okay.   Have a seat.   I have a rule that compels you to

       7   stay here for five minutes whenever we excuse the jurors, and

       8   you've heard me tell the jurors you're the nicest, most polite,

       9   wonderful people on this floor, but no contact whatsoever.                 I'm

      10   very, very, very strict with that.             So unless someone wants to

      11   have a jury trial for contempt, no contacts.               And you let your

      12   witnesses, agents, defense witnesses know -- I didn't want to

      13   say that in front of the jury because you never know what's

      14   going to happen -- but I'm very strict with that.                  All right?

      15              Who's making the opening statement for the Government?

      16              MR. JUENGER:    I am, Your Honor.

      17              THE COURT:     How long is it?

      18              MR. JUENGER:    It's less than 30 minutes, for sure.                 I

      19   think 20.

      20              THE COURT:     All right.   Who's making it for the

      21   defense?

      22              MR. RASHBAUM:    I am, Your Honor.

      23              THE COURT:     How long?

      24              MR. RASHBAUM:    I have no idea, but I'm sure it will be

      25   less than 30 minutes.
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       1            THE COURT:    Okay.   Well, then you have an idea.

       2            MR. RASHBAUM:    Well, you gave me 30 minutes.      So I'll

       3   be less than that.

       4            THE COURT:    But you don't need more than 30 minutes.

       5            Who's your first witness?

       6            MR. LARSEN:    Your Honor, the Government would be

       7   calling Ginger Lay as its first witness.

       8            THE COURT:    The codefendant?

       9            MR. LARSEN:    Yes, Your Honor.     And if I may revisit the

      10   issue of exhibits, the exhibits the Government intends to

      11   introduce through Ms. Lay, I believe were all covered by the

      12   Court's status conference ruling.        I think we agreed that all

      13   the ones the Government intend to bring in were admissible.

      14   We'd actually like to be able to, consistent with the Court's

      15   suggestion, move in everything that there was no controversy

      16   over at the beginning of the trial, so we don't fumble around

      17   with foundation and --

      18            THE COURT:    Okay.   I'm going to go through -- I'm

      19   looking at my notes of exhibits to see the numbers.

      20            Do you have them there in order?

      21            MR. LARSEN:     For the first witness, Your Honor?

      22            THE COURT:    For the first witness.     That's all I want.

      23            MR. LARSEN:    I don't know that they are in numerical

      24   order, Your Honor, but I can tell you the --

      25            THE COURT:    They're not in numerical order?     What other
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       1   order is there?

       2              MR. LARSEN:    Well, they're not, Your Honor.          If you

       3   give me a second, Your Honor, I can put them in numerical order.

       4              THE COURT:    No, but tell me what they are.          That's what

       5   I meant.

       6              MR. LARSEN:    Sure.

       7              THE COURT:    And that way we hear -- we did have an

       8   informal status hearing where I told --

       9              MR. LARSEN:    Your Honor --

      10              THE COURT:    Let's put this on the record.          I told the

      11   Government to have an Exhibit List.              I told the defense, have an

      12   Exhibit List.    I told both sides, you should try to agree, so we

      13   don't waste time, and we went through the exhibits and, at least

      14   for the first witness and more, there was agreement.              I know I

      15   jotted down what the agreements were, but in any event, since we

      16   were not on the record -- it was because of my busy calendar --

      17   the court reporter had to eat lunch or sleep or do something to

      18   flex her muscles because she had worked the whole day and we did

      19   it during the lunch hour.         But we can do it now.

      20              If you tell me what the exhibits are and I don't hear

      21   objection, then it's in.     Can you do that now or you want to do

      22   it at 1:15?

      23              MR. LARSEN:   We can do it now, Your Honor.

      24              THE COURT:    Okay.    Give me the number.

      25              MR. LARSEN:    Your Honor, the Government is moving in --
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       1             THE COURT:    Just give me the number.      If I don't hear

       2   objection, it's in.

       3             MR. LARSEN:    Sure.    138, 102, 101, 17-B as in boy, 103,

       4   109, 116, 117, 115, 106, 107, 120, 122, 104, 118, 114, 54, 113,

       5   111, 96, 157, 17-D as in David, 80, 139, 154, 56, 66, 82, 81,

       6   99, 130, 48, 51, 17-F as in Frank --

       7             THE COURT:    Your first witness is going to talk about

       8   all these exhibits?

       9             MR. LARSEN:    Yes, Your Honor.

      10             THE COURT:    Okay.

      11             MR. LARSEN:    Some will be more in a summary fashion,

      12   Your Honor.

      13             THE COURT:    Keep going.

      14             MR. LARSEN:    119, 17-A as in apple, 134, 93, 131, 129,

      15   133, 17-C as in Charlie, 173, 36, 18, 142, 68, 82, 81, 99, 130,

      16   and 70.

      17             THE COURT:    Any objections from the defense?

      18             Hearing none, they will all come in.

      19             MR. MARCUS:    Yes, Your Honor.

      20             THE COURT:    Which one?

      21             MR. MARCUS:    So in order --

      22             THE COURT:    No, no.   Give me a number.    Whatever number

      23   it is.

      24             MR. MARCUS:    Your Honor, Number 48.

      25             THE COURT:    Well, when we discussed 48 -- you had no
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       1   objection to 48 when we discussed it Friday.          Email from your

       2   client and LS.    What's the objection?

       3              MR. MARCUS:    I think this was one that you reserved on,

       4   where he didn't --

       5              THE COURT:    I don't think so, but I don't know.        What's

       6   the objection?    Email between your client and LS.

       7              MR. MARCUS:    Let me pull it, Your Honor.

       8              THE COURT:    I'll overrule the objection.

       9              Next one.

      10              The ones that you all had some objection to, according

      11   to my notes, are 104, 106, 107, 108, 109, 115, 116, 117, 118,

      12   120, 121 and 122, but it did not include 48 unless I made a

      13   mistake.    And what are the objections to those exhibits which

      14   are emails between Monty Grow and LMS and others?          What is the

      15   objection about the defendant's own emails?

      16              MR. MARCUS:    So I'm pulling 48, but this is one that he

      17   did not -- this was one of the Mr. Speir emails where he did not

      18   send it or forward it.

      19              THE COURT:    I just want to know what the objections are

      20   to the ones I just listed:      104, 106, 107, 108, 109, 115, 116,

      21   117 -- those are the ones I set aside -- 118, 120, 121 and 122.

      22              MR. MARCUS:    That's right.       We're just going to

      23   preserve our hearsay objection, Your Honor.

      24              THE COURT:    What is the objection?      It hasn't been

      25   preserved yet.    What is the objection?        Whose statements are
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       1   those?   What is the hearsay objection?

       2              MR. MARCUS:    Well, these are emails, Your Honor.

       3              THE COURT:    From whom?

       4              MR. MARCUS:    That our client is --

       5              THE COURT:    I'm sorry.      My mic must be off.    From whom

       6   to whom?

       7              MR. MARCUS:    They vary.       So --

       8              THE COURT:    Okay.    So let's go one by one.      If you have

       9   an objection, you have to tell me what it is.

      10              104, January 6, 2015 email between Monty Grow and LMS.

      11   Government, this is an email by whom to whom?

      12              MR. LARSEN:    I believe, Your Honor, they are all from

      13   Monty Grow.    I have it here.       It is an email from Monty Grow --

      14              THE COURT:    No.     I just want to know one at a time.

      15              104, email.    But who wrote the email?

      16              MR. LARSEN:    Monty Grow.

      17              THE COURT:    How could that be hearsay?

      18              MR. MARCUS:    Well, it's a forward to Mr. Speir.        It's a

      19   chain.

      20              THE COURT:    Look at 104.        I don't know.   Read it.

      21              MR. LARSEN:    Your Honor, Monty Grow says, "Any word on

      22       these?" in the email.        There's actually an affirmative

      23       statement.    "Any word on these?"

      24              THE COURT:    104.    What is 104?

      25              MR. LARSEN:    Your Honor, it's an email from Monty --
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       1            THE COURT:    Read it.     Read the statement.

       2            MR. LARSEN:    Monty Grow says, "Any word on these?"

       3            THE COURT:    Okay.   What's the objection?

       4            MR. MARCUS:    It's to a witness who is not testifying,

       5   Your Honor, at trial.

       6            THE COURT:    It's your client's statement.          It comes in

       7   as an admission against party opponent.          Overruled.

       8            106.

       9            MR. LARSEN:    Same thing, Your Honor.

      10            THE COURT:    What's the objection?

      11            MR. MARCUS:    Same objection.

      12            THE COURT:    Same ruling.        It's an admission.   Anything

      13   your client wrote can come in.        It's not hearsay.

      14            107.

      15            MR. LARSEN:    Same thing, Your Honor.

      16            THE COURT:    Same ruling.

      17            You still have an objection?

      18            MR. MARCUS:    Yes, Your Honor.

      19            THE COURT:    Why?

      20            MR. MARCUS:    It's the same objection.

      21            THE COURT:    What is the objection?        What part of the

      22   Federal Rules of Evidence are we not understanding together?

      23            If one side wants to introduce a statement by the other

      24   side, how is that hearsay?     What rule says that that's hearsay

      25   that I'm not aware of that you want to teach me?          Because I
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       1   don't know it.

       2              MR. MARCUS:    Well, for example, 107, Your Honor --

       3              THE COURT:    No, no, no.       Give me the Rule of Evidence

       4   that says -- okay, because, see, Rule 801(d) says, statements

       5   that are not hearsay, and if you look at (d)(2), it says, an

       6   opposing party's statement, the statement is offered against an

       7   opposing party.    If the Government is offering it -- who is the

       8   opposing party?

       9              MR. MARCUS:    We are.

      10              THE COURT:    Your client.        So how in the world is your

      11   client's own email not part of a statement that's not hearsay?

      12   It's so clear.    What am I missing?             Maybe the question should

      13   be, what are you missing?

      14              Overruled.    Next.

      15              MR. LARSEN:    Your Honor, all the following --

      16              THE COURT:    No, no.    One by one.

      17              MR. LARSEN:    Okay.     Your Honor, 107 or 106.        106 was

      18   the same thing, an email from Monty Grow to Larry Speir.

      19              THE COURT:    107.

      20              MR. LARSEN:    107, email from Monte Grow to Larry

      21   Speir's email.

      22              THE COURT:    108.

      23              MR. LARSEN:    Email from Monty Grow to the same email

      24   account.

      25              THE COURT:    109.
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       1              MR. LARSEN:     Email from Monty Grow to the same email

       2   account.

       3              THE COURT:     115.

       4              MR. LARSEN:     Email from Monty Grow to the same email

       5   account.

       6              THE COURT:     116.

       7              MR. LARSEN:     Email from Monte Grow to the same email

       8   account.

       9              THE COURT:     117.

      10               MR. LARSEN:    Email from Monty Grow to the same email.

      11              THE COURT:     118.

      12              MR. LARSEN:     Email from Monty Grow to Christopher

      13   O'Hara.

      14              THE COURT:     120.

      15              MR. LARSEN:     Email from Monty Grow to House Calls 24/7.

      16              THE COURT:     121.

      17              MR. LARSEN:     121 is an email from Matthew Smith to

      18   Monty Grow, Patrick Smith, Carmen Green.       It's a spreadsheet.

      19               THE COURT:    I'll pass on that.   The rest will be

      20   admitted.

      21              122.

      22              MR. LARSEN:     That's an email from Monty Grow to House

      23   Calls 24/7.

      24              THE COURT:     I'll admit those except 121.   I'll reserve

      25   ruling on 121, and you can move it in at the appropriate time
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       1   through the same way.

       2              (Government's Exhibit Numbers 17-A, 17-B, 17-C, 17-D,

       3   17-F, 18, 36, 51, 54, 56, 66, 68, 70, 80, 81, 82, 93, 96, 99,

       4   101, 102, 103, 104, 106, 107, 108, 109, 111, 113, 114, 115, 116,

       5   117, 118, 119, 120, 122, 129, 130, 131, 133, 134, 138, 139, 142,

       6   154, 157, 173 were received in evidence.)

       7              THE COURT:    Now, 48, the famous 48 was what,

       8   Government's 48?

       9              MR. LARSEN:    48 was, Your Honor, an email between Monty

      10   Grow --

      11              THE COURT:    No, who wrote it?

      12              MR. LARSEN:    An email from -- it was an email from

      13   Larry Speir to Monty Grow, not offered for the truth.

      14              THE COURT:    I'll pass on that.   I must have missed the

      15   discussion there or someone missed it.        So we'll pass.   Those,

      16   you have to do.

      17              Obviously, an email with the defendant's statement, the

      18   other conversations are also allowed in to provide context.

      19   They are not being admitted for the truth of the matter

      20   asserted, but simply to provide context.       So if someone like the

      21   defendant says, yes, yes, that's right, obviously, means nothing

      22   unless the other part is there, and that's how it comes in.

      23              Objections preserved.     Anything else with the first

      24   witness?

      25              MR. LARSEN:   That's it, Your Honor.
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       1            THE COURT:       All right.   How long do you think she will

       2   be?

       3            MR. LARSEN:       I think she will be between two and three

       4   hours.

       5            THE COURT:       How long did you tell me before?

       6            MR. LARSEN:       I thought that she would take between two

       7   and -- I don't believe I said anything to the contrary.

       8            THE COURT:       I didn't say you said something to the

       9   contrary.

      10               MR. LARSEN:    I'm just trying to remember, Your Honor.

      11            THE COURT:       I just asked the question.

      12               MR. LARSEN:    Yeah, I think she'll take -- and I think

      13   the contemplation among the parties was that the cross may spill

      14   into the following day.

      15               THE COURT:    Oh, I haven't -- you're not going to do the

      16   cross, are you?

      17            MR. LARSEN:       I'm not, Your Honor.

      18            THE COURT:       Even though you can?

      19            MR. LARSEN:       I've just spoken with Mr. Rashbaum.

      20            THE COURT:       So you're going to do the direct.   And you

      21   said between two and three hours of direct?

      22            So you don't even know.         It's a huge difference.

      23               MR. LARSEN:    Well, Your Honor --

      24            THE COURT:       We interrupt each other too much.    So

      25   you've got to yield.
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       1               Two to three hours.     You have no idea?

       2               MR. LARSEN:    Your Honor, I think it will be at least

       3   two hours, probably closer to two and a half.

       4            THE COURT:       Okay.   You'd better ask your best questions

       5   first, just in case you run out of time.

       6               MR. LARSEN:    Will do, Your Honor.

       7               THE COURT:    Who's going to do the cross?

       8               MR. MARCUS:    I am, Your Honor.

       9               THE COURT:    How long is it going to be?

      10               MR. MARCUS:    Well, it's hard to give you an exact.

      11   I'll try to keep to your rule, Your Honor.

      12            THE COURT:       Which is my rule?

      13               MR. MARCUS:    I would think it would be an hour.     It

      14   could be a little more depending on the length of the direct.

      15               THE COURT:    Let's say the direct is two hours.

      16               MR. MARCUS:    I would try to do it, Your Honor, in

      17   around an hour.     Again, I don't know exactly.        There are a lot

      18   of documents here.        So I don't know exactly --

      19               THE COURT:    Well, the documents, I've admitted them.

      20   You've known about the documents, so you know what they say.

      21   They're your client's emails.        So I know you've discussed it

      22   with him.    If not, I would spend, instead of eating for the next

      23   20 minutes -- I'll give you till 1:25.          I never ate when I was a

      24   trial lawyer during a trial, but I don't tell people what to do.

      25   But since we took so long on jury selection, because of my fault
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       1   in allowing voir dire, I guess -- I don't know -- we will break

       2   till 1:25.     Then you will do your opening and then you've got

       3   your witness and we'll proceed until the jurors need a bathroom

       4   break.   Okay?

       5             Anything else?

       6            MR. RASHBAUM:     Judge, just one, quickly.        I just don't

       7   want to offend the Court.       If Mr. Marcus' --

       8            THE COURT:    The only way I get offended is when people

       9   use expletives.    That's the only time I get offended.

      10             MR. RASHBAUM:    Judge, I have kidney stones.        So there

      11   may be times where I just quickly run out and --

      12             THE COURT:    As long as one lawyer is here, it doesn't

      13   matter to me.

      14            MR. RASHBAUM:     Perfect.

      15             THE COURT:   Your client chose his lawyers.         I didn't

      16   choose them.     So as long as it's okay with him and you are not

      17   in the middle of questioning.

      18             MR. RASHBAUM:    Of course.

      19            THE COURT:    Okay.    I would probably eat more properly.

      20   You won't need so many breaks, and you won't have kidney stones,

      21   but that's not an order.       It's just a suggestion.      Okay?

      22             MR. RASHBAUM:    Thank you, Your Honor.

      23            THE COURT:    And I think the other good thing is to make

      24   everything shorter, so everybody can go to the bathroom.            I've

      25   got to give my court reporter a break.         It's 1:00.    She's been
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       1   working since 9:00.

       2              So see you at 1:25.   We're in recess.

       3              THE COURT SECURITY OFFICER:        All rise.

       4       (There was a luncheon recess taken at 1:00 p.m.)

       5                             AFTERNOON SESSION

       6       (The following proceedings were held at 1:50 p.m. outside

       7   the presence of the jury:)

       8              THE COURT:   Ready for the jury?       Bring in the jurors,

       9   please.    Thank you.

      10              The longest voir dire and the shortest lunch hour.          I

      11   guess it goes together.

      12      (The jury entered the courtroom at 1:51 p.m.)

      13              THE COURT:   Thank you, folks.      Please be seated.     I see

      14   you are all there.

      15              Defendant is present, defense counsel, Government

      16   counsel.

      17              You'll notice, of course, that I've given you or,

      18   through my courtroom deputy, notebooks.         You can use them if you

      19   want.   You don't have to use them if you don't want to.        You're

      20   welcome to take notes if you want, and they're for your own

      21   personal use, not to convince someone else.          I take notes.    If

      22   you want to take notes, you can.        You don't have to if you don't

      23   want to.    You can doodle.   You could do what you want.

      24              What we do with the notebooks is -- by we, people in my

      25   chambers; Shirley Christie, my courtroom deputy -- she picks it
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       1   up at the end of the day.       Nobody looks at them and we give them

       2   to you the next day, until the trial is over.         When the trial is

       3   over, we take it and we rip out the pages and shred them.            So no

       4   one looks at them.       The lawyers don't.    But it's up to you.    If

       5   you find it helpful, fine.       If you don't, fine.

       6            The other thing we did before we had a short recess is

       7   I admitted a bunch of exhibits and I think the lawyers were also

       8   working on the ELMO, and they know how to use it because they

       9   had time to do that, I was told.         So I admitted a bunch of

      10   exhibits.    Rather than rattle off the numbers, what I did is

      11   with the cooperation of both sides, some exhibits are admitted.

      12   It saves time, instead of, let me show you what I have

      13   previously marked as Exhibit 120 for identification.         Do you

      14   recognize it?    And then the opposing lawyer looks at it, and all

      15   of this is for kind of show a lot of times.        We do that outside

      16   of your presence.    All these exhibits with the first witness

      17   came in, and that saves a whole lot of time.         And we will do

      18   that every day after you're gone, either during the lunch hour

      19   or at the end of the day or early in the morning.         Okay?

      20               So now, you'll hear opening statements.      The lawyers

      21   don't have to make them.       I told you that before.    It's not

      22   evidence, it's not the law, but it's very important.         It's what

      23   they think, it's their theory of the case, both the prosecution

      24   and the challenge by the defense.          Okay?

      25               All right.    Who's going to speak for the Government?
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       1            MR. JUENGER:     I will.

       2            THE COURT:     Mr. Juenger, you've got the floor.

       3                           OPENING STATEMENTS

       4            MR. JUENGER:    May it please the Court, counsel, and

       5   members of the jury.    Good afternoon.

       6            As you've already heard, this is a case about fraud.

       7   This is a case about a man who lied and who cheated in order to

       8   get a bunch of money that he didn't deserve and that's what

       9   fraud is in a nutshell.

      10            Now, during this trial you're going to hear that this

      11   man, the defendant, Monty Ray Grow, participated in a scheme to

      12   defraud Tricare of tens of millions of dollars.       Tricare, as

      13   you've already heard a little bit, Tricare is a Federal health

      14   care program that provides insurance and coverage and it pays

      15   for the cost of health care for active duty and retired military

      16   and their family members and dependents.

      17            Now, one of the benefits that Tricare pays for all of

      18   these military folks is it pays for a pharmacy benefit.        So if a

      19   Tricare patient needs a drug and has a prescription for it,

      20   Tricare will pay the bill with a little bit of a copay attached

      21   for the individual.

      22            In this case, what you're going to hear is that

      23   Mr. Grow came up with a pyramid scheme of kickbacks in order to

      24   induce and entice these Tricare beneficiaries to order very,

      25   very expensive drugs that they didn't need.       Now, what you're
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       1   going to learn is that Tricare paid the bill, not the patients,

       2   and you're going to hear that the pharmacy had a deal with

       3   Mr. Grow where they would split the profits 50/50.

       4              You're also going to hear that these drugs were very

       5   expensive, but the profit was way up here, 97 percent sometimes.

       6   It was all profit, and Mr. Grow got half of it.

       7              You'll learn that over the course of about eight

       8   months, Tricare ended up paying this pharmacy $40 million for

       9   these drugs and Mr. Grow got paid almost 19 or $20 million in

      10   eight months.

      11              Now, as I just said, Grow's scheme of paying these

      12   kickbacks was a pyramid, and Mr. Grow was at the top of the

      13   pyramid.   He got 50 percent of whatever Tricare paid minus this

      14   negligible cost of goods sold.      Below Mr. Grow, a level down in

      15   the pyramid, he paid some of his big sales reps that worked

      16   under him 25 or 40 percent kickbacks for every Tricare patient

      17   that they could refer to him.      Further down the pyramid, you had

      18   the Tricare beneficiaries themselves.            They would get paid seven

      19   percent for every additional patient that they could refer, and

      20   then those people would get paid five percent, and so on, so you

      21   had this structure of a pyramid.

      22              Now, defendant called all these people in the pyramid

      23   sales representatives or sales rep, and you'll hear that term

      24   used a lot during this trial.      But make no mistake, these people

      25   were not really sales reps.     They were sales reps in name only
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       1   because almost none of them had any experience in pharmaceutical

       2   sales.    Most of these people were just Tricare beneficiaries,

       3   housewives of military members or military members themselves,

       4   and they did this.    They repped maybe a couple of people, people

       5   in their family.     They are not sales reps in the sense that we

       6   usually think about it.    They only repped one or two people, and

       7   they don't have to rep many people because the money was so

       8   good.    They could make thousands of dollars just by a wife

       9   repping her husband.

      10              Now, as I said, in all, Grow was paid about $20 million

      11   at the top of the pyramid.     That was between the months of

      12   October of 2014 and June of 2015.        In turn, he paid the sales

      13   reps below him about $8 million in that time period, and the

      14   Tricare beneficiaries further down the pyramid got paid about a

      15   million dollars and change.

      16              Now, some people may call this pyramid a multilevel

      17   marketing strategy, but make no mistake, ladies and gentlemen,

      18   Mr. Grow was not selling Mary Kay or Avon or Herbalife.           He was

      19   selling prescription drugs, compounded prescription drugs that

      20   were all paid for by Tricare, a Federal health care program.

      21              Now, the scheme that I am describing for you was run

      22   through a pharmacy up in Broward County.          Okay.    I guess it's

      23   that way -- no, that way.     It's up in Broward County, and the

      24   name of the pharmacy was Patient Care America.            The official

      25   name is Diabetic Care RX or DCRX doing business as Patient Care
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       1   America or PCA for short.    Most of the witnesses you'll hear, I

       2   think they'll use the term Patient Care America.        I will try and

       3   use PCA because it's fewer letters.

       4              Now, Patient Care America was a compounding pharmacy,

       5   and compounding pharmacies are in the business of creating

       6   specialized customized drugs for people who can't take regular

       7   retail mass-produced drugs like you get in a Walgreens or a CVS.

       8   A compounding pharmacy literally makes the drug from scratch,

       9   and there's nothing wrong with that.         Except what you're going

      10   to hear in this case is that the drugs Mr. Grow was pushing and

      11   PCA was pushing, they were not customized for individual

      12   patients with special needs.     They were customized to make

      13   money, lots and lots of money.

      14              You'll hear that the main three drugs he tried to push

      15   on every patient he could sign up was a pain cream, a scar cream

      16   and a wellness vitamin, a capsule.        They called it a wellness

      17   vitamin.    These drugs cost Tricare anywhere from 5,000 to 10,000

      18   to up to $20,000 apiece for a one-month supply, and so do the

      19   math in your head.    Patient signs up, gets a six-month

      20   prescription for all three of these drugs, and we easily get

      21   over $100,000 in no time.

      22              Now, why were these drugs so expensive?       One of the

      23   main reasons that you'll hear about is that the defendant, with

      24   help from the pharmacy, they manipulated the ingredients in

      25   these drugs to increase the reimbursement from Tricare, and I'm
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       1   just going to give you one example of that.        It's a drug called

       2   ethoxydiglycol.    Don't worry, this is not going to be chemistry

       3   class.

       4            Ethoxydiglycol is a wetting agent.        It's not an active

       5   ingredient.    There's no therapeutic value.      It's just something

       6   that you mix powders with so you can help turn it into a cream,

       7   because a lot of these products were creams, and it's very

       8   cheap.   It costs pennies to use ethoxydiglycol, and Tricare

       9   would typically pay a few dollars when a pharmacy used

      10   ethoxydiglycol.     But defendant's formulas did not use

      11   ethoxydiglycol, the regular ethoxydiglycol.         He used something

      12   called Ethoxy Gold or Gold Ethoxy.         That's not an official name

      13   by any means.     It's just a pet name that they used, he and the

      14   pharmacy.     Their pet name was Gold Ethoxy.

      15            And you can guess why that used that name.         Ethoxy Gold

      16   is just regular old ethoxy that costs pennies.         It's the cheap

      17   stuff.   Only when it's Ethoxy Gold, it's repackaged and

      18   repriced.     So the only difference when Mr. Grow sold Ethoxy Gold

      19   to the pharmacy and the pharmacy used it, the only difference

      20   was that it came in a different package and now it's wildly

      21   expensive.     It's pennies if you just buy regular ethoxy.      Now

      22   you repackage it and it costs thousands of dollars, and you're

      23   going to learn during this case that by using Ethoxy Gold and

      24   similar ingredients, Tricare paid millions and millions of

      25   dollars and got nothing out of it because it's just regular
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       1   ethoxy.   It's just repackaged and the price is jacked up.

       2             All of the manipulating of these ingredients had

       3   nothing to do with the health or welfare of any Tricare

       4   beneficiary.   It had nothing to do with the active ingredients

       5   in these drugs.   It had everything to do with greed.

       6             Now, another part of this scheme that you're going to

       7   learn about during this trial is that the defendant paid the

       8   prescribing doctors for doing telephone consultations with the

       9   patients that he signed up through kickbacks.       And no surprise,

      10   the consults involved Mr. Grow sending these telemedicine,

      11   telephone doctors preprinted prescriptions that had the drugs he

      12   was pushing on the preprinted prescription.

      13             The only choice for these doctors was sign off on the

      14   things he wanted or reject it, and what do you think happened?

      15   These doctors that he paid approved $40 million in prescriptions

      16   in eight months, for these expensive pain creams, scar creams

      17   and vitamins, who only agreed to order the drugs in the first

      18   place because they were getting paid.

      19             You're also going to see and hear evidence in this case

      20   about the ways that the defendant and the pharmacy tried to

      21   conceal all of this.    Some of them are subtle ways of

      22   concealment.   Other ways are not so subtle.     And one of those

      23   not-so-subtle ways is that they would take Wite-Out and

      24   white-out his name and his fax number off of the prescriptions,

      25   and you'll hear that they did that because they wanted to
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       1   conceal evidence of patient brokering.

       2             The reason why -- I'll digress just a little bit.       The

       3   reason why they were on there is that Mr. Grow is from Tampa.

       4   The pharmacy is in Broward.     The teledocs are all over the

       5   country and so they'd have to fax the scripts all around and so

       6   they would get his fax number on it.         They didn't want it on

       7   there.   You'll see plenty of evidence about this and hear from

       8   witnesses.

       9            Now, some additional evidence you'll hear about is that

      10   at one point Mr. Grow tried to get the telephone doctors to

      11   backdate prescriptions and the reason for that was to avoid

      12   Tricare from reversing claims after Tricare started to catch on

      13   and started to cancel some of these ingredients.        So they wanted

      14   to backdate the scripts before the time when Tricare was

      15   canceling.

      16             You'll also hear that one of Mr. Grow's biggest sales

      17   reps paid patients 500 or $1,000 to sign up.         She did that by

      18   creating something that -- she called it a patient survey.            So

      19   the idea is, hey, want $1,000 to take a survey?         Sure, I want

      20   $1,000 to take a survey.    But to do it, you have to sign up and

      21   get all these expensive drugs.      But the truth of the matter is,

      22   there was no patient survey.     It was completely bogus and it was

      23   just made up as a way to conceal the kickbacks and defendant

      24   knew all about it.    You'll see evidence of that.

      25             And eventually, in the last months of the scheme, the
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       1   pharmacy and Grow tried to conceal all of these millions of

       2   dollars in kickbacks by making it appear that the pharmacy had

       3   hired, literally hired as an employee, Grow, his sales reps and

       4   all of these Tricare beneficiaries from all over the country.

       5            The truth of the matter is these were not bona fide

       6   employees.    This was just yet another way to make it look like

       7   these kickbacks were wages for being a representative in a

       8   pharmacy.    These Tricare beneficiaries were not representative

       9   of a pharmacy.

      10            Now, that is kind of the overall scheme in a nutshell.

      11   You'll hear from witnesses and you'll see documents that show

      12   that was the scheme.    But I want to shift gears a little bit and

      13   I want to talk about the charges in this case.

      14            At the end of the trial, Judge Moreno will give you

      15   detailed written instructions for you to follow.       He'll tell you

      16   everything you need to know about these crimes, and what the

      17   Government has to prove to prove those crimes.        So I'm not going

      18   to go into that level of detail, but I think it makes sense to

      19   tell you what those different types of crimes are and what the

      20   evidence is that we will use to prove those crimes.

      21            First, as I've already said, defendant is charged with

      22   health care fraud.     And health care fraud is really -- it's the

      23   scheme to defraud Tricare, and it's everything that I've already

      24   talked about.    I'm not going to rehash it.      But it's Mr. Grow

      25   receiving kickbacks for referring the scripts.        It's Mr. Grow
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       1   paying kickbacks to the reps and to the patients in order to get

       2   them to order the scripts.     It's him and the pharmacy jacking up

       3   the price for no other reason, right, increasing the

       4   reimbursements for no other reason, and it's him paying the

       5   doctors to give him the scripts that he wants.       That's the

       6   health care fraud scheme.

       7            But second, he is also charged with kickbacks, and it's

       8   important here to note that he's charged with three different

       9   kinds of kickbacks.    And I just want to tell you the three

      10   different kinds so as you listen to the evidence, maybe you can

      11   pay attention to which kind of kickback it is.

      12            The first kickback is him, Mr. Grow, receiving $20

      13   million in kickbacks from the pharmacy, receiving kickbacks.

      14   The second type of kickback is Mr. Grow paying kickbacks to his

      15   sales reps and the Tricare beneficiaries in order to get them to

      16   refer scripts.   The last kind is Mr. Grow paying kickbacks, not

      17   for referring scripts, but just to order the scripts to begin

      18   with.   There are people who did not refer any other scripts.

      19   They just got paid for ordering themselves.       And so it's kind of

      20   subtle, but there are three different kinds of kickbacks, and

      21   we'll talk about it all at the end of the case, but I just want

      22   to give you a heads-up about that.

      23            Third, Mr. Grow is charged with two conspiracies.        We

      24   all hear that word.    It's very simple in reality.     The two

      25   conspiracies are, one, conspiracy to commit health care fraud
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       1   and, two, conspiracy to pay and receive kickbacks.            A conspiracy

       2   is just an agreement to commit a crime.            If two or more people

       3   agree to commit a crime, that's a crime in itself.            Simple as

       4   that.    And in this case, we're going to prove that Mr. Grow

       5   actually committed these crimes with other people.           So it

       6   necessarily follows that he agreed with them to commit the

       7   crimes.     That's our theory.

       8              Fourth, Mr. Grow is charged with money laundering.

       9   Money laundering is just when you conduct a financial

      10   transaction in an amount over $10,000 and you use ill-gotten

      11   gains to do so, and in this case, you'll see Mr. Grow made

      12   purchases over $10,000 with this fraud money and the kickback

      13   payments.    We'll go through what all those transactions are

      14   later.

      15              Lastly, Mr. Grow is charged with misbranding drugs, and

      16   that's an odd term, even for a lawyer.            But what it really means

      17   is that if a prescription for a drug is invalid, if the

      18   prescription is invalid, then dispensing a drug based on that

      19   invalid prescription is a crime, and so that's what we're

      20   alleging in this case.     There was no real doctor/patient

      21   relationship in these five-minute telephone calls between

      22   patients and doctors.    So if that's invalid, dispensing these is

      23   illegal.

      24              So those are the different types of crimes you're going

      25   to hear about during this trial.        That's what the scheme is
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       1   about.

       2              And so lastly, I want to just briefly let you know who

       3   you're going to hear from in this trial, what types of evidence

       4   you're going to hear.    There's probably going to be 20 witnesses

       5   that the Government calls, and half of those witnesses are these

       6   Tricare beneficiaries.    And frankly, they're going to speak for

       7   themselves.     So I'm not going to tell you what each of them is

       8   going to say.    You'll hear for yourself.

       9              But there's two themes that I do want to point out.

      10   One is that each of these people will tell you that they didn't

      11   need these drugs.    They did not need these drugs.      These are not

      12   wounded warriors.    These people don't have terrible ailments or

      13   injures.    They're not trying to get off opioids.      They'll tell

      14   you they ordered these drugs because there was something in it

      15   for them, either for them personally or for somebody near to

      16   them.    That's the only reason.

      17              Then they're also going to tell you about their

      18   experiences with the telemedicine doctor.         Keep in mind, these

      19   people have Tricare.     They can go to a doctor.      They even have

      20   telemedicine services they can use if they want.        But instead,

      21   because that was the scheme that Mr. Grow set up, they had to

      22   have a call with a telemedicine doctor; and they will tell you,

      23   a five-minute call, hardly asked any questions, basically,

      24   rubber stamped what Mr. Grow wanted and what he was paying for.

      25              You're also going to hear, as Mr. Larsen indicated,
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       1   you're going to hear from some of his sales reps, and they're

       2   going to tell you that they were involved in this scheme against

       3   Tricare with Mr. Grow.     They're going to tell you they've pled

       4   guilty and they admit it and what they'll tell you from the

       5   stand is how they got involved in this, what Mr. Grow said to

       6   them, how he instructed them the system would work, how to

       7   recruit Tricare people, how to conceal the kickbacks, all of

       8   these things.   And again, they'll speak for themselves, but

       9   those are the sorts of things they're going to tell you.

      10             You're also going to hear from a couple of people who

      11   worked at Patient Care America, PCA, the pharmacy, and they're

      12   going to tell you how the pharmacy worked on the inside.

      13   They're going to tell you about all the interactions they had

      14   with Mr. Grow, about how he sold the ingredients to jack up the

      15   price, to jack up the money from Tricare.            They're going to tell

      16   you about the whiting out of the scripts.            They are going to

      17   tell you about the constant flow of complaints from patients,

      18   and what's important about this is that those complaints went

      19   back to Mr. Grow.

      20             These people in the pharmacy will tell you they passed

      21   on information from these patients that were saying, I've never

      22   even spoken to a doctor.    Why are you sending me all these

      23   drugs?   I don't want to pay the copay.           I was told it was free.

      24   Because, of course, you don't even want to pay a $20 copay if

      25   you don't need it.    So those are the sorts of things that these
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       1   pharmacy employees will tell you.

       2              You're going to hear from a financial analyst who takes

       3   the bank records in this case and summarizes them and makes them

       4   easy to digest.    You're going to hear from an agent who

       5   summarized the Tricare records.        We have all of the billing data

       6   from this pharmacy.     We sorted out Mr. Grow's patients.         We

       7   added it all up.     And you'll see the $48 million billed in eight

       8   months, $40 million paid, and the bank records show 20 million

       9   goes to Mr. Grow.

      10              You're also going to see, somewhat unfortunately, a

      11   bunch of emails.    And that's good and bad.         As I said, Mr. Grow

      12   didn't live in Miami-Dade County.         He lived in Tampa.     The

      13   pharmacy was here.    Everybody else was spread over the country.

      14   So they emailed a lot and they texted.            And that's good and

      15   that's bad.   It's just boring to look at a bunch of emails, I'm

      16   sorry to say, but it's important and we will be looking at

      17   emails.    The good news is that they sort of speak for themselves

      18   as well.    So I just give you a little bit of warning, you're

      19   going to have to look at some emails.

      20              Now, you know what the scheme is.          You know what the

      21   crimes are that are charged.      You have some idea of the

      22   witnesses, to give you a little bit of a road map.            And now,

      23   before I sit down, I want to say just a few words about what

      24   this case is not about, what this case is not about.

      25              This case is not about whether the patients liked the
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       1   drugs or whether even the drugs worked.          I anticipate that you

       2   will hear some of these patients will say, yeah, I liked the

       3   drugs.   Some may say, I didn't like the drugs.        Some will

       4   probably say, I didn't even try the drugs, so I couldn't tell

       5   you one way or the other.    I just ordered them because I wanted

       6   the kickback or because my wife was getting paid or because I

       7   was going to fill out a study and get a thousand dollars.           But

       8   the thing is that this case is not about that.         This case is

       9   about paying the kickbacks in order to induce these people to

      10   get drugs.    Even if these are wonder drugs, you can't pay

      11   kickbacks to get people to order it.         Even if they need it, even

      12   if it's the best drug on earth, Tricare is paying the bill, and

      13   you can't pay kickbacks to encourage people to order things they

      14   don't need.

      15             Now, the last thing that I'm going to say is that we

      16   are not saying that Mr. Grow did this alone.         He most certainly

      17   did not do this alone.    He did it with many other people.

      18   You're going to hear from some of them on the witness stand.

      19   They're going to tell you they were in it with Mr. Grow.           The

      20   important point is that this is the case of United States versus

      21   Monty Grow.    At the end of the day, you're not going to be asked

      22   to decide who else was involved or who else wasn't involved.

      23             The only job that you have is to decide whether Monty

      24   Grow participated in this scheme, and at the end of the trial,

      25   after you've heard all of the evidence, we, Mr. Larsen and
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       1   myself, will come back, we will get to explain all the evidence

       2   and argue and explain to you that based on that evidence,

       3   Mr. Grow is guilty of all charges.

       4            Thank you for your time and attention.

       5            Thank you, Your Honor.

       6            THE COURT:    Thank you, Mr. Juenger.

       7            Mr. Rashbaum, you're going to make the opening.

       8            MR. RASHBAUM:     Thank you, Your Honor.

       9            Good afternoon.     My name is Dan Rashbaum.     Together

      10   with my colleagues, Jeff Marcus and Kate Meyers, we have the

      11   privilege of representing Monty Grow.

      12            Now, it's interesting what the Government didn't

      13   mention in their opening.     What they didn't mention is what this

      14   case is really about, and you'll see it in all 43 counts charged

      15   against Monty Ray Grow.     It's about intent.

      16            See, in this country, you can't be convicted of a crime

      17   by mere mistakes.     You can't be convicted of a crime unless you

      18   have the intent to make a bad act.         The judge is going to tell

      19   you that at the end of this case, and what you're going to see

      20   throughout this entire trial is, frankly, the Government has it

      21   wrong.   The Government's made some bad assumptions and, as a

      22   result, my client sits right there.         You're going to see that

      23   the Government has the burden of proof beyond any reasonable

      24   doubt to show that Mr. Grow intended to commit a crime, and they

      25   won't be able to do so.
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       1            We are going to show you in realtime what Mr. Grow's

       2   intent was in this case.    So you ask yourselves, what do I mean

       3   by realtime?   We're going to show you through Mr. Grow's emails,

       4   through his text messages, and even through some recordings,

       5   that Mr. Grow always wanted to act in accordance with the law.

       6   That was the most important thing to him.

       7            But before we get into the details of this case, I want

       8   to tell you a little bit about Monty Ray Grow.        He is 46 years

       9   old, has a seven-year-old daughter.        He grew up in the West

      10   Coast of Florida, in the Tampa area, graduated from the

      11   University of Florida -- for you Hurricanes fans, I hope you

      12   won't hold that against him -- played football there and

      13   ultimately achieved his dream of playing in the NFL where he

      14   played for two years before suffering an injury that caused him

      15   to retire early.

      16            After his career in the NFL -- and this is very

      17   important -- he worked for several marketing groups.       Those

      18   groups marketed medical equipment and guess what else?        Compound

      19   pharmaceuticals; the pain creams, the scar creams, the wellness

      20   vitamins that Mr. Juenger just told you about.       One of those

      21   companies you're going to hear about in this case is a company

      22   called InforMD.

      23            What you also must realize, and you will realize this

      24   throughout the trial, is Mr. Grow is not a pharmacist.        Mr. Grow

      25   doesn't make medicines.    Mr. Grow doesn't submit reimbursements
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       1   to any health care agency.     He's a salesperson.         He's a

       2   marketer.

       3             Well, what Mr. Grow learned after working at InforMD is

       4   that he thought he could go on his own and, frankly, make more

       5   money.   And so what he did, ladies and gentlemen, is he

       6   basically took InforMD's entire program, which was a multi-level

       7   marketing program, and he converted it to his own company,

       8   MGTEN.   MG meaning Monty Grow.      10 was his football number.       And

       9   what you're going to learn, ladies and gentlemen, is he had a

      10   lot of confidence in the program, in part because InforMD was a

      11   large company.    InforMD, you'll see, had a lot of lawyers, and

      12   so he believed that his program was in accordance with the law.

      13             And so what did Mr. Grow set up?           He didn't set up a

      14   pyramid scheme.    He set up a multi-level marketing company,

      15   similar to Mary Kay, similar to Amway.            And what does that mean?

      16   Well, what it means is it all started with three reps or

      17   marketers.   Frankly, three of his friends, and they were told to

      18   go find people who might be interested in these products, these

      19   creams or medicines.    By the way, nothing wrong with that.         You

      20   will see nowhere in the judge's instructions that there's

      21   anything wrong with marketing creams or medicines.

      22   Pharmaceutical reps do it all the time in our doctors' offices.

      23            So Mr. Grow's company set up with these three reps and

      24   the three reps found patients and some of those patients became

      25   reps themselves and some of those reps found other patients who
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       1   became reps.    And what ultimately happened was yet a network of

       2   over 100 reps and over 650 patients.

       3            Now, the Government comes up here and they say they're

       4   going to show you a couple of these patients and a couple of

       5   these reps who didn't receive phone calls from doctors or who

       6   didn't want the products.     We are going to show you some

       7   patients and reps as well.     They're pointing out, you'll see,

       8   the outliers.    There were mistakes that were made, but overall,

       9   it was a multi-level marketing company that started with three

      10   and grew.

      11            And what else did Mr. Grow do?           He teamed up with a

      12   legitimate pharmacy that was active in all 50 states.           He teamed

      13   up with a pharmacy that did more than just compound

      14   pharmaceuticals, a pharmacy that you're going to learn had both

      15   internal and external lawyers involved.           That gave him comfort,

      16   more comfort that everything he was doing was okay, and what

      17   you're going to see is that as a result of this venture,

      18   Mr. Grow got paid commissions.       I'm just going to try to -- and

      19   that his marketers also got paid commissions.

      20               Now, what you're not going to see in this case is your

      21   typical kickback case.    You're typical kickback case is where a

      22   doctor gets paid for a prescription.          You're not going to see

      23   that in this case.    See, the Government wants to make this case

      24   by saying commissions are kickbacks, but they simply aren't.

      25   What you're going to see is that Mr. Grow had one rule:           The
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       1   patients must need the product.         And what you are also going to

       2   see is that the doctors had independent judgment in whether to

       3   provide the medicines to patients or not.

       4            You're going to see that Mr. Grow teamed up with a

       5   telemedicine company.    The telemedicine company Mr. Grow paid a

       6   flat fee to for prepaid consults.          That's very important.

       7   Mr. Grow didn't pay the telemedicine company for when they wrote

       8   prescriptions out.    No.   What he did is he prepaid in bulk

       9   before the calls to the patients were even made.         So, for

      10   instance, if it was $90 a consult, he would prepay $900, and

      11   that would cover the telemedicine company for a hundred consults

      12   whether they made the prescription or didn't make the

      13   prescription.    And why did he do that that way?       Precisely to

      14   make sure it wasn't a kickback.         And what you're going to see in

      15   the case is that the telemedicine company sometimes didn't write

      16   prescriptions.   They sometimes realized that the patient didn't

      17   need the product.    You'll see that in this case, ladies and

      18   gentlemen.

      19            Now, the Government comes up here and they say that

      20   Mr. Grow targeted Tricare.      Well, again, they're only telling

      21   you part of the story.      You're going to see the whole story in

      22   trial.   The reality is that when the events of this case took

      23   place in 2014 and 2015, other insurances were not covering

      24   compound pharmaceuticals, were not covering these creams.           And

      25   so Mr. Grow and his sales reps reached out to the insurance
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       1   company and the people that were insured by Tricare because they

       2   were covering these compound treatments.

       3               The best way to compare it is, if I'm a car salesman,

       4   I'm not going to target people who don't have driver's licenses.

       5   Mr. Grow and his marketers knew that if you didn't have an

       6   insurance that would pay for these creams, they couldn't get any

       7   creams.     So they reached out to people who were covered under

       8   Tricare, which in this case is military members.

       9              Now, ladies and gentlemen, we don't walk away from a

      10   very important fact in this case, and that is that Mr. Grow was

      11   in this business to make money.        And he made a lot of money.

      12   But understand, Mr. Grow didn't set the reimbursement rate for

      13   these medicines.    Tricare did.     Understand that Mr. Grow didn't

      14   decide whether the patients needed these medicines.       The doctor

      15   did.   Understand that Mr. Grow didn't submit one claim to

      16   Tricare.    The pharmacy did.

      17              Now, we don't run away from the fact that Mr. Grow made

      18   a lot of money.    We'll tell you that after paying commissions

      19   out, in less than a year he made a little over $10 million.

      20   It's a lot of money.    The Government is going to try to distract

      21   you with that fact.     They're going to show you pictures of his

      22   house.     They're going to show you his nice car.     They're going

      23   to show you some jet skis that he bought, and what they're

      24   trying to do is get your eye off the ball.

      25              The reality is that in this country, making money is
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       1   not a crime, and the reality is, as you'll learn in this case,

       2   Mr. Grow was pretty wealthy before he even got into this

       3   business.    His goal was to make money, but his goal was to make

       4   money within the confines of the law.             He always wanted to be

       5   within the law.    That was his intent.

       6            But we're not going to ask you to take my word for it.

       7   You're going to see through those realtime messages, those

       8   emails, those text messages, those recordings, behavior by

       9   Mr. Grow completely inconsistent with someone who's trying to

      10   commit a crime, with someone who was trying to defraud the

      11   Government.    I'll go through some of them now so you can keep an

      12   eye out in the trial.

      13               You're going to see emails between Monty Grow -- and

      14   text messages showing that the pharmacy and the telemedicine

      15   company were lawyered up.     You're going to see emails that the

      16   telemedicine company, for instance, said, we can't operate in

      17   certain states because telemedicine isn't legal in those states.

      18   It gave Mr. Grow some confidence in that telemedicine company.

      19   You're going to see that the company, the pharmacy, PCA, was

      20   strict on compliance, and you're going to see that whenever they

      21   told him he needed to do something to be in compliance with the

      22   law, he didn't fight it.    He did it.

      23               The Government brings up white-out.          White-out is going

      24   to be a big part of this trial, apparently.            It shows Mr. Grow's

      25   good intent.    See, the Government makes a bad assumption with
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       1   regard to white-out.    What you're going to see on the white-out

       2   is emails between the pharmacy and Mr. Grow where the pharmacy

       3   said, we can no longer get the prescription straight from you,

       4   Monty Grow.    The prescriptions need to come directly from the

       5   doctor at the telemedicine company, and so what does Mr. Grow

       6   do?   He whites out his number.     The pharmacy and Mr. Grow set up

       7   an efax, so that the telemedicine company can send a

       8   prescription straight to the pharmacy.            The pharmacy alerts into

       9   a problem, they fix it.    You're going to see that the pharmacy

      10   at one point in time says, you can't use stamp signatures for

      11   the doctors.    So what does Mr. Grow do?          He goes to the

      12   telemedicine company and tells them the doctors can't use these

      13   stamps anymore.

      14              You're going to see that the pharmacy on numerous

      15   occasions says, we can't reach the patients to confirm that they

      16   need the medicine, to confirm their address.            What is Monty

      17   Grow's reaction?    And you don't have to take their witnesses'

      18   word for it.    I'm going to show you in emails Monty Grow's

      19   response is, cancel the prescription.            If you can't reach the

      20   patient, cancel it.    You're going to see emails from patients

      21   who complain because they're not approved for the medicine.

      22   What is Monty Grow's reaction to those patients?            If the doctor

      23   doesn't approve it, you can't get it.            The doctor is independent

      24   from me.

      25              You're going to see that one of his marketers wants to
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       1   be paid off the books.     This is going to be a Government

       2   witness.    She wants to be paid off the books for marketing.       And

       3   what does Monty Grow say?     He says, hell no, you're not going to

       4   be paid off the books.    In fact, you're going to see that every

       5   single time he signs up a marketer, the first thing he does is

       6   he gives that marketer a tax form.         And you know what, ladies

       7   and gentlemen?    The $10 million that they keep talking about,

       8   guess what Monty Grow's biggest payment was of those $10

       9   million?   Not for cars, not for houses, but to the IRS where he

      10   paid nearly $5 million.     Not hiding what he made because he

      11   didn't think he was doing anything wrong.

      12              You're going to see a marketer, one of their witnesses,

      13   come up here, and whether she denies it or not, you're going to

      14   see it in a text message.     And she's going to say, I have this

      15   physician assistant.     He can get us a lot of patients, but we

      16   have to pay him for those patients.         And what does Monty Grow

      17   say?   No, we don't pay for patients.

      18              Now, they talk about these surveys.        You're going to

      19   see the surveys had absolutely nothing to do with Monty Grow,

      20   and that when he found out about them, he ordered it to be

      21   stopped.

      22              You're going to see that marketers wanted to give

      23   creams to minors.    He says no.     You're going to see that

      24   marketers wanted to give creams to people who are active duty,

      25   but out of the country.     He says no.       All of these things are
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       1   not actions of someone trying to commit a fraud.

       2            You're going to see -- they call it a cover-up -- that

       3   the pharmacy about four months into this program figures out

       4   that they've been doing it wrong, that Monty Grow and his sales

       5   reps have been 1099 employees, but they really need to be W-2

       6   employees.   And you're going to see that they learned that from

       7   their lawyers and they contact Monty Grow and they tell him

       8   about this problem.    And you're going to see in realtime his

       9   reaction, which is nausea.     He says, I'm nauseous.      Why?

      10   Because he thinks it's being done the right way.        And you're

      11   going to hear that he wanted to stop the program immediately or

      12   switch over to that W-2, that he didn't fight it, and that

      13   ultimately all of his marketers and himself are switched over to

      14   W-2.

      15            There's going to be more examples, ladies and

      16   gentlemen.   Those are just some.

      17            In this case, you are going to see that Monty Grow is

      18   someone who follows the rules.       He's someone that wants to make

      19   money, but he wants to make money while following the law.

      20            Now, the Government gets to go first.        They have the

      21   burden of proof.   And they're going to put on witnesses up here.

      22   Maybe they'll tell the truth, maybe they won't.        And the defense

      23   is not required to put on any case whatsoever because the burden

      24   of proof falls squarely with the U.S. Government.        But I ask

      25   you, I beg you, please, be patient.         Keep an open mind.    And I
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       1   tell you this as well:    We will be putting on a case.     You will

       2   hear from Monty Grow.     He doesn't have to testify, but he will

       3   testify before you because he has nothing to hide.       And I'm

       4   confident at the end of the case, you will find the only just

       5   verdict, and that's a just verdict of not guilty on all 43

       6   counts.

       7              Thank you, ladies and gentlemen.

       8              THE COURT:   Thank you, Mr. Rashbaum.

       9              Ladies and gentlemen, the Court has admitted without

      10   objection Government's Exhibits 17-A through F, 18, 36, 51, 54,

      11   56, 60, 68, 70, 80, 81, 82, 93, 96, 99, 101, 102, 103, 111, 113,

      12   114, 129, 130, 131, 133, 134, 138, 139, 154, 157, 173.        You'll

      13   have all of these exhibits, not only throughout the trial, but

      14   at the end.

      15               The Court has overruled the defendant's -- these were

      16   admitted without objection.     The Court has overruled the

      17   defendant's objections to the following exhibits, finding that

      18   Federal Rule of Evidence 801(d)(2) means that they're not

      19   hearsay, and I've admitted over the defendant's objections

      20   Exhibits 104, 106, 107, 108, 109, 115, 116, 117, 118, 120, 122.

      21              I'm reserving ruling on proposed exhibits based upon

      22   our discussions both today and last Friday.        So write it down,

      23   folks.    These are the ones I'm reserving on, and you all talk

      24   about it as lawyers later; 23, 48, 53, 59, 95, 97, 121, 149 and

      25   176.     They're not admitted until I decide outside of the
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       1   presence of the jury.

       2              Who's your first witness?

       3              MR. LARSEN:    Your Honor, the Government calls Ginger

       4   Ellen Lay.

       5              THE COURT:    Okay.    Right over here, please, on your

       6   right, my left.

       7              Raise your right hand, please.

       8           GINGER ELLEN LAY, GOVERNMENT'S WITNESS, SWORN.

       9              THE COURT:     Okay.   Have a seat, and when you're

      10   comfortable, tell us your name, please.

      11              MR. LARSEN:    Your Honor, may I use the lectern closest

      12   to the witness -- the ELMO?

      13              THE COURT:    The ELMO, you mean?

      14              MR. LARSEN:    The ELMO.

      15              THE COURT:    You're going to be there all the time?

      16              MR. LARSEN:    I expect I'll be there most of the time.

      17               THE COURT:    Okay.   Then you have to -- your voice has

      18   to carry.    Use the microphone.

      19              What is your name, please?

      20              THE WITNESS:    Ginger Ellen Lay.

      21              THE COURT:    You don't want to start at the lectern?

      22              MR. LARSEN:    I can start for a few minutes at the

      23   lectern.

      24              THE COURT:    Whatever you want.     See, she's going to

      25   turn around and look at you, and look at me, which I don't have
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       1   any problems with.     But you all may want to.

       2                              DIRECT EXAMINATION

       3   BY MR. LARSEN:

       4   Q.     Good afternoon, Ms. Lay.    Where do you live, city and state

       5   only, please?

       6   A.     Acworth, Georgia.

       7   Q.     And how far did you go in school?

       8   A.     I dropped out of high school in the 10th grade and got my

       9   GED.

      10   Q.     Do you know why you were called to testify in court here

      11   today?

      12   A.     Yes.

      13   Q.     Why are you testifying here today?

      14   A.     Because of a criminal act I committed, a crime I committed.

      15   Q.     What crime did you commit?

      16   A.     Health care fraud.

      17   Q.     Did you commit the crime just alone or with anyone else?

      18   A.     With Monty Grow.

      19   Q.     And this crime that you committed with Monty Grow, what type

      20   of crime was it?     What did it involve?

      21   A.     It involved getting patients for compounding medications,

      22   Tricare beneficiaries.

      23   Q.     Tricare.   Do you know what the Tricare program is?

      24   A.     It's health insurance for the military.

      25   Q.     Sorry?
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       1   A.   It's a health insurance plan for the military.

       2   Q.   Okay.   Now, briefly describe for jury what your role in this

       3   scheme that you committed with Mr. Grow was.      What were you

       4   doing?

       5   A.   To find Tricare patients, to give, to sell them, to market

       6   them the compounding prescriptions, to fill out the preprinted

       7   prescription pads that Monty sent me to send it into the

       8   telemedicine company that Monty set up and to get it to the

       9   pharmacy.

      10   Q.   Did the Tricare patients that you found, did they need these

      11   medications?

      12   A.   No, they did not.

      13   Q.   Now, if these Tricare beneficiaries or folks that you were

      14   identifying and referring over to Mr. Grow didn't need the

      15   products, how did you convince them to sign up?

      16   A.   Well, initially I was reaching out to individuals that I

      17   knew and then later on started doing a survey.

      18   Q.   Okay.   Let's start with, what did you do with reaching out

      19   to individuals you knew.    How did you do that?

      20   A.   By people that I knew that may have known individuals that

      21   were in the military.

      22   Q.   What would you tell them?

      23   A.   That there was compounding products that they could qualify

      24   for because they had Tricare; a pain, a scar and metabolic

      25   vitamin.
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       1   Q.   Okay.   And you said a second part of what you did to find

       2   these beneficiaries, these Tricare people, what did you do with

       3   that group of people?

       4   A.   They were enroll into a Patient Assessment Survey and they

       5   would be compensated after they tried the product for 30 days

       6   and did the survey.

       7   Q.   Compensated, paid?

       8   A.   Yes.

       9   Q.   For doing the survey?

      10   A.   For doing the survey and receiving the product.

      11   Q.   Okay.   Who came up with the idea to do a survey and pay

      12   patients for a survey?

      13   A.   I came up with the idea.    I got the survey information off

      14   line from another company, and I spoke with Mr. Grow about that.

      15   Q.   And what was in it for you?      As far as every patient that

      16   you would identify or send to Mr. Grow, was there some money

      17   involved for you?

      18   A.   Yes, I was paid a commission.

      19   Q.   A commission?    And how much were you paid by Mr. Grow for

      20   each referral?

      21   A.   I was paid 40 percent of the cost of the product, minus cost

      22   of goods and he would cover the cost of telemedicine.

      23   Q.   Now, were these expensive medications?

      24   A.   Yes.

      25   Q.   What do you mean by -- when I say expensive, how expensive
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       1   were they?

       2   A.   Monty told me that the scar cream paid out around 15 to

       3   17,000; the pain cream paid out around 8,000, and metabolic

       4   vitamin paid around 6,000, and that he also was selling some

       5   type of additive to the pharmacies that would increase the

       6   amount that was paid on the product and that he was making some

       7   money off of that as well.

       8   Q.   Some money.    Did he tell you about how much?

       9   A.   A couple hundred thousand dollars a month.

      10   Q.   Just for what part, for selling the compound?

      11   A.   For selling the additive to the pharmacies.

      12   Q.   Now, these expensive medications you've just been talking

      13   about, do you know where they came from?

      14   A.   Patient Care of America [sic] or PCA.

      15   Q.   I'm sorry?

      16   A.   Or PCA.

      17   Q.   PCA, what's PCA?

      18   A.   They are a pharmacy in Florida.

      19   Q.   Now, Ms. Lay, have you pled guilty to criminal charges

      20   associated with your role in this scheme that you just been

      21   talking about?

      22   A.   Yes, I have.

      23   Q.   And what did plead guilty to?

      24   A.   Conspiracy to commit health care fraud.

      25   Q.   Did you plead guilty because you're, in fact, guilty?
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       1   A.   Yes, I am.

       2   Q.   Were these charges, this conspiracy to commit health care

       3   fraud related specifically to conduct that you engaged in with

       4   the defendant, Monty Ray Grow?

       5   A.   Yes, it was.

       6   Q.   Have you been sentenced yet in connection with your crimes?

       7   A.   No, sir.

       8   Q.   Did you enter into a written Plea Agreement with the United

       9   States?

      10   A.   Yes, sir.

      11   Q.   What do you understand that this Plea Agreement that you

      12   entered into with the United States requires you to do among

      13   other things?

      14   A.   To cooperate, to be truthful and submit documentation.

      15   Q.   Have you been cooperating with the Government since the date

      16   of your guilty plea?

      17   A.   I've been cooperating prior to my guilty plea.

      18   Q.   Prior to?

      19   A.   Prior to my guilty plea, yes, sir.

      20   Q.   So the date of your arrest or what?

      21   A.   The day I came down in the middle of the fall of 2017.

      22   Q.   Now, are you testifying in court here today because at least

      23   in part you hope to gain some additional reduction or a

      24   reduction in your ultimate sentence?

      25   A.   Yes, sir.
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       1   Q.   And who do you understand will make that ultimate decision

       2   as far as what your sentence is for the crimes you committed?

       3   A.   The judge.

       4   Q.   Are you familiar with a crime known as perjury, Ms. Lay?

       5   A.   Yes, sir.

       6   Q.   What do you understand perjury to be?

       7   A.   To not be truthful, to lie.

       8   Q.   To lie where?

       9   A.   In the court.

      10   Q.   Do you know what could happen to you if while under oath

      11   here in court today, you were to lie?

      12   A.   I could get additional charges and maybe get more time.

      13   Q.   Do you believe that?

      14   A.   Yes, sir.

      15   Q.   You testified a moment ago you hoped you would eventually

      16   get some sort of reduction for your cooperation.       If you were to

      17   lie under oath, what do you think could happen to you with

      18   respect to that?

      19   A.   I wouldn't get -- I wouldn't be able to get a reduction.

      20   Q.   I want to focus your attention to the summer of 2014.       Focus

      21   in on that time frame.      What were you doing for a living in or

      22   around middle of July of 2014?

      23   A.   I was working with a company called BioMediTech.

      24   Q.   Ms. Lay, could you please speak up just a little bit.       Get

      25   close to the microphone.     I'm having a hard time understanding.
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       1   What was the name of the company?

       2   A.   BioMediTech.

       3   Q.   And what was BioMediTech?

       4   A.   They were a marketing company that was doing compounding

       5   medication for private insurance.

       6   Q.   What was your role at BioMediTech?

       7   A.   I was supposed to find private insurance patients that were

       8   wanting to compound.

       9   Q.   How did you do that?

      10   A.   From a database of insurance customers that I used to work

      11   with in the past.

      12   Q.   A list?

      13   A.   Yes.

      14   Q.   Where did you get that list?

      15   A.   From insurance clients that I worked with in the past.

      16   Q.   So what would you do with that list?

      17   A.   I would reach out to those clients.       They knew who I was and

      18   let them know there was some products available to them that

      19   their insurance may cover and get their information from them,

      20   submit it into their BioMediTech portal, and they would handle

      21   everything from that point on.

      22   Q.   It was a telephone call, door-to-door.       How did that work?

      23   A.   Telephone call.

      24   Q.   How much were you paid, let's say, if a patient agreed they

      25   might be interested in -- you said this was for private
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       1   insurance?

       2   A.   Yes.

       3   Q.   How much were you paid if a patient agreed and their

       4   insurance paid for it?

       5   A.   I was supposed to be paid $700 per person.

       6   Q.   Okay.   And when you say you were supposed to, what do you

       7   mean by that?

       8   A.   They had some problems with financial situations, money, and

       9   so I wasn't paid on everybody.

      10   Q.   How much did you make while you were working a BioMediTech?

      11   A.   Around $2,000.

      12   Q.   How long did you work for BioMediTech?

      13   A.   A couple of months.

      14   Q.   A couple thousand dollars in a couple of months?

      15   A.   Yes.

      16   Q.   Did you work somewhere after BioMediTech?

      17   A.   I worked -- I wasn't employed then.       During that time, I was

      18   looking for some additional opportunities.

      19   Q.   Did you find one?

      20   A.   Yes.

      21   Q.   And where was that?

      22   A.   I started working with a gentleman named Eric Santos that

      23   was referred to me by Monty Grow.

      24   Q.   What did Eric Santos do?

      25   A.   He was doing compound -- when I first was connected with
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       1   him, he was doing compounding in the private insurance arena as

       2   well, and so that's how I got started with Eric Santos.

       3   Q.   You just mentioned that Mr. Grow was the person who referred

       4   you to Mr. Santos.    I guess what I haven't heard yet is, how did

       5   you first meet Mr. Grow?    Tell the jury about that.

       6   A.   So I met Monty Grow through Ken Kimble on LinkedIn.       Ken

       7   Kimble connected me with Monty through some conversations we had

       8   on LinkedIn.

       9   Q.   Who's is Ken Kimble?

      10   A.   Ken Kimble was part of a compounding pharmacy network group

      11   that was on LinkedIn.

      12   Q.   Was Mr. Grow on this network as well?

      13   A.   Not that I recall.

      14   Q.   Okay.   What was the nature of the interactions when you were

      15   introduced to Mr. Grow initially?

      16   A.   I was talking about looking for another opportunity that was

      17   similar to what I was doing with BioMediTech.

      18   Q.   And did Mr. Grow express interest in working with you?

      19   A.   Yes, he did.

      20   Q.   So Mr. Grow introduces you to Mr. Santos.      Did Mr. Santos

      21   have a company of his own?

      22   A.   Yes, he did.

      23   Q.   What was name of that company?

      24   A.   E & J Holdings and M Data RX?

      25   Q.   What did you do for E & J Holdings?
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       1   A.   When I first started with E & J Holdings, I was doing the

       2   compounding for the private insurance and then Eric hired me on

       3   to work for his company as an HR generalist to recruit

       4   pharmaceutical reps to go into doctors' offices and talk to them

       5   about compounding and injectables and he moved me to Atlanta,

       6   Georgia in January of 2015.     So I was working in Mississippi at

       7   first.

       8   Q.   You moved to Atlanta to become an HR specialist?

       9   A.   Yes, sir, a recruiter.

      10   Q.   Okay.   How long did you work for E & J Holdings?

      11   A.   When I was working HR, a couple of months; and then when I

      12   was working E & J -- when I was living in Mississippi, a couple

      13   of months.

      14   Q.   How much money did you make while you were working for Eric

      15   Santos or E & J Holdings?

      16   A.   When I was in Mississippi, less than $5,000.      When I moved

      17   to Atlanta, he offered me a salary of 35,000 a year, but I

      18   didn't work the whole year, so I didn't get the full salary.

      19   Q.   Well, you say you didn't work the whole year, were you doing

      20   something else around that time?

      21   A.   Yes, I was working with Monty.

      22   Q.   Let's talk about how this scheme that you're testifying

      23   about today developed with Monty.

      24             What's the first thing you can remember as far as

      25   discussions you had with Mr. Grow about the scheme that you pled
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       1   guilty to?

       2   A.   Monty called me one morning saying that he was praying and

       3   God told him to give me a call in regard to this opportunity.

       4   He told me about that he had been doing this for a while, and he

       5   explained that, you know, to find Tricare beneficiaries who

       6   needed compounding medications.       He told me how much he would

       7   pay me.     And during that time, I had filed -- that year I filed

       8   bankruptcy and I didn't have any money, so I thought it would be

       9   a good opportunity.

      10   Q.   When he said how much he could pay you, did he talk numbers,

      11   did he talk salary?    What did he talk about?

      12   A.   He said that he would pay me 40 percent of the cost, of what

      13   the insurance company reimbursed, minus the cost of goods and

      14   that he would cover the cost of telemedicine.

      15   Q.   Did he talk about how much money was involved though?

      16   A.   Yes.   He explained how much each prescription cost, the scar

      17   cream 15 to 17,000; the pain cream was 8,000; the metabolic

      18   vitamin was 6,000.     And so he gave me like -- if in the event

      19   the total was like 25,000, minus all the costs of goods, I would

      20   get 40 percent of that.

      21   Q.   So just so we understand, $25,000 is that for five patients,

      22   10 patients, what is it?

      23   A.   That would be for one patient in a 30-day supply.

      24   Q.   One patient, 30-day supply, $25,000, reimbursement?

      25   A.   Yes, minus the cost of goods and telemedicine.
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       1   Q.   Did Mr. Grow talk about how much money he was making doing

       2   this?

       3   A.   He said he was making really good money.        He had been doing

       4   it for a while.

       5   Q.   What did you think when you heard you could earn 40 percent

       6   of 25,000 for one patient for a 30-day period?          What did you

       7   think about that?

       8   A.   I was actually in shock and I was like okay.        You know, it

       9   seemed like a really good opportunity.          It sounded too good to

      10   be true.    It sounded like a good opportunity.

      11              MR. LARSEN:    Your Honor, may I approach to go back to

      12   the ELMO.

      13              THE COURT:    Sure.

      14   BY MR. LARSEN:

      15   Q.   So we were talking about this business arrangement.        Now did

      16   you ultimately agree to work with Mr. Grow doing this business

      17   deal that he described to you involving finding Tricare

      18   beneficiaries?

      19   A.   Yes, I did.

      20   Q.   Did you sign a contract with Mr. Grow?

      21   A.   Yes, I did.

      22   Q.   I'm going to show you what's been admitted as Government's

      23   Exhibit 138.   You'll see Page 1 of 138 is an email.        G. Lay, who

      24   is G. Lay?

      25   A.   That's me.
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       1   Q.   Okay.    Page 2 is the Consulting Agreement.           Is this the

       2   agreement that you signed with Mr. Grow?

       3   A.   Yes, it is.

       4   Q.   If you could scroll to the end.            Okay.   Med RX, Inc. what is

       5   that?

       6   A.   That's my company.

       7   Q.   If you could scroll to Page 1 without writing all over the

       8   document?

       9   A.   How do I scroll?

      10   Q.   Perhaps I'll just use the exhibit.            Can you scroll up to

      11   Page 1?

      12                MR. LARSEN:   Your Honor, may I just grab the exhibit.

      13   If we can switch over to the ELMO.              I apologize.

      14   BY MR. LARSEN:

      15   Q.   Ms. Lay, Med RX you just testified is your company, is that

      16   right?

      17   A.   Yes.

      18   Q.   Okay.    I'm going to focus your attention on this paragraph.

      19        It states, "Whereas the consultant is engaged in finance,

      20        sales, and marketing, consulting, including business and

      21        marketing plan preparation."

      22                Were you the consultant?

      23   A.   I was a sales rep.

      24   Q.   Were you at the time you entered into this agreement doing

      25   any finance, sales and marketing, consulting, business and
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       1   marketing plan preparation?     Did you have any background or do

       2   any of that?

       3   A.   No.

       4   Q.   Now, MGTEN Marketing Group, who's that?

       5   A.   Monty's company.

       6   Q.   And the contract says you will provide business development

       7   services for MGTEN Marketing Group in the area of topical

       8   compounds for pain, scar and wound treatment and other topical

       9   treatments.

      10               What kind of business development services were you

      11   performing for Mr. Grow?

      12   A.   He told me to get Tricare patients.

      13   Q.   Get Tricare patients?

      14   A.   Yes.

      15   Q.   And I think here it says, you were paid a fee equal to 40

      16   percent of the cash amounts actually adjudicated and collected,

      17   is that right?

      18   A.   Yes.

      19   Q.   I want to show you Exhibit A.        It says "Consultant wishes to

      20        use MGTEN Marketing Group's contracted telemedicine

      21        service."

      22               What is a telemedicine service?      What do you understand

      23   that to be?

      24   A.   It's a service in which the doctor does phone consultation

      25   and write a prescription if you need it.
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       1   Q.   And a payment of $110 would be deducted from the 40 percent

       2   commission owed to consultant for each physician consult.        So

       3   who did you understand was paying the $110 for the doctor?

       4   A.     Actually, it was $100 and Monty was paying the consult for

       5   the physician.

       6   Q.     I want to show you one more paragraph here.

       7              There's some language here and representations states,

       8          "The consultant represents and warrants it will not make

       9        any payments to any referral sources in order to induce any

      10        referrals for any other purpose."

      11               Did you and Mr. Grow talk about this language in the

      12   contract at any time?

      13   A.   No, we did not.

      14   Q.     Did you and Mr. Grow end up actually paying referral

      15   sources?

      16   A.     Yes, we did.

      17   Q.     Are you a referral source?

      18   A.     Yes, I would be considered a referral source.

      19   Q.     And Mr. Grow, did he pay you in order to induce referrals?

      20   A.     Yes, he did.

      21   Q.     Showing you what's been admitted as Government's Exhibit

      22   102.    It's an email from Mr. Grow to Matthew Smith.     Do you know

      23   who Matthew Smith is Ms. Lay?

      24   A.   He was a pharmacist.

      25   Q.   How do you know that?
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       1   A.   Because Monty talked about him a lot and that he was a

       2   pharmacist.

       3   Q.   A pharmacist for who?

       4   A.   Patient Care of America.

       5             And here in the email Mr. Smith says, "I do not have

       6        agreement with Ginger.    I need clarification."       And Mr. Grow

       7        says, "The agreement is with me.          She just has her own

       8        portal.     You pay me 50 percent on all her sales and I will

       9        pay her."

      10             Is that how it worked with you and Mr. Grow?

      11   A.   Yes, it did.

      12   Q.   Now, what did Mr. Grow explain to you about how -- you've

      13   agreed to this.     You've agreed to join in this scheme with

      14   Mr. Grow.

      15             What did he explain to you about how the scheme was

      16   going to work; A, B, C, D, how did it work?

      17   A.   So first it would be to get, to find Tricare beneficiaries,

      18   sign them up for compounded medications, submit the prescription

      19   to the telemedicine doctor, have it sent to the pharmacy and get

      20   paid commissions.

      21   Q.   Speak up.

      22   A.   I'm sorry.

      23   Q.   I'm standing three feet from you and I'm having trouble

      24   understanding you, Ms. Lay.

      25             THE COURT:     See, if you were farther away she'd
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       1   probably would speak louder, but that's up to you.

       2            MR. LARSEN:     I'd be back and forth.

       3             THE WITNESS:    To find Tricare patients, to sign them up

       4   for the compounded medication, to submit the prescription to the

       5   telemedicine companies he set up, and to have it sent to the

       6   pharmacy and get paid.

       7   BY MR. LARSEN:

       8   Q.   Okay.   You mentioned telemedicine companies.     How many

       9   telemedicine companies did Mr. Grow work with?

      10   A.   He work with two that I know of.

      11   Q.   What were their names?

      12   A.   1st Care Med and House Calls 24/7.

      13   Q.   Why two companies?

      14   A.   Because 1st Care Med only dealt in certain states and House

      15   Calls 24/7 only dealt with certain states.

      16   Q.   You say "dealt."    What do you mean by that?

      17   A.   They only had licenses, their doctors I think only had

      18   licenses in certain states.

      19   Q.   Okay.   Now, did there come a point in time after you got

      20   involved and signed the contract, you got involved with Mr. Grow

      21   and the scheme, where you realized something doesn't seem right,

      22   something seems a little off, something seems wrong?

      23   A.   Yeah.

      24   Q.   Tell the jury about that.     When did you first get that

      25   feeling that something was wrong?
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       1   A.   When I got my first check.      It was a check that I never made

       2   that type of money ever in my life.

       3   Q.   Let me show you what's admitted as Government's Exhibit 56.

       4   Is 56 over there?

       5              MR. LARSEN:   If we can go back.

       6   BY MR. LARSEN:

       7   Q.   So looking at Government's Exhibit 56.       You just testified

       8   about your first check.     You see the top?     It's an email,

       9   January 2, 2015, subject from the email, Monty Grow to Ginger

      10   Lay, Commission Report.

      11              So this is a two-week period here from December 13th to

      12   December 27th.   There's a total sales figure of $333,725.        What

      13   is that, Ms. Lay?

      14   A.   That's the total amount that the insurance paid.

      15   Q.   And for whose patients was that number attributable to?

      16   A.   That was for my patients, my referrals.

      17   Q.   So this is your patients?

      18   A.   My referrals, yes.

      19   Q.   How many patients was that?

      20   A.   Probably around 10, 15, give or take.

      21   Q.   10?

      22   A.   15.

      23   Q.   10 to 15?

      24              THE COURT:    Real loud, real loud.    See, don't look at

      25   him, because then you're away from the microphone.        Look at the
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       1   jury and speak right in front of the microphone that is in front

       2   of you.

       3                 THE WITNESS:   Okay.

       4                 THE COURT:   That way your voice will carry better.

       5   Thanks.

       6                 THE WITNESS:   Thank you.

       7   BY MR. LARSEN:

       8   Q.     You see the commission rate here, 40 percent.               You just

       9   testified about that.        There's a gross amount of $133,490.

      10   You'll see here expenses.       Just briefly describe those expenses.

      11   A.     The expenses were the telemedicine consults that Monty paid

      12   for.

      13   Q.     How about where there is -- Let's see.               There's 1st Care.

      14   What is that?

      15   A.     That's one of the telemedicine companies.

      16   Q.     And House Calls?

      17   A.     That's another telemedicine company.

      18   Q.     You see a list of names there.               Who are those people?

      19   A.     Those are the patients I referred to Monty.

      20   Q.     So total expenses of $5,700.          Was that related to the doctor

      21   visits or the doctor consults?

      22   A.     Yes.

      23   Q.     And so a net payment, $127,790, that was your first paycheck

      24   for two weeks working for Mr. Grow?

      25   A.     Yes.
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       1   Q.   Okay.     So you just stated that that was the first time you

       2   realized that something was off.        What about this amount of

       3   money made you feel like something was wrong?

       4   A.   I never seen that type of money in my life.

       5   Q.   Okay.     Just the amount of money or anything else?

       6                The amount of money; Monty told me as far as the

       7   prescriptions to white-out the fax numbers at the top, so that

       8   it would look as though the prescription was coming from the

       9   doctor to the pharmacy, instead of me.

      10   Q.   Okay.     Ms. Lay, before we go talk about whiting out

      11   prescriptions, I want to make sure you understand my question.

      12   The amount of the money, what did you do to make $127,790 in two

      13   weeks?

      14   A.   Find Tricare patients and refer them to Monty.

      15   Q.   How many hours did you work to earn that amount of money?

      16   A.   10, 15, 20 hours.

      17   Q.   Total?

      18   A.   Yes.

      19   Q.   Okay.     Now, the Indictment alleges that you received this

      20   payment from Mr. Grow, and this payment from Mr. Grow you just

      21   testified to was for what?

      22   A.   For referring Tricare beneficiaries.

      23   Q.   Okay.    Government's Exhibit 100, please.

      24                Now, before we start talking about this exhibit,

      25   Ms. Lay, you had mentioned the first thing that made you feel
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       1   that something was terribly wrong with the scheme that you had

       2   joined into was the pay, and I cut you off.        You started to talk

       3   about something related to white-out.

       4                Could you please describe what else about your

       5   participation in this scheme made you realize things were

       6   terribly wrong?

       7   A.   When I first got started, Monty told me to get a fax number

       8   to have the prescriptions faxed to me and then to white-out the

       9   fax number, my fax number, and send it to the pharmacy.        So I

      10   would white-out the fax number when the doctors faxed it to me

      11   and faxed it into the pharmacy.

      12   Q.   Why is that a problem, whiting out prescriptions?

      13   A.   Monty told me it needs to look like it came from the doctor

      14   and not me and not us.      It needs to look like it came from the

      15   doctor to the pharmacy and not me.

      16   Q.   Okay.    Why did that raise any red flags to you?

      17   A.   'Cause most times doctors are supposed to send the

      18   prescription in directly to the pharmacy.

      19   Q.   Okay.    So a large amount of money, whiting out

      20   prescriptions.      Is there anything else that occurred that made

      21   you feel that something in this scheme was wrong?

      22   A.   Changing the pain and scar creams.        When I made a mistake;

      23   told me to change the scar and pain cream when I made a mistake

      24   to a certain type.

      25   Q.   Okay.    Well, describe a little bit about that.     What are you
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       1   talking about when you say change, making changes?       Let's talk

       2   about that and let's start with looking at Government's Exhibit

       3   100.

       4                 Here is an email dated December 9, 2014 and it says,

       5           "Sample.    Ginger, here's a sample for pain, scar and

       6           vitamin.     Always use p-01 for pain and so-01 [sic] for

       7           scar."

       8                 What did you understand you were being directed to do

       9   here?

      10   A.     Monty told me that p-01 always paid, p-01, and sc-01 always

      11   paid the highest reimbursement from the insurance company and to

      12   always select those.

      13   Q.     Okay.     If we can look at Page 2 -- sorry, the paper just

      14   scratched the screen -- Page 2 of Government's Exhibit 100.

      15                 While we're waiting to pull that up, you talked about

      16   categories that made you feel uncomfortable that things were

      17   wrong; the pay, the amount, the whiting out of the

      18   prescriptions, and now I believe we're talking here about

      19   instructions that Mr. Grow gave you with respect to selecting

      20   certain formulations.

      21                 Now, what is this document that's on the screen?

      22   A.     This is a sample document that Monty emailed me as an

      23   outline, a Patient Info/Profile.

      24   Q.     You see the name of John Doe, a fictional name?

      25   A.     Yes.
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       1   Q.    What is this box right here?

       2   A.    This is explaining what the patient is suffering from and

       3   what they are requesting.

       4   Q.    Where did you get this language from?

       5   A.    It was already printed on there that Monty sent to me.

       6   Q.    What did you understand you were supposed to do with the

       7   comments?

       8   A.    To use it as a guide when filling out the Patient

       9   Info/Profile.

      10   Q.    Okay.    Let's look at the bottom.

      11                 It says, suggested/requested products.        P-01 for pain,

      12   we talked about that, 360 grams, six refills.

      13              What's that about?    360 grams.        What do you understand

      14   that to mean?

      15   A.    360 grams paid the highest insurance payment and 6 refills

      16   is that we would always get paid commissions on all the refills.

      17   Q.    What about sc-01, the same, the grams?

      18   A.    360 grams paid the highest insurance, and we would get paid

      19   on all the refills, commissions on all the refills.

      20   Q.    Let's look at the next page of Exhibit 100 and the following

      21   page.

      22              Okay.    What is this document, Ms. Lay?

      23   A.    This is a preprinted prescription form that Monty sent to

      24   me.

      25   Q.    Okay.    You'll see here Tricare.         The name John Doe and p-01.
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       1   Do you know what loperamide 5 percent is?

       2   A.     No.

       3   Q.     Why were you told to pick p-01?

       4   A.     Because it paid the highest reimbursement and highest

       5   commission.

       6   Q.     What about sc-01 here?    Do you know about that specific scar

       7   formulation?

       8   A.     No.

       9   Q.     Do you have any background in medical --

      10   A.     No.

      11   Q.     -- pharmaceuticals --

      12   A.     No.

      13   Q.     -- aside from what you previously testified to in the

      14   private insurance arena?

      15   A.     Yes.

      16   Q.     Let's look at Government's Exhibit 101.    It's an email, a

      17   Government's exhibit, it's been admitted, 101, an email from

      18   Mr. Grow to you, December 9, 2014.

      19                 "Here are your documents that need to be uploaded for

      20          each patient.    Let's go over again."

      21                 Did Mr. Grow have repeated conversations with you about

      22   what he wanted you to do with respect to each prescription?

      23   A.     We had several conversations of how to complete the forms,

      24   yes.

      25   Q.     Okay.    So I'm going to show you Government's Exhibit 17-B as
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       1   in boy.

       2               Who is James Featherston?

       3   A.   He's a Tricare referral.

       4   Q.   Is he a patient that you referred to Mr. Grow?

       5   A.   Yes.

       6   Q.   And you see the comment section here?

       7   A.   Yes.

       8   Q.   How did you know how to fill that out?

       9   A.   From the previous sample that Monty emailed me to use as a

      10   guide on how to fill it out.

      11   Q.   I should ask.   Is this your handwriting on the document?

      12   A.   Yes, it is.

      13   Q.   Okay.    Let's look at Page 2 of the document -- or excuse me,

      14   Page 3.

      15               Now, is this your handwriting, Ms. Lay, "James

      16        Featherston"?    You see "Tricare" here.

      17   A.   Yes.

      18   Q.   Now, there's a box here next to p-01 to sc-01 and

      19   combination.    Who put those boxes or those checks in those

      20   boxes?

      21   A.   I did.

      22   Q.   And I see that the prescription is blank where there would

      23   be a prescriber name.    First of all, why did you make these

      24   selections on the blank prescription?

      25   A.   Well, this is House Calls telemedicine company that Monty
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       1   had set up, and with House Calls, we were able to check off on

       2   the product, check off on the 360 grams and put the 3 refills

       3   in.    So I was following instructions that House Calls -- that he

       4   said we could do for House Calls.

       5   Q.    House Calls was one of the two companies that Mr. Grow was

       6   using?

       7   A.    Yes.

       8   Q.    Okay.    So Mr. Grow instructed you to make these selections

       9   for these formulations, correct?

      10   A.    Yes.

      11   Q.    And you said he also instructed you to have three refills?

      12   A.    Yes.

      13   Q.    What about the 360 grams?

      14   A.    Yes.

      15   Q.    What did you do with this after you had filled out this

      16   prescription like this?      What was the next step you took?

      17   A.    To scan and email it to House Calls.

      18   Q.    House Calls being the telemedicine company?

      19   A.    Yes.

      20   Q.    And then after that, what was the next step in the process?

      21   A.    House Calls would send it back to me.

      22   Q.    Okay.    Could we look at Page 2?

      23                 Page 2 you'll see -- is this a copy of the same

      24   document, Ms. Lay?

      25   A.    Yes.
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       1   Q.   Except down here, this prescriber information is signed.

       2   Can you explain to the jury what this is about?

       3   A.   So that's when the doctor would sign on the prescription and

       4   send it back to me.

       5   Q.   Sign the prescription that you had premarked according to

       6   Mr. Grow's instructions?

       7   A.   Correct.

       8   Q.   Now, you talked about pay, exorbitant pay.       You talked about

       9   making these types of selections on prescriptions at the

      10   defendant's instructions.    You've talked about or you alluded to

      11   whiting out prescriptions, and I'd like you to tell a little bit

      12   more to the jury about what specifically you recall about that.

      13   A.   Well, basically -- I'm sorry.        The prescription had to look

      14   like it came from the doctor and not me.        So when the

      15   prescription came to me, I would white it out and fax it into

      16   the pharmacy for the pharmacy to fill the prescription.

      17             MR. LARSEN:   Will you show Government's Exhibit 80?

      18   BY MR. LARSEN:

      19   Q.   This is an e-mail from -- you testified earlier that Matthew

      20   Smith was the pharmacist to Mr. Grow.

      21             It states, "Whose fax number is this?       We cannot show

      22        outside fax numbers on these prescriptions.       There is a

      23        HIPAA concern around unsecured pathways and patient

      24        brokering concerns when speaking around scripts not coming

      25        directly from the doctor."
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       1            Did you have conversations with Mr. Grow about this

       2   issue specifically?

       3   A.   He just said to -- I mean, I was staying at a Residence Inn

       4   and some of the faxes were with the Residence Inn.       So he just

       5   told me to white-out the fax numbers and make sure that it was

       6   sent to the pharmacy.    He did mention at one point that the fax

       7   would have to go to the pharmacy directly from the doctor and to

       8   change the fax number at the top of the prescription with the

       9   pharmacy fax number.

      10   Q.   Let's look at Government's Exhibit 154.     Here is an email

      11   from January of 2015 again from the pharmacist, Matthew Smith,

      12   to Monty Grow stating, "Cannot have MD to you to us trail."

      13               Is that consistent with conversations you had with

      14   Mr. Grow?

      15   A.   Yes.

      16   Q.   And did you comply with Mr. Grow's instructions and

      17   white-out prescriptions?

      18   A.   Yes.

      19   Q.   Was this over a short period of time or was this something

      20   that you did routinely?

      21   A.   It was when I first got started until Monty told me to

      22   change the fax number at the top with the pharmacy fax number.

      23   They assigned each person a fax number and to change it at the

      24   top, that it will go directly to the pharmacy.

      25   Q.   Tell us about that change, "going direct to the pharmacy."
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       1   A.   So in January, Monty told me that the pharmacy said that all

       2   prescriptions had to come directly to them from the doctor and

       3   so he assigned me -- the pharmacy gave him a fax number to give

       4   to me and to change on the prescriptions which the prescription

       5   would then go directly -- when the doctor would fax it, it would

       6   go directly to the pharmacy.

       7   Q.   From the telemedicine company?

       8   A.   Yes.

       9   Q.   So for what period of time were you whiting out

      10   prescriptions?

      11   A.   December, January.

      12   Q.   Okay.     What was another area that caused you concern about

      13   your involvement with Mr. Grow?

      14   A.   Copays.

      15   Q.   What about copays?

      16   A.   There were instances where a patient didn't want to pay a

      17   copay and so Monty told me to tell the patient that they didn't

      18   have to pay the copay, the pharmacy would send them a bill, but

      19   they wouldn't send it to collections and that they would still

      20   receive their prescriptions.

      21   Q.   Okay.     Why was that a concern?

      22   A.   Because you're supposed to pay your copay.

      23   Q.   Why was it concern of yours and Mr. Grow?

      24   A.   Because the patient, if they had a copay to pay, if they had

      25   to pay a copay, they would probably cancel and we wouldn't get
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       1   paid commissions on them.

       2   Q.   So you have talked about getting paid an exorbitant amount

       3   of money, being told how to write the prescriptions, to make the

       4   selections by Mr. Grow.     You talked about whiting out

       5   prescriptions, talked about waiving copayments now.

       6             Was there any other area that concerned you with

       7   respect to your involvement or that caused you to believe that

       8   you were, in fact, involved in committing crimes with Mr. Grow?

       9   A.   The survey.

      10   Q.   Okay.   Briefly describe the survey.

      11   A.   So the survey was a product assessment survey in which the

      12   Tricare beneficiary would try the product out for 30 days, and

      13   once they completed the survey, they would be compensated.        They

      14   would be paid.

      15   Q.   Okay.   So in a nutshell, what were you doing with the

      16   survey?

      17   A.   I wasn't using the information for anything, just basically

      18   to make more money and track your beneficiaries.

      19   Q.   Okay.   We talked about the amount of money you made.      How

      20   much money did you make over the period of time that you worked

      21   with Mr. Grow, in total?     How much did you receive from

      22   Mr. Grow?

      23   A.   6.3 million and some of it was paid to my business partner,

      24   my business partner, David Lloyd and others.

      25   Q.   And what were you getting paid to do?
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       1   A.   Refer Tricare beneficiaries.

       2   Q.     Were you getting paid to --

       3              THE COURT REPORTER:    Judge, I can't hear him.

       4              THE COURT:   You can't hear him because he doesn't have

       5   the microphone.     That's why the lectern is great.

       6   BY MR. LARSEN:

       7   Q.   Were you paid to market or advertise products for Mr. Grow?

       8   A.   Finding Tricare beneficiaries for the compounded medications

       9   products.

      10   Q.   Let's talk a little more in detail.        You talked about the

      11   pay.    Now, let's talk about the way in which you were told to

      12   prepare these prescriptions.

      13              You talked about two telemedicine companies.       Can you

      14   describe the difference in your mind as far as what directions

      15   you received for each of the companies, how to complete those

      16   prescriptions?

      17   A.     With House Calls 24/7, Monty told me to fill out the

      18   prescription part, check off on the selected product, check off

      19   360 grams and put 3 refills.      On the Patient Intake Form, where

      20   it says suggested products, that would be left blank.

      21              With 1st Care Med, I was supposed to fill out the

      22   Patient Intake Form, but at the bottom where it says suggested

      23   products, put p-01 for pain; 360 grams, 6 refills; sc-01 for

      24   scar, 6 refills; metabolic vitamin, 6 refills.

      25   Q.     So for 1st Care -- excuse me, for the 24/7 House Calls, you
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       1   made all the selections and just sent it waiting for a signature

       2   from the doctor; is that right?

       3   A.   Yes.

       4   Q.   With respect to 1st Care MD, everything was the same except

       5   the selections weren't made, it was just the suggestions; the

       6   same products, however, were recommended?

       7   A.   Yes.

       8   Q.   I am going to show you Government's Exhibit 109, email from

       9   Monty Grow to housecalls24/7@mdofficemails.com.       What's that

      10   24/7, House Calls 24/7?

      11   A.   That's one of the telemedicines that Monty used.

      12   Q.   You'll see two scripts.    Can we look at Page 2?    Do you know

      13   who Dana Lennen is, Ms. Lay?

      14   A.   No.    She is not -- no, she's not one mine.

      15   Q.   Do you see the comment section here, does that look familiar

      16   to you?

      17   A.   Yes.

      18   Q.   How is it familiar?

      19   A.   Because that was the guide that I would have used when I

      20   wrote out my Patient Info/Profile.

      21   Q.   And the guide you said you used, where did you get that

      22   from?

      23   A.   Monty Grow.   He mailed me a sample.

      24   Q.   If you look at Page 4.    Here you'll see the same patient,

      25   Dana Lennen, and you'll see that p-01 is prechecked, the sc-01
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       1   is prechecked and the combination is prechecked, 3 refills, 360

       2   grams and there's a blank spot for the prescriber.          Does this

       3   look familiar to you?

       4   A.   Yes.

       5   Q.   You'll see MG in the top right-hand corner, do you know what

       6   that is?

       7   A.   That's Monty Grow's initials.

       8   Q.   When you say it's familiar, why is it familiar to you?

       9   A.   Because it was the same -- I would have followed the same

      10   guide on my own referrals.

      11                MR. LARSEN:   Okay.   Could you pull up Exhibit 116.

      12               We can go to the ELMO.       It will probably go faster for

      13   these, please.

      14   BY MR. LARSEN:

      15   Q.   Ms. Lay, have you seen this document, Government 116,

      16   before?      It says, "Please find script attached?"

      17   A.   Yes.

      18   Q.   When did you see it?

      19   A.   Yesterday.

      20   Q.   Where were you yesterday?

      21   A.   Here in Florida.

      22   Q.   Okay.    How about Government's Exhibit 117, email from Monty

      23   Grow for patient Eleanor Alley?          Did you see this before?

      24   A.   Yes.

      25   Q.   Are these consistent with directions Mr. Grow gave to you
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       1   with respect to how to fill out these prescriptions?

       2   A.   Can I see the second page?

       3               THE COURT:   I'm sorry.    I couldn't hear what you said.

       4                THE WITNESS:   Can I see the second page?

       5               THE COURT:   Okay.   Don't look at him, just look at the

       6   microphone.

       7   BY MR. LARSEN:

       8   Q.   Again, the prechecked, no signature, 3 refills, 360 grams,

       9   Tricare?

      10   A.   Yes.

      11   Q.   And the same with the Government's Exhibit 116; prechecked,

      12   3 refills, 360 grams, Tricare?

      13   A.   Yes.

      14   Q.   Okay.    Now, these prescriptions that you sent into either

      15   1st Care MD or House Calls 24/7, how often did they come back

      16   denied by the doctor or in a way that wasn't suggested by you as

      17   you sent it to them?

      18   A.   The majority of them were approved.        Rarely there was any

      19   that was rejected.

      20   Q.   Well, what would happen on the occasion that the p-01, the

      21   sc-01, we'll just call it the pain, the most expensive pain

      22   cream, the most expensive scar cream and the multivitamin,

      23   weren't selected, were not approved by a doctor?         Do you recall

      24   incidents when that happened?

      25   A.   Yes.
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       1   Q.     What, if anything, would happen in those incidents?

       2   A.     Well, Monty would get upset and get it changed so that it

       3   would reflect the p-01 or the sc-01 and make sure that they were

       4   sent in correctly.

       5   Q.   Well, let me ask this:    When you started, when Mr. Grow was

       6   explaining to you how to fill out these forms, was there ever a

       7   question raised by you, say if the patient didn't have one of

       8   those items, what you were supposed to do?

       9   A.     Yes.   There was a conversation me and Monty had in regard to

      10   a patient not having any scars and I said, what if they don't

      11   have a scar?     He said, everybody has scars.   They may have a

      12   scar from childhood but that everybody has scars, so always

      13   choose a scar cream.

      14   Q.     So you understood it to be important to Mr. Grow that on

      15   every prescription sc-01, the scar cream 01, be selected?

      16   A.     Yes.

      17   Q.     And in incidents when sc-01 was not selected, what, if

      18   anything, do you recall happening?

      19   A.   So if I accidentally checked off on a scar cream that wasn't

      20   sc-01, let's say I checked off on sc-02, he would get it changed

      21   and get it sent into the pharmacy.

      22   Q.   Let me show you what's been admitted as Government's Exhibit

      23   118.    It's an email from Monty Grow to Christopher O'Hara.

      24   Who's Christopher O'Hara?

      25   A.     He works with 1st Care MD.
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       1   Q.   And there's an inbound fax that says militaryRX@medRXsales.

       2   What's that?

       3   A.   That's one of my company's email addresses.

       4   Q.   Okay.    An email from Mr. Grow states:

       5               "Chris, these two patients were sent back to Ginger.

       6        One you can't read and the other was not checked off for 360

       7        grams and refills.    Both patients also wanted the metabolic

       8        vitamin and Ginger forgot to put it on the form."

       9                I'm going to show you pages -- I'm going to show you

      10   here the prescription.     Shayvonne Sanders, do you recognize that

      11   name?

      12   A.   That was a patient I referred to Monty.

      13   Q.   And here, you see p-01 was selected, sc-01 was selected, but

      14   the multivitamin was missing and the doctor looks like had

      15   already signed the prescription.

      16                Now, you'll see 360 grams was missing and so were the

      17   refills.

      18   A.   Yes.

      19   Q.   Can you tell by looking at this prescription, what company

      20   it was and we saw it was Chris O'Hara.

      21   A.   Yes, that was 1st Care Med.

      22   Q.   So based on your recollection and your interactions with

      23   Mr. Grow, what does Mr. Grow want to happen here?

      24   A.   He's wanting the prescription to be done, the Patient Intake

      25   Form to be done over and that the metabolic vitamin be added to
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       1   the prescription as well as 360 grams.

       2   Q.   So Mr. Grow is telling the owner of the telemedicine company

       3   to make these changes to the prescription that was already

       4   signed?

       5   A.   Yes.

       6   Q.   Let me show you Government's Exhibit 54.       Again, Christopher

       7   O'Hara.     Monty Grow states:

       8               "Chris, this is another one that was marked sc-02 and

       9        should have been sc-01.      Can we get corrected?"

      10               Why sc-01 over sc-02?

      11   A.   Because sc-01 paid the highest reimbursement and the most

      12   commissions.

      13   Q.   Chris states:   "Can't we delete that from the form to

      14        eliminate the confusion," and Mr. Grow says, "Yes, I will

      15        see about having them do that."

      16               So again --

      17               THE COURT:    Well, when you say "again," are you going

      18   to lead the witness?      You've been doing that a lot, and I'm

      19   going to sustain my own objection soon.         So who, what, when,

      20   where, how, why, will be perfectly legitimate.         I allow some

      21   background, but eventually, she's going to have to do that on

      22   her own.

      23               So, of course, you can read the email, if you want, and

      24   then you can say, what did you all talk about?         What was that

      25   all about?
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       1               MR. LARSEN:   Yes, Your Honor.

       2   BY MR. LARSEN:

       3   Q.   Showing you Government's Exhibit 113.     It's been admitted.

       4   It's an email from Monty Grow to Chris O'Hara.       Monty Grow

       5   states:

       6               "Chris, these patients on the new Med RX portal need

       7        fix.    Doctor wrote for sc-02 instead of sc-01."

       8               Do you know what's being talked about here, Ms. Lay?

       9   A.   That the prescription is changed to an sc-01 because it paid

      10   out the highest commission.

      11   Q.   Looking at Page 2, is this your patient, Ms. Griffin?

      12   A.   Yes, it is.

      13   Q.   And did you fill out, "patient has pain in shoulder, has

      14        scarring, would like metabolic vitamin"?

      15   A.   Yes.

      16   Q.   And down here, this is your handwriting as well?

      17   A.   Yes.

      18   Q.   And what did you suggest for the scar cream?

      19   A.   sc-01, 360 grams, 6 refills.

      20   Q.   And why did you make those selections?

      21   A.   Because Monty told me because they also pay the highest

      22   commission.

      23   Q.   And on the actual prescription it looks to be that sc-02 was

      24   marked and the doctor signed the prescription.       Do you recall

      25   incidents like that?
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       1   A.   Yes.

       2   Q.   Showing you Government's Exhibit 96.      Sorry, not 96.   Okay.

       3   Earlier, Ms. Lay, you talked about in the context of waiving

       4   copayments, you mentioned the name of a patient.       Do you

       5   remember the name of that patient?

       6   A.   I believe it was Philip Snodgrass.

       7   Q.   What do you recall specifically about Mr. Snodgrass?

       8   A.   That Mr. Snodgrass was required to pay a $51 copay and he

       9   didn't want to pay it and so Monty told me to let him know that

      10   he didn't have to pay it, that the pharmacy wouldn't collect.

      11   He would get a bill, and they wouldn't send it to collections.

      12   Q.   I'm going to show you Government's Exhibit 51.      Philip

      13   Snodgrass was one of your patients?

      14   A.   Yes.

      15   Q.   "He was told that he wouldn't have to pay anything for his

      16        meds.    When he was told of the copay, he refused the meds.

      17        I told him that I would look further into this matter and

      18        call him back.    I'm not sure if you wanted to reach out to

      19        Ginger Lay, Med RX, to see if they wanted to cover the

      20        cost."

      21               And at the time top, it says, "Please let me know if

      22        you or Ginger will follow-up with this patient"?

      23               Do you remember a conversation with Mr. Grow or any

      24   communication with Mr. Grow about Philip Snodgrass and his

      25   copayments?
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       1   A.   Monty let me know that we had a problem with Philip

       2   Snodgrass, that he didn't want to pay his copay, and he told

       3   me -- that's when he told me to tell him that he wouldn't have

       4   to pay it.     The pharmacy would bill him and that he could

       5   receive his medications; and so reach out to Mr. Snodgrass, let

       6   him know that and, you know, let him know that he could get his

       7   medication.

       8   Q.   I'm going to show you -- before I show you, why was it so

       9   important that Mr. Snodgrass not cancel his medication?

      10   A.   Because if he would have canceled, we wouldn't have been

      11   able to get paid our commissions.

      12   Q.   Showing you Government's Exhibit 17-F, do you recognize this

      13   document, Ms. Lay?

      14   A.   Yes.

      15   Q.   What is it?

      16   A.   It's a text message between me and Monty.

      17   Q.   Okay.    So on this side of the document, who's speaking here

      18   on this side?

      19   A.   I'm speaking.

      20   Q.   Okay.    And you see on this side Monty Grow.

      21               Here it states, "Snodgrass is refusing meds because of

      22        copays.     Can you work something out with him?     He doesn't

      23        have to pay it.    They won't try to collect or pay him."

      24                Mr. Grow tells you this.     What do you remember about

      25   this text message screen?
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       1   A.     That Mr. Snodgrass wouldn't have to pay his copay and that

       2   they wouldn't bill him for it and that he would get his

       3   prescription.

       4   Q.     You wrote to him.    "We are getting it resolved now."

       5                 What do you mean when you say we're getting it resolved

       6   now?

       7   A.     I was reaching out to Mr. Snodgrass and letting him know

       8   what Monty had told me to tell him.

       9   Q.     What did you tell Mr. Snodgrass?

      10   A.     That he wouldn't have to pay for his copay, that the

      11   pharmacy would bill him but they wouldn't collect.

      12   Q.     Mr. Grow says, "Okay.    Let me know what's happening so I can

      13          inform pharmacy."    And you wrote back, "We are calling the

      14          pharmacy in the morning.    I just spoke with him."

      15                 What ended up happening with Mr. Snodgrass?

      16   A.     Mr. Snodgrass called the pharmacy and asked them to send him

      17   his prescription.

      18   Q.     Showing you Government's Exhibit 56.      You previously looked

      19   at this document testified about that first paycheck, Ms. Lay.

      20   Do you remember --

      21   A.     Yes.

      22   Q.     -- your first paycheck?

      23   A.     Yes.

      24   Q.     And there's an attachment, Ginger Lay Commission, 12-13 to

      25   12-27.
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       1   A.   Yes.

       2   Q.   So if we look at the attachment to the document -- see if I

       3   can zoom out.     I'm going to show you Page 2 of the document,

       4   Philip Snodgrass.

       5               What is this document?    It says Ginger Lay at the top.

       6   A.   This is a printout from the PCA portal.

       7   Q.   What do you mean PCA portal?

       8   A.   From Patient Care of America portal.

       9   Q.   Okay.    And for Philip Snodgrass, do you see three products

      10   here?

      11   A.   Yes.

      12   Q.   What's the first product?

      13   A.   That's a vitamin.

      14   Q.   And how about each of the last two?       There's 360 grams of

      15   "flut" and "Lope."

      16   A.   That would have been a pain and a scar cream.

      17   Q.   Okay.    So a vitamin, a pain and a scar?

      18   A.   Yes.

      19   Q.   What's this column here where it says 16,568.07?

      20   A.   That's the amount of the insurance would have paid.

      21   Q.   For what amount, what amount of product?

      22   A.   30-day supply.

      23   Q.   How about this $6,249 figure?

      24   A.   That would have been with the insurance company paid for a

      25   30-day supply.
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       1   Q.   Okay.     So if we're looking at -- here, how about the $5,909?

       2   A.   That would been for a 30-day supply, what the insurance

       3   company would have paid.

       4   Q.   And the next column over you'll see, a third column of

       5   numbers and then a final column.        What's this final column of

       6   numbers?

       7   A.   That would have been Monty's 50 percent commission.

       8   Q.   Okay.     So for the 30-day supply for Mr. Snodgrass, the

       9   patient that you just told us you convinced not to cancel over a

      10   copay, there were commissions of $2,910, $7,876 and $2,755, is

      11   that right?

      12   A.   Yes.

      13   Q.   Show you Government's Exhibit 119.        Government's Exhibit 119

      14   is an email from Monty Grow.     Do you know who Mary Jo Giles is?

      15   A.   I think she was a pharmacist.

      16   Q.   At where?

      17   A.   Patient Care of America.

      18   Q.   And down at the bottom there's a mention from this MJ Giles

      19   to Monty Grow.

      20               It says, "Patient Catherine Jajo does not want

      21        prescription because of the $17 copay times 3.        Please

      22        respond."

      23                Mr. Grow states that he's getting some patients -- It

      24        says, "Getting those parties to call in now and we'll see

      25        about Jajo."
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       1               Is this consistent with your recollection?

       2   A.   Yes.    Catherine Jajo wasn't one of my referrals, but yes,

       3   that is correct.

       4   Q.   Well, with respect to the issue of waiving the copayments?

       5   A.   Yes.

       6   Q.   And you testified that you, in fact, had Mr. Snodgrass call

       7   into the pharmacy?

       8   A.   Yes.

       9   Q.   Now, I want to move to the -- you testified earlier about

      10   the survey that you were using to sign patients up, Tricare

      11   patients up for these medications.

      12               I'm going to show you Exhibit 17-A.      While I'm doing

      13   that, just refresh the jury's recollection, what were you doing

      14   with respect to the survey?

      15   A.   The survey was -- I got the survey information from another

      16   company online, and I took their information and created this

      17   survey.     The survey was designed to generate more Tricare

      18   referrals and to make more money, that the Tricare beneficiaries

      19   would be paid to try the product, complete the survey and be

      20   paid money for it.

      21   Q.   I'm showing you Exhibit 17-A.        Do you know what this

      22   document is?

      23   A.   Yes.

      24   Q.   What is it?

      25   A.   It's a flyer that I created.
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       1   Q.   Why did you make this?

       2   A.   To give out to the Tricare beneficiaries letting them know

       3   about the survey.

       4   Q.   And the flyer states here that "Med RX" -- what's Med RX?

       5   A.   Med RX Sales is my company.

       6   Q.   "-- is looking for a few good men and woman who have served

       7        our country to participate in an assessment survey."

       8                What's an assessment survey?

       9   A.   The assessment survey was to see -- once they tried the

      10   product, to see how it worked for them.

      11   Q.   And who came up with the idea for the assessment survey?

      12   A.   I came up with the idea.    I got the information from another

      13   company as far as the contents for the survey.

      14   Q.   Okay.    You came up with the idea.       And what was the point of

      15   this assessment survey?

      16   A.   To bring in more Tricare referrals and make the money, make

      17   the commissions.

      18   Q.   Make sure I speak clearly, Ms. Lay.

      19   A.   Okay.     To bring in more Tricare referrals and make

      20   commissions.

      21   Q.   Now, you mentioned here, "looking for a few good men and

      22        women who have served our country" and their families.

      23                Who are you targeting with his assessment survey?

      24   A.   Tricare beneficiaries.

      25   Q.   And it says that this assessment is to determine the
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       1   effectiveness of various compounding products formulated for

       2   pain, scarring, wounds, migraines, acne, psoriasis and mentions

       3   a wellness vitamin.

       4               Did you ever intend to use this survey to collect data?

       5   A.   No.

       6   Q.   What was the point of the survey?

       7   A.   To refer more Tricare beneficiaries and get paid

       8   commissions.

       9   Q.   What did you do with the information that you collected from

      10   the Tricare patients related to these assessment surveys?

      11   A.   Nothing.

      12   Q.   What do you mean nothing?

      13   A.   It wasn't used for any reason.            It was just to generate more

      14   referrals.

      15   Q.   Okay.     It mentions here that "as a participant in this

      16        assessment survey, you may be compensated up to $1500 a

      17        month."

      18                What's that figure about, why per month?

      19   A.   Well, the actual amount was up to a thousand dollars a

      20   month, and that was based on them completing, finishing the

      21   product, doing the survey and being compensated on each month

      22   that they got a refill.

      23   Q.   So this was on a month-by-month basis, this pay?

      24   A.   Yes.

      25   Q.   And you mentioned here, it mentions as a -- excuse me.            "As
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       1          a representative for our organization, you can earn up to

       2          $2300 in up-front compensation and $1150 in residual

       3          income."

       4                 What's that about?

       5   A.     That was having Tricare beneficiaries refer other Tricare

       6   beneficiaries and become sales reps.

       7   Q.     So the $1,000 a month, what was that a payment for?

       8   A.     That was for the survey.

       9   Q.     Was that to the actual patient?

      10   A.     Yes.

      11   Q.     And then the money that's discussed down here, what was that

      12   for?

      13   A.     If they decided to become a sales rep and refer other

      14   Tricare beneficiaries.

      15   Q.     To find other people?

      16   A.     Yes.

      17   Q.     Now, there's a section here to qualify and it mentions here

      18   you have to be active, retired or disabled military personnel or

      19   a soldier.        Where did you get this information about who could

      20   qualify for this survey?

      21   A.     Monty told me who qualified as far as Tricare, and he also

      22   directed me to the Tricare website.

      23   Q.     When did he do that?

      24   A.     When I first got started.

      25   Q.     What did he tell you to do?
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       1   A.   Basically what this Tricare number look like, what was the

       2   format.     He explained to me about what Tricare was, you know,

       3   different types of Tricare programs there are, and then he

       4   directed me to the Tricare website to also research.

       5   Q.   Did you have discussions with Mr. Grow about this survey?

       6   A.   Yes, I did.

       7   Q.   Tell the jury about those discussions?

       8   A.   I discussed with Monty Grow, Monty about an idea I had with

       9   regard to a survey.       I told him the idea I had and that I would

      10   send him a Patient Consent Form to review and to send to Patient

      11   Care of America.      Monty Grow contacted me back, told me that

      12   someone at Patient Care of America told him that if I made

      13   certain changes to the Patient Consent Form, that I could

      14   proceed with the survey.

      15               THE COURT:    How much longer do you think you have?

      16              MR. LARSEN:     Your Honor, maybe 30 minutes.

      17              THE COURT:     Okay.   You all need a bathroom break or are

      18   you okay?    It's up to you.      You want to keep going or you want a

      19   break?    You want to keep going?       Break or keep going?   How many

      20   want a break?

      21               MR. G. JONES:    Keep going.

      22             MR. JEAN:      Keep going.

      23               THE COURT:    Keep going.     Let's go.

      24               You have used two hours.

      25   BY MR. LARSEN:
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       1   Q.   So the discussions with Mr. Grow about these surveys, what

       2   did you tell him you were doing?

       3   A.   I told him that I had an idea, that I had to do the survey

       4   to bring in more Tricare beneficiaries.        I discussed the survey

       5   with him, the idea of it, sent him the Patient Consent Form.        He

       6   sent it to Patient Care of America.

       7             Someone at Patient Care of America said that their

       8   counsel looked at it, told him to tell me to make certain

       9   changes to it.    I made those changes to it and those consent

      10   forms went out to the Tricare beneficiaries.

      11   Q.   Consent form.    I'm going to show you Exhibit 134.     It's an

      12   email from Monty Grow to Matthew Smith.

      13             It says, "Matt, here is the assessment agreement they

      14        are using.   You'll see on Page 2, Patient Information and

      15        Consent Form."

      16             Is this what you're referring to Ms. Lay?

      17   A.   Yes, and this is the revised -- This is the consent form

      18   that changes were made.

      19   Q.   What changes were made?

      20   A.   Part of the changes was -- where it would say that Patient

      21   Care of America did not have compensation -- Can you go to the

      22   second page, please?    Where it said that the compensation would

      23   not come from Patient Care of America and that it was not

      24   affiliated with any Government agency.

      25   Q.   What about right here, "if your insurance do not cover the
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       1        pain cream, you will not be enrolled in the assessment."

       2              What does that mean?

       3   A.   If they did not -- If the Tricare Insurance Company did not

       4   cover the pain cream, they would not receive their compensation.

       5   Q.   On the last page here you "may be compensated up to $500 to

       6        complete the Product Evaluation and Assessment."

       7              What's that about?

       8   A.   They could be compensated up to a thousand dollars.       So each

       9   pain, scar and vitamin had a different dollar amount that they

      10   could be compensated for for completing that survey.

      11   Q.   And when did you and Mr. Grow begin using this survey?

      12   A.   The first part of 2015.

      13   Q.   When you say the first part; January, February?

      14   A.   February.

      15   Q.   Let me show you Exhibit 93.      Before I do, did Mr. Grow ever

      16   ask you to provide data that was provided on these reports by

      17   Tricare beneficiaries?    Did he ask for that data, ever ask for

      18   the information for any reason?

      19   A.   No.

      20   Q.   Did you ever give it to him?

      21   A.   No.

      22   Q.   Ms. Lay, do you know a patient by the name of James

      23   Featherston?

      24   A.   He was a Tricare beneficiary referred to Monty.

      25   Q.   You said he was a Tricare beneficiary?
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       1   A.   Yes.

       2   Q.   Was he a patient of yours?

       3   A.   He was a patient referral by a representative.

       4   Q.   Let me show you Government's Exhibit 93, an email from Monty

       5   Grow.   Do you know this name Alisa Catoggio?

       6   A.   She worked at the pharmacy.

       7   Q.   There's an email that's dated the 10th of February.       "One of

       8        Ginger's patients called into the pharmacy asking where his

       9        direct deposit is for the study about the pain cream.

      10        Please call back."

      11               Monty responds, "Ginger said she will reach out to them

      12        and see what they're referring to."

      13               Did you have conversations with Mr. Grow about

      14   Mr. Featherston?

      15   A.   He did talk to me about Mr. Featherston.

      16   Q.   Now, it suggests here where it says -- if Monty is

      17   suggesting that you don't know, that you two don't know what

      18   Mr. Featherston is referring to, would that be accurate?

      19               MR. MARCUS:    Objection, Your Honor.

      20               THE COURT:     Grounds.

      21               MR. MARCUS:    It's leading.

      22               THE COURT:     No, overruled -- go ahead -- because he's

      23   reading from something.       Go ahead.

      24               THE WITNESS:    Could you repeat the question?

      25               THE COURT:    What does that mean?   You see what he just
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       1   showed you?

       2               THE WITNESS:     Yes.

       3               THE COURT:   What is that all about?

       4               THE WITNESS:    He knew, we knew about the survey.

       5               THE COURT:   How do you know "we knew"?         Why do you say

       6   "we"?    Who's the "we"?

       7               THE WITNESS:    Okay.     I lost my train of thought when he

       8   objected.     I was just asking if he could ask the question.

       9               THE COURT:     I know.    That's why I'm asking you now,

      10   because you lost your train of thought.             You said "we."   Who's

      11   "we"?

      12               THE WITNESS:    Me and Monty knew about the survey.

      13               THE COURT:     Okay.     How do you know what Monty knew?

      14   Did he tell you anything?

      15               THE WITNESS:     You're asking about, "Ginger said she

      16        will reach out to them and see what they're referring to."

      17               THE COURT:     What does that mean?

      18               THE WITNESS:    He was telling the individual that I

      19   would reach out to Mr. Featherston to see what he was talking

      20   about.

      21               THE COURT:     All right.      Next question.

      22               THE WITNESS:     Okay.

      23   BY MR. LARSEN:

      24   Q.   Did you and Mr. Grow know what he was talking about?

      25   A.   Yes.
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       1   Q.   How do you know?

       2   A.   Because me and Monty had conversations about the survey and

       3   the patients getting paid.

       4   Q.   What kind of conversations did you and Mr. Grow have about

       5   patients being paid?

       6   A.   I told Monty how much I was paying the patients and he asked

       7   me why am I paying them so much and I told him that basically to

       8   generate more money and more beneficiaries.

       9   Q.   Let me show you Government's Exhibit 131.      It's an email

      10   from Monty Grow to you on March 3rd of 2015.       Do you know who

      11   Blair Von Letkemann is?

      12   A.   A Tricare beneficiary.

      13   Q.   It looks like Blair Von Letkemann called into the pharmacy,

      14   said he participated in a drug trial and he would paid for via

      15   direct deposit.     He has not received the page to set up the

      16   direct deposit, and you see a response from the pharmacy, Mary

      17   Jo Giles, and then Mr. Grow forwards this to you.

      18               On March 3, 2015, did Mr. Grow and you have

      19   conversations about paying patients through the survey or before

      20   then, March 3rd or before?

      21   A.   Yes.

      22   Q.   Did Mr. Grow know you were paying patients for the survey?

      23   A.   Yes.

      24   Q.   Let me show you Government's Exhibit 129, an email, March

      25   3rd, same date, from Monty Grow to Matthew Smith about a patient
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       1   named Monica Mendez.    Ms. Mendez talks about -- she says or is

       2   making a reference to being paid a thousand dollars to complete

       3   a survey.

       4              Mr. Grow stated, "I discussed this with Ginger today,

       5        and she informed me that the program, the survey program, is

       6        terminated."

       7              Tell the jury what discussions, if any, you had with

       8   Mr. Grow about the termination of this program.

       9   A.   Monty called me around the 1st of March.        He said that

      10   someone at PCA spoke with their legal people.        The legal people

      11   says some expletives, said that survey was in a gray area and

      12   that I needed to stop the survey.         He called me and informed me

      13   of that.    I sent out an email to the Tricare beneficiaries

      14   letting them know that the survey had ended and also sent an

      15   email to Monty letting him know that the program had ended as

      16   well.

      17              When I asked him what am I supposed to do with all

      18   these people?    He said, continue to pay them because we don't

      19   want any problems.

      20   BY MR. LARSEN:

      21   Q.   What did you understand "we don't want any problems" to

      22   mean?

      23   A.   That they would cancel and we would no longer get paid on

      24   their refills.   So even though the program ended, there were no

      25   more new Tricare beneficiaries that were sent to the pharmacy.
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       1               MR. LARSEN:    Can we switch back?

       2   BY MR. LARSEN:

       3   Q.     So what kind of problems did you understand could happen if

       4   you stopped paying the patients?

       5   A.     The patients would cancel and we wouldn't get paid

       6   commissions.

       7   Q.     I'm going to show you Government's Exhibit 133, email from

       8   Monty Grow to Matthew Smith, and I focus your attention to below

       9   on this email that you wrote to Monty on March 4, 2015:

      10               "Dear Monty:   I've informed my team that effective

      11          immediately the program will be discontinued," and you go on

      12          to talk about the end of the program.

      13               Why did you send this email to Mr. Grow on March the

      14   4th?

      15   A.     So that he would know that the program was terminated and to

      16   let --

      17   Q.     Did he ask -- I'm sorry.    Go ahead.

      18   A.     And to let the pharmacy know that the program was

      19   terminated.

      20   Q.     What if, any understanding, did you have on March 4th about

      21   whether to continue paying patients?

      22   A.     The conversation I had with him was that, you know, after

      23   the program ended, what was I supposed to do with all these

      24   people and he said continue to pay them.             So there were no more

      25   new people enrolled in the program.              Anybody that was already
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       1   there was the ones that were paid out.

       2   Q.   I'm going to show you Exhibit 36.         Just remind me who is

       3   Chris O'Hara again?

       4   A.   He works for 1st Care Med?

       5   Q.   1st Care Med was what?

       6   A.   The telemedicine company that Monty had set up.

       7   Q.   It's an email, March 24, so 20 days later after you sent

       8        that email to Mr. Grow terminating the program,

       9        Mr. O'Hara says, "Monty, what's going on here?        Doctor

      10        reported she spoke with the below mentioned patient and he

      11        claims he was promised $1,000 to try the cream.        He is from

      12        Med RX.   What do I do with patient Eric Schwant" (phonetic),

      13        "the patient who says he was promised $1,000?"

      14               Monty states, "I will pass this on to Ginger and see

      15        what that's about."

      16               Do you know if Monty Grow knew what this was about at

      17   the time he wrote this email?

      18   A.   Yes, we had several conversations about the survey.

      19   Q.   And on paying patient after the end of the survey?

      20   A.   Yes.

      21   Q.   So just so I understand, the end of the survey, what did

      22   that mean from a practical standpoint?          What did that mean on

      23   March 4th when the survey program ended?          What were you doing?

      24   A.   Anybody who wanted the product would not be compensated for

      25   it and anybody who was already receiving the product would only
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       1   be compensated one last time.

       2   Q.   So those that are already signed up --

       3              THE COURT:   Well, see, once you do that, you're

       4   leading.

       5   BY MR. LARSEN:

       6   Q.   What do you mean by one last time?

       7   A.   So those who were already in the program would be paid one

       8   last time to do one last product survey, and anybody else that

       9   wanted to come in, they would just have to want the product.

      10   Q.   I'm going to show you Government's Exhibit 18, email.         Now,

      11   this is June 11, 2015.

      12              It says, patient or complaint regarding Ginger Lay rep,

      13   and then down below there's a patient name Lakeva Crim

      14   (phonetic).    Do you recognize that name?

      15   A.   That was a Tricare beneficiary referred to by a rep that

      16   David Lloyd recruited.

      17   Q.   It say, "Apparently, a rep had gone to the military base and

      18        spoke to quite a bit of military personnel.         They were told

      19        if they were willing to try the compound medication, they

      20        would be compensated with money.          After trying the

      21        medication, they called to get their money and was told that

      22        the rep that was doing the promotion no longer works at

      23        Ginger Lay and Caprice was now in charge."

      24              Now, this is June.   Mr. Grow forwards this to you on

      25   June 11, 2015.    This is three months after the program had
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       1   ended.      Do you know why Mr. Grow forwarded this to you?

       2   A.    No.

       3               THE COURT:    All right.    I'm going to have to recess.

       4   We'll see you in 10 minutes.      Okay?        Don't talk about the case.

       5   Go back.     We'll bring you back in 10 minutes.

       6               THE COURT SECURITY OFFICER:         All rise.

       7        (There was a brief recess, after which the following

       8   proceedings were held outside the presence of the jury:)

       9               THE COURT:    I'm on this Executive Committee of the

      10   Judicial Conference, the Director of the Administrative Office

      11   of the Courts was on the phone and had to deal with an issue.

      12   Okay?    So I apologize, but it had to be done then.

      13                Okay.   Bring them in.

      14               THE COURT SECURITY OFFICER:         Yes, Your Honor.

      15               THE COURT:    You've got what, 15 minutes, 20 minutes?

      16               MR. LARSEN:   Probably.

      17               THE COURT:    All right.    If not, I'm going to have to

      18   order Cuban coffee for the jurors or something.

      19        (The jury returned to the courtroom.)

      20               THE COURT:    We've go everybody?

      21                THE COURT SECURITY OFFICER:        Everybody, Your Honor.

      22               THE COURT:    Thank you.    You've got your soda, water,

      23   coffee.     Everybody doing okay?      Super.     Thank you so much.

      24               All right.    Defendant is present, defense counsel,

      25   Government counsel.
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       1               All right.   Mr. Larsen, you may conclude with your

       2   direct.

       3   Q.   Ms. Lay, we were previously talking about Government's

       4   Exhibit 18 before the break, and as I was saying, Government's

       5   Exhibit 18 was an email between you and Mr. Grow in June of

       6   2015.   You had testified about a Tricare beneficiary named

       7   Lakeva Crim.      Then we were talking about an email.   I want to

       8   focus on Page 2 of that email.

       9                Referring to the patient, the email reads, "Also she

      10        was told that they were going to receive a survey after

      11        trying medications which they also did not receive.       When

      12        she was finally able to speak with Caprice, the patient

      13        said, she was told by Caprice that she is not to contact

      14        pharmacy or ask pharmacy any questions regarding survey."

      15                Ms. Lay, have you ever been told to tell patients not

      16   to contact the pharmacy?

      17   A.   Yes.     When the patients would called the Patient Care of

      18   America asking about their money, Monty would call me and let me

      19   know that they were calling and asking about their money and I

      20   would let the reps tell the patients don't call the pharmacy.

      21   The pharmacy is not affiliated with the survey.

      22   Q.   Okay.    You testified earlier that Mr. Grow stated, keep

      23   paying the patients because we didn't want any trouble.        What

      24   did you understand that to mean in the context of this email?

      25   A.   This email was after the survey had ended back in March.         I
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       1   can't speak to this particular patient but they apparently was

       2   not paid because they may not -- they may have came in when they

       3   were supposed to be paid in March.

       4   Q.   Well, someone from the pharmacy, Matt Smith, you testified

       5   is a pharmacist, said, "See below.             This is bad."   And then

       6   Mr. Grow forwards this to you.

       7                When Mr. Grow said, "We don't want any trouble with the

       8   patients" is this the kind of trouble he was referring to?

       9   A.   Yes.

      10   Q.   What kind of trouble?

      11   A.   That the patient would cancel and they would complain.               They

      12   would call the pharmacy and complain that they didn't get paid.

      13   Q.   Now, this is months after the survey ended and there's this

      14   email, "this is bad."     Now, did Mr. Grow stop doing business

      15   with you in April, in May, in June?

      16   A.   I continued to receive residual on the refills.             He was

      17   talking about some additional opportunities outside of the

      18   compounding products.

      19   Q.   Okay.    So Mr. Grow continued to pay you through April and

      20   May and June?

      21   A.   Monty paid me in March and April and then we were -- Monty

      22   told me that we had to become W-2 employees of Patient Care of

      23   America and so we became -- everybody did their paperwork,

      24   became W-2 employees of Patient Care of America, and starting in

      25   May, Patient Care of America paid us.
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       1   Q.   You've seen a few emails here where patients called in after

       2   March of 2015.    Did Mr. Grow fire you?

       3   A.   No, I was an employee of Patient Care of America.       They

       4   terminated me in July of 2015.

       5   Q.   Did Mr. Grow tell you to return the money because you were

       6   paying patients?

       7   A.   No.

       8   Q.   Did Mr. Grow keep paying you?

       9   A.   He paid me in April, March and April, and then Patient Care

      10   of America started paying me in May.

      11   Q.   Let's talk about that, Patient Care America started paying

      12   you in May.

      13              Why did you start getting paid by Patient Care America

      14   in May?

      15   A.   Monty told me that everybody had to become W-2 employees.       I

      16   sent him my contact information for Patient Care of America to

      17   send me a new hire packet and then the new hire packet -- we had

      18   to take a drug test and send in the information to them and we

      19   would become W-2 employees and get taxes taken out.

      20   Q.   Did Mr. Grow say why you had to become employees?

      21   A.   He didn't elaborate, no.

      22   Q.   Describe how you were hired by Patient Care America?

      23   A.   I was hired as a W-2 employee.

      24   Q.   Did you have a job interview?

      25   A.   No.
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       1   Q.   Did you ever meet face to face with anyone at the pharmacy?

       2   A.   No.

       3   Q.   How did this process happen then?

       4   A.   Monty told me we had to become W-2 employees and to send him

       5   my contact information so Patient Care of America could send me

       6   the new hire packet.

       7   Q.   Okay.    I'm going to show you Exhibit 142.    It's an email

       8   from Monty Grow.     You mentioned earlier that Alisa Catoggio was

       9   someone at Patient Care America.

      10   A.   Yes.

      11   Q.   Now, the subject is Commission Report.

      12                Mr. Grow states:   "Alisa, I just wanted to reach out

      13        and make sure we are all on the same page for the upcoming

      14        commission report.    Ginger gave me her combined numbers for

      15        the last payroll and this payroll since none of her people

      16        were paid last time."

      17               He says further that to simplify he was going to

      18   combine, looks like your payroll or his payroll along with your

      19   payroll and there's some numbers down here.        Do you see?

      20                Now, the commission periods were typically how long?

      21   A.   Every two weeks.

      22   Q.   So May 22nd, Monty is reporting a commission for him of

      23   $758,060.40 and then for you, over half a million dollars for

      24   this commission report period and this is May 22, 2015.

      25               Then he goes on to say "Ginger's remaining commissions
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       1        to be paid from previous period."

       2                So earlier than May 22nd?         So it looks like a combined

       3   amount of over $800,000 and then the total commission to him and

       4   all of his reps of $2.1 million.

       5               This is months after the survey terminated.          Mr. Grow

       6   continues to pay you as you testified?

       7   A.   This was the email where the pharmacy was supposed to pay me

       8   the commission starting in May of 2015.

       9   Q.   So how did you get -- is this after you became a W-2

      10   employee of the pharmacy?

      11   A.   Yes.

      12   Q.   So Mr. Grow appears to be -- he's writing to Ms. Catoggio

      13   with these figures of how much to pay.            Would you get paid from

      14   the pharmacy following this?

      15   A.   The amount was split into two payments over a month's

      16   period.

      17   Q.   What do you mean by a "month's period"?

      18   A.   So the pharmacy paid half of it and then they were waiting

      19   to be paid by Tricare and then they paid us the remaining half

      20   with taxes taken out.

      21   Q.   Are you talking about in a one-month period?

      22   A.   Yes.

      23   Q.   Okay.    Now, these commission payments that were just

      24   referenced on Government's Exhibit 142, were these payments that

      25   were tied to the survey, recruiting patients through the
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       1   surveys?

       2   A.   Yes, these were the refills from those individuals that had

       3   participated in the survey after it ended.

       4   Q.   And did Mr. Grow know that these commissions that he was

       5   directing PCA to pay to him and then ultimately to you were

       6   related to patients that you and him paid to enroll in these

       7   surveys?

       8   A.   Yes.

       9   Q.   Show you Government's Exhibit 68 from G. Lay.       Is that you,

      10   Ms. Lay --

      11   A.   Yes.

      12   Q.   -- to Monty Grow?

      13   A.   Yes.

      14   Q.   There's a list.   It says important email from May 20 of '15.

      15   What are you doing in this email.         What are you saying to

      16   Mr. Grow?

      17   A.   I'm sending him an email report of commissions that are due

      18   to be paid to reps from Patient Care of America.

      19   Q.   Okay.   So commission breakdown May 15, '15?

      20   A.   Yes.

      21   Q.   For what period is that?      Is that for the two-week before

      22   or --

      23   A.   If I recall, yes.

      24   Q.   Okay.   So 514,000 for you.     Who is David Lloyd?

      25   A.   He was my business partner.
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       1   Q.   There's that reference to Caprice Godfrey.      Who is that?

       2   A.   She was a rep that David Lloyd recruited.

       3   Q.   Now, how about this person, Paul Homrighausen?      Who's that?

       4   A.   He was a rep that Kim Homrighausen recruited from -- David

       5   Lloyd recruited Kim Homrighausen and Kim Homrighausen recruited

       6   Paul Homrighausen.

       7   Q.   Was Paul Homrighausen, do you know if he was a Tricare

       8   beneficiary?

       9   A.   Yes, he was.

      10   Q.   Look at this list.    How many of the folks on this list were

      11   Tricare beneficiaries, if you know?

      12   A.   Quite a few of them.    It was half Tricare beneficiaries and

      13   half sales reps that were recruited by David Lloyd.

      14   Q.   Okay.    And do you know if Mr. Grow would have known which of

      15   these you were reporting to him were Tricare beneficiaries?

      16   A.   Not that I recall, no.

      17   Q.   Would you have provided him with prescriptions?

      18   A.   He would have been able to see them in the portal.

      19   Q.   What do you mean?

      20   A.   In the Patient Care of America portal.

      21   Q.   He would have been able to see what?

      22   A.   The prescription and the patient name in the portal.

      23   Q.   Okay.     You testified a few minutes ago about becoming a W-2

      24   employee.

      25                Aside from how you got paid, meaning who the payment
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       1   came from, did anybody else about your business dealings with

       2   Mr. Grow change after you became an employee?

       3   A.   Patient Care of America would then pay commissions as W-2

       4   employees and take out taxes.

       5   Q.   Anything other than that different?

       6   A.   We would just continue to get paid on the patients that were

       7   still getting their refills.

       8   Q.   Were you doing active recruitment?        Earlier you testified on

       9   March 4 the program terminated.       Were you actively recruiting

      10   Tricare beneficiaries to sign up after March 4?

      11   A.   No, I did not.    We did not submit any new patients.       If they

      12   wanted the products, they would have just want it on their own

      13   without getting paid.

      14   Q.   So at least half of million dollars in commissions to you

      15   came after that March 4 at least?

      16   A.   Yes.

      17   Q.   Do you have an idea about how much you were paid after March

      18   4 in commissions from the survey?

      19   A.   I don't recall.

      20   Q.   More than 500,000?

      21   A.   Yes.

      22   Q.   Okay.   One final area I want to ask you about.       You

      23   mentioned earlier that Mr. Grow talked to you about selling

      24   components to the pharmacy.     What do you remember about those

      25   conversations with Mr. Grow?
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       1   A.   There's a conversation, we were just kind of talking.       He

       2   was like, yeah, I sell additive to the pharmacy.       It increases

       3   the amount that the insurance companies pay on the product and

       4   that he was making a couple of hundred thousand dollars a month

       5   doing that and that he was selling it to PCA and other

       6   pharmacies.

       7   Q.   Did you know what kind of compound it was or what kind of

       8   component it was?

       9   A.   No, I didn't ask.

      10   Q.   What was the point of that conversation he had with you, do

      11   you know?

      12   A.   He was just basically telling me how much additional money

      13   he was making.

      14              MR. LARSEN:   Okay.   Can I have one moment, Your Honor?

      15               THE COURT:   Sure.

      16   BY MR. LARSEN:

      17   Q.   Ms. Lay, we were talking in the last few minutes about this

      18   period in May of 2015 after you became a W-2 employee of the

      19   pharmacy.     Did the pharmacy, that is PCA, did they interview you

      20   or train you?

      21   A.   No.

      22   Q.   Did they train any of our sales reps or people that you

      23   listed on the last exhibit to be paid?

      24   A.   No.

      25   Q.   Did Mr. Grow ever train you how to market any of these
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       1   products to Tricare beneficiaries aside from what you've already

       2   testified to?

       3   A.   No.

       4   Q.   Did you ever step foot in a pharmacy here in South Florida,

       5   PCA pharmacy?

       6   A.   In 2016 I went to see them.      I visited them.

       7   Q.   What was the point of that?

       8   A.   Just to see who they were.

       9   Q.   Were you invited?

      10   A.   I talked to -- I was here talking to another gentleman in

      11   regard to a cancer screening product and I reached out to PCA

      12   and said, hey, I'm in the area, I'd like to come meet you guys.

      13   Q.   Did you meet them?

      14   A.   Yes.

      15   Q.   Who did you meet?

      16   A.   I met Alicia, Cynthia, I think Mary Jo and another tech.        I

      17   don't remember her name.

      18   Q.   Did you have conversations with these individuals about the

      19   previous work you had done for PCA?

      20   A.   No, it was just basically meeting them and seeing who they

      21   were, put a name with a face.

      22   Q.   What about in the period of May of 2015?      I think earlier

      23   you said that you and Mr. Grow had continued to have discussions

      24   about other business deals.     What do you remember about that?

      25   A.   Monty talked to me about a cancer screening product during
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       1   the time that we were doing the compounding with Tricare.             He

       2   also talked to me about a program with some type of machine that

       3   is placed in the doctor's office through a lady named Julie and

       4   how that would pay out.        It didn't come through fruition.       The

       5   cancer product didn't come to fruition.           So none of the products

       6   we discussed going further came into fruition.

       7   Q.   When were these conversations though?

       8   A.   The cancer product was done during the time we were doing

       9   the compounding from January to May, and the machine that's

      10   supposed to be put into doctor's office, as I recall, was talked

      11   about in July in 2015.

      12   Q.   Okay.    The conversations from January to May were

      13   conversations about doing more business with Monty Grow after

      14   the issues you discussed about the patient being paid by the

      15   survey?

      16   A.   Yes.

      17                THE COURT:    Could you read back the question, Gilda,

      18   please?

      19        (The question referred to was read by the reporter.)

      20               THE COURT:    I forgot you had laryngitis.      I am so

      21   sorry.    I forgot.      I shouldn't have done that.

      22                THE COURT REPORTER:    It's okay.

      23                THE COURT:    Do you think that was a leading question,

      24   Mr. Larsen?     Oh, that's easy, just the length of it and the fact

      25   that an answer was yes, the answer is yes, but I apologize for
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       1   making the court reporter read it, but she read it.

       2             No more leading questions.           Wrap it up.

       3             I'm sorry, Gilda.     Don't say anything.

       4   BY MR. LARSEN:

       5   Q.   The $6.3 million you testified to, what percentage of that

       6   amount -- can you explain what that number, that $6.3 million

       7   number was?

       8   A.   Part of that was wires that Monty Grow sent to me and money

       9   from Patient Care of America when I became a W-2 employee.

      10   Q.   And that was what percentage of claims?

      11   A.   That was 40 percent of the claim minus the cost of goods and

      12   telemedicine.

      13             MR. LARSEN:   Your Honor, I think I am done.       Let me

      14   just make one more check, if I could with my co-counsel.

      15            I have nothing further, Your Honor.

      16             THE COURT:    All right.     Cross-examination.

      17             MR. MARCUS:    Your Honor, before we begin, there's one

      18   issue I'd like to raise.

      19             THE COURT:    No.   Just cross-examination.

      20             MR. MARCUS:   Okay.

      21             THE COURT:    No issues in front of the jury but after

      22   they're gone.

      23                             CROSS-EXAMINATION

      24   BY MR. MARCUS:

      25   Q.   Good afternoon, Ms. Lay.
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       1   A.   Good afternoon.

       2   Q.   We've never met, have we?

       3   A.   No.

       4   Q.   We've never talked?

       5   A.   No.

       6   Q.   And in fact, you've never met with Monty Grow, have you?

       7   A.   I never met him, no.

       8   Q.   But you've worked with him obviously, correct?

       9   A.   Yes.

      10   Q.   Let's start there.     You signed an agreement with Mr. Grow in

      11   October of 2014.    Remember that?

      12   A.   Yes.

      13   Q.   Okay.    But this was some time before you actually started

      14   working for him, right?

      15   A.   Yes.

      16   Q.   And you started working in December of 2014 for PCA

      17   Pharmacy, right?

      18   A.   For Monty Grow.

      19   Q.   Right.   You had a network of sales reps, is that right?

      20   A.   My business partner recruited the sales rep, David Lloyd.

      21   Q.   Okay.    But you were doing marketing, you agree with that?

      22   A.   Yes.

      23   Q.   And Mr. Lloyd was your business partner?

      24   A.   Yes.

      25   Q.   And you built a network of sales reps that reported to you,
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       1   is that right?

       2   A.    They reported to Mr. Lloyd and me.

       3   Q.    Okay.     Were you equal partners?

       4   A.    Yes.

       5   Q.    Did you share profits equally with Mr. Lloyd?

       6   A.    We had 60/40 agreement?

       7   Q.    Who got 60 percent?

       8   A.    He got 60 percent and I got 40 percent after -- I got 40

       9   percent before cost.       He got 60 percent after.

      10   Q.    Okay.    So for every representative that he brought into work

      11   and market the products that you were marketing, he would

      12   receive 40 or is it 60 percent?

      13   A.    60 percent.

      14   Q.    Okay.    And you would receive 40 percent?

      15   A.    Right.

      16   Q.    And what about other sales rep that Mr. Lloyd did not bring

      17   in?

      18   A.    He brought in the majority of the sales reps.      I didn't

      19   bring any sales rep that I recall.

      20   Q.    Did you generate your own sales leads?       Did you have other

      21   representatives?

      22   A.    The sales reps knew people.       That's who brought in the --

      23   Q.    Let me try to be clearer.

      24                 You had other sales reps that worked for you that

      25   Mr. Lloyd did not bring into your network, is that correct?
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       1   A.   I only had a few but not a lot, no.

       2   Q.   Okay.    And on those situations, would Mr. Lloyd make any

       3   money?

       4   A.   Yes, he would.

       5   Q.   What was your agreement with him for those representative?

       6   A.   He got paid 60 percent on all money that came in.

       7   Q.   Oh, so you paid him 60 percent for everything, no matter if

       8   he brought in sales reps or not?

       9   A.   Yes, because we were business partners.

      10   Q.   Okay.    And then in December, you started marketing for the

      11   PCA products, right, that Mr. Grow talked to you about?

      12   A.   Yes.

      13   Q.   And you got your first commission in early January.       Do you

      14   recall that?

      15   A.   Yes.

      16   Q.   Okay.    And so for the last two weeks of December, you and

      17   Mr. Lloyd, you were marketing these products and then you

      18   started to get paid in January of 2015?

      19   A.   Yes.

      20   Q.   All right.    Now, the survey program that you testified

      21   about, you said that was your idea, correct?

      22   A.   Yes.

      23   Q.   Right.    You had seen something like it online?

      24   A.   Yes.

      25   Q.   And you wrote the brochure yourself, correct?
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       1   A.   Yes.

       2   Q.   You did that on your computer?

       3   A.   Yes.

       4   Q.   And then there's no date on the brochure.       Do you recall

       5   when you created this document?

       6   A.   No, I don't.   I just know I created it and got the

       7   information from what I -- the information Monty told me when I

       8   first got started with him as far as what the qualifications was

       9   for a person who had Tricare.

      10   Q.   Okay.   So your testimony today is that you started doing

      11   survey programs only when you started working with Mr. Grow in

      12   mid December of 2014?

      13   A.   No, I said initially we were bringing in Tricare

      14   beneficiaries without the survey.        The survey came later on.

      15   Q.   Oh, even later.   Okay.   So did you start the survey program

      16   in January of 2015?

      17   A.   It was like the end of January, February, yes.

      18   Q.   Okay.   So you think it was late January, early February?

      19   A.   Yes.

      20   Q.   And your testimony is that Mr. Grow knew about the survey

      21   program from the beginning of when you were starting it?

      22   A.   We had a discussion about it, yes, I told him about the

      23   idea.

      24   Q.   Okay.   So was that discussion in late January or in

      25   February?
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       1   A.   It was late January, early February.

       2   Q.   Okay.    And then you said that the pharmacy started asking

       3   questions about the survey form, the consent form that you made

       4   up for the patients.      Do you recall that?

       5   A.   I sent the consent form to Monty, Monty sent it to PCA.

       6   Someone at PCA told Monty that if I made certain changes to the

       7   consent form, it would be okay.

       8   Q.   Okay.    And this is in February?

       9   A.   Yes, January, February, yes.

      10   Q.   And isn't it a fact that Mr. Grow asked you to send him the

      11   form after this issue arose with the pharmacy?

      12   A.   Not that I recall, no.    I told him I would send him the

      13   form.

      14   Q.   Okay.    You don't recall him asking you?

      15   A.   No.

      16   Q.   All right.    And you recall that there was some discussion

      17   about lawyers for the pharmacy, for PCA, looking at the program

      18   and making changes?

      19   A.   He said that there was a counsel from PCA, that whoever he

      20   spoke with, PCA counsel said that if I made certain changes to

      21   the consent form, it would be okay.

      22   Q.   Right.    And then on March 3rd you were told that the program

      23   had to stop immediately, right?

      24   A.   Yes.     He called me and said that some lawyers, some lawyers

      25   at PCA looked at the program, said some expletives and said that
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       1   the program had to stop.

       2   Q.   Right.     Your testimony though was that you and Mr. Grow

       3   discussed that you would still pay the survey patients, the

       4   patients who participated in the program after March 3rd even

       5   after the program was stopped.

       6   A.   The conversation was when I asked him, what am I supposed to

       7   do with all these people, he said continue to pay them because

       8   we do not want any problems.      So the program stopped.    Anybody

       9   who was already in the program, got compensated, but there were

      10   no new customer that was brought into the program to be

      11   compensated.

      12   Q.   And your testimony, right, is that Mr. Grow wanted you to

      13   keep paying patients in March and in April and May who were in

      14   the program, correct?

      15   A.   Yes, and the individuals only received one more payment, one

      16   or two more payments who were already enrolled in the survey

      17   prior to that conversation.

      18   Q.   Okay.    In the beginning with Mr. Larsen, you explained that

      19   you had pled guilty to one count of health care fraud, is that

      20   right?

      21   A.   Yes, conspiracy to commit health care fraud.

      22   Q.   And that is a charge that you could face 10 years in jail

      23   for, is that right?

      24   A.   Correct.

      25   Q.   And in fact, the charges that were brought against you,
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       1   there were many other charges that were filed against you as

       2   part of that Indictment, is that right?

       3   A.     Yes.

       4   Q.     You and Mr. Grow were charged in an Indictment together, do

       5   you recall that?

       6   A.     Yes.

       7   Q.     And you were charged with wire fraud.     Do you recall that?

       8   A.     Yes.

       9   Q.     And you're aware that wire fraud is a charge that could

      10   bring 20 years in prison?

      11   A.     No, I didn't.   I'm not aware of that.

      12   Q.     Okay.   You have counsel though, right?

      13   A.     Yes.

      14   Q.     Ms. Bozorgi is a lawyer for you, is that correct?

      15   A.     I'm with the Dillon Law Firm.

      16   Q.     Mr. Dillon, Bill Dillon in Atlanta?

      17   A.     Yes.

      18   Q.     And you also have local counsel, do you not?

      19   A.     Yes.

      20   Q.     Susan Bozorgi and Susan Van Dusen are your local lawyers,

      21   too?

      22   A.     Yes.

      23   Q.     Okay.   And obviously, they've been representing you

      24   throughout, since the charges, correct?

      25   A.     They've been working with my attorneys and representing me,
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       1   yes.

       2   Q.     And when did they start representing you?

       3   A.     I can't speak to that.     I don't know when my attorneys had

       4   conversation with them.

       5   Q.     Well, how long has Mr. Dillon been representing you?

       6   A.     Since August, September.     August, September.

       7   Q.     August of 2017?

       8   A.     Yes.

       9   Q.     Okay.   And I assume you've met with him a lot, talked about

      10   your case?

      11   A.     Yes.

      12   Q.     Did you discuss the charges against you, the Indictment?

      13   A.     Yes.

      14   Q.     Were you aware that there were many, many charges against

      15   you?

      16   A.     Yes.

      17   Q.     And are you aware that they carry potential terms of

      18   imprisonment that are very long?

      19   A.     Yes.

      20   Q.     You could have been facing more than 90 years in prison.

      21   You're aware of that?

      22   A.     I didn't calculate the years.

      23   Q.     Okay.   But you knew it was a long time?

      24   A.     Yes.

      25   Q.     And by pleading guilty, you know that the most you can get
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       1   is 10 years, is that right?

       2   A.   Yes.

       3   Q.   And actually, as part of that Plea Agreement with the

       4   Government, you have a joint recommendation to the Court about

       5   the number of months that you should be sentenced to, is that

       6   right?

       7   A.   Could you --

       8   Q.   Are you aware that in your Plea Agreement, there's agreement

       9   between you and the Government that you should be sentenced at

      10   about 63 months?

      11   A.   According to the guidelines, yes.

      12   Q.   Yes, according to the guidelines.         You've agreed to the

      13   guidelines, but you have agreed with the guidelines with the

      14   Government?

      15   A.   That was something my attorneys negotiated.         I can't speak

      16   to that.      I just know what it says what level I'm at.      I can't

      17   speak to anything.

      18   Q.   I understand you're not a lawyer, but you understand that

      19   that was a negotiated document, that there were things that were

      20   agreed to and other things that the Government agreed not to

      21   charge you with.

      22   A.   Yes.

      23   Q.   Right.    And other potential guideline enhancements that

      24   could increase your guideline range that they have agreed not to

      25   seek?
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       1   A.     Yes.

       2   Q.     Okay.    And you've also testified earlier that you're hoping

       3   that the Government will file in the future a motion to reduce

       4   your sentence?

       5   A.     If they chose to, yes.

       6   Q.     If they choose to.    And you understand that only the

       7   Government has that power to file that Rule 35 motion to reduce

       8   your sentence.      You're aware of that?

       9   A.     Yes.

      10   Q.     It's in their sole and unreviewable judgment, that's in your

      11   Plea Agreement?

      12   A.     They have the right to determine that, yes.

      13   Q.     Right.    And you're hoping that they'll do that sometime in

      14   the future?

      15   A.     If they choose to, yes.

      16   Q.     Right.    And part of that choice is you cooperating with

      17   them, correct?

      18   A.     Yes.

      19   Q.     And you had talked about looking at some documents in

      20   Florida.       You've met with the prosecutors before today, have you

      21   not?

      22   A.     Yes.

      23   Q.     How many times do you think you've met with them?

      24   A.     Prior to my coming to plead guilty, around two; when I came

      25   here the first time, when they came to Atlanta, when I came to
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       1   plead and when I came here this weekend.

       2   Q.   Right.    I mean, you've sat down, they've asked you a lot of

       3   questions?

       4   A.   We've talked.

       5   Q.   And you're aware that they wanted you to be a witness

       6   against Mr. Grow at his trial?

       7   A.   This is part of my cooperation.

       8   Q.   That's right.    And also as part of your cooperation, you

       9   have said you provided documents to the Government.            Do you

      10   recall that?

      11   A.   Yes.

      12   Q.   And did you provide to them all the documents that you had

      13   that related to Mr. Grow and this case?

      14   A.   Whatever my attorneys was able to pull from my devices.

      15   Q.   Okay.    You gave them, for example, you gave them some bank

      16   records.      Do you recall that?

      17   A.   Yes.

      18   Q.   And gave them some emails?

      19   A.   Yes.

      20   Q.   And you gave them your text messages?

      21   A.   Yes.

      22   Q.   Did you provide them any text messages after January of

      23   2015?

      24   A.   Not that I recall.    I don't know.          I don't remember.

      25   Q.   But you provided them more than 500 pages of text messages
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       1   from 2014?

       2   A.   I don't know how many pages it was.

       3   Q.   It was a lot?

       4   A.   Okay.

       5   Q.   But you're aware that all the text messages you gave the

       6   Government are from 2014?

       7   A.   I don't know how many.   I don't recall.    I don't know that.

       8   I didn't count how many pages it was and what year it was.

       9   Q.   Okay.   The survey program you talked about though started in

      10   late January, right?

      11   A.   Yes.

      12   Q.   But you didn't give any text messages to the Government

      13   about the survey program, did you?

      14   A.   Not that I recall.   I mean, this was last year that I gave

      15   them everything, so I can't recall what I gave them from last

      16   year.

      17   Q.   Okay.   Now, with Mr. Grow, you said you never met with him,

      18   but you've talked to him on the phone, right?

      19   A.   Yes.

      20   Q.   And you've text messaged with him, have you not?

      21   A.   Yes.

      22   Q.   And you've emailed with him?

      23   A.   Yes.

      24   Q.   During your testimony, you talked a lot about conversations

      25   you had with Mr. Grow, correct?
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       1   A.   Things that he told me, yes.

       2   Q.   Right, things that he told you.             But we didn't see any text

       3   messages of those conversations, correct?

       4   A.   There was a text message that was talked about as far as the

       5   copay.

       6   Q.   Okay.    But there were no text messages about the survey

       7   program?

       8   A.   No.

       9   Q.   Right.     Isn't it true that in April you asked Mr. Grow if

      10   you should continue, if you could continue to pay these patients

      11   that were in your survey program?

      12   A.   No.

      13   Q.   You don't recall texting with him about that?

      14   A.   No.

      15   Q.   And isn't it true that Mr. Grow told you that I wouldn't be

      16   paying anyone?

      17   A.   I do not recall that conversation.

      18   Q.   Okay.

      19              MR. MARCUS:      Your Honor, I've marked for identification

      20   Defense Exhibit 205.        I'd just like to approach the witness.

      21              THE COURT:      Let me look at your list.        Go ahead.

      22              MR. MARCUS:      Thank you.

      23              THE COURT:      Did you say 205?

      24                MR. MARCUS:    Defense Exhibit 205, yes.

      25              THE COURT:      Mine stops at 201.
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       1            MR. MARCUS:    Right.    This is --

       2            THE COURT:    Oh, these are additional.

       3            MR. MARCUS:    This is a new one, Your Honor.

       4            THE COURT:    Oh.   Do you have any other questions

       5   regarding any other exhibit --

       6            MR. MARCUS:    Yes.

       7            THE COURT:     -- that's before 201 or not?      Are you going

       8   to question this witness with any exhibit, from Defense Exhibit

       9   1 through 201?

      10            MR. MARCUS:    No, Your Honor.

      11            THE COURT:    You're not?

      12            MR. MARCUS:    Well, not 1 through 201, I don't believe.

      13   We have this exhibit.    We also have some --

      14            THE COURT:    No, no, no.       From 1 through 201, which is

      15   what I have, right?

      16            MR. MARCUS:    Right, I don't believe so.

      17            THE COURT:    Okay.   And you have an additional Exhibit

      18   List or you don't?

      19            MR. MARCUS:    We have a few additional exhibits.

      20            THE COURT:    Do you have any questions that don't deal

      21   with the exhibits, or are all of your questions dealing with

      22   these exhibits?

      23            MR. MARCUS:    A fair number of them deal with this as

      24   well as -- yes.

      25            THE COURT:    No, I just want to know, do you have
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       1   questions that don't have to do with these exhibits?

       2                MR. MARCUS:    Yes, I do.

       3             THE COURT:       Then you should ask those questions first,

       4   not the exhibits.

       5   BY MR. MARCUS:

       6   Q.   Ms. Lay, is it still your testimony that you never sent a

       7   text message to Mr. Grow in April of 2015 where he told you not

       8   to pay any patients in the survey program?

       9   A.   I don't recall his text message.

      10   Q.   And you don't have any emails, for example, sending to

      11   Mr. Grow the brochure that you designed for the survey program,

      12   Exhibit 17-A?

      13   A.   I don't remember sending -- repeat the question.

      14   Q.   You do not have an email, Exhibit 17-A, the survey program

      15   brochure you designed, that you sent to Mr. Grow, do you?

      16   A.   I gave the flyer to the Government.

      17   Q.   The flyer, but do you have anything in writing that shows

      18   that you sent this flyer to Mr. Grow?

      19   A.   Not that I recall, no.

      20   Q.   Well, if you had an email sending this flyer to Mr. Grow,

      21   you would have provided that to the Government, right?

      22   A.   Yes, sir.

      23   Q.   Okay.    Let's back up to when you first started working with

      24   Mr. Grow.

      25                Now, the truth is you had sales and marketing
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       1   experience before you ever met Mr. Grow, isn't that right?

       2   A.   I was in sales, yes.

       3   Q.   Yes.   You for many years ran and built up an insurance

       4   agency, isn't that right --

       5   A.   Yes.

       6   Q.   -- where you had more than 1500 insurance sales agents,

       7   right?

       8   A.   Yes, insurance and other products as well.

       9   Q.   Right, working for you.     And you worked with other

      10   pharmaceutical companies, did you not, like BioMediTech, you

      11   talked about?

      12   A.   Yes.

      13   Q.   And you said that was for private insurance?

      14   A.   Yes.

      15   Q.   And that was before you ever met Mr. Grow?

      16   A.   Yes.

      17   Q.   And those were similar kinds of compounding medications,

      18   correct?

      19   A.   Yes.

      20   Q.   Pain creams and scar creams and things like that?

      21   A.   Yes.

      22   Q.   And you were actually connected to Mr. Grow by a Mr. Ken

      23   Kimble, that was your testimony?

      24   A.   Yes.

      25   Q.   Through LinkedIn?
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       1   A.   Yes.

       2   Q.   And the reason he connected you is that Mr. Grow was looking

       3   to build a sales force, right?

       4   A.   I don't recall.     We were connected -- I believe I reached

       5   out to Ken looking for another opportunity, similar to

       6   BioMediTech.

       7   Q.   Well, do you recall Mr. Grow discussing with you possibly

       8   working at InforMD?     Do you recall that name?

       9   A.   No.     I recall the name later on but he never mentioned

      10   InforMD.      I don't know anything about InforMD.

      11   Q.   Okay.    And in 2015, when you were doing sales and marketing

      12   on your own, you were working with people like Mr. Lloyd?

      13   A.   Yes, me and David was working together.

      14   Q.   And for example, you were working with a company called the

      15   Diabetic Shop, were you not?

      16   A.   The Diabetic Shop?     In Mississippi, we were talking to the

      17   Diabetic Shop.     We weren't working with them.

      18   Q.   Well, you were talking to them about doing sales for them,

      19   correct?

      20   A.   Yes.

      21   Q.   And that had nothing to do with Mr. Grow?

      22   A.   No, and that didn't come to fruition either.

      23   Q.   Okay.    And you also were talking to people about marketing,

      24   for example, an erectile dysfunction medication.       Do you recall

      25   that?
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       1   A.   I don't recall talking about -- erectile dysfunction in

       2   what?

       3   Q.   A product for a pharmacy.

       4   A.   For who?

       5   Q.   You don't recall ever talking to pharmacies about marketing

       6   that kind of a product?

       7   A.   Not that I recall, no.

       8   Q.   Okay.    What about a vaginal cream that requires a medical

       9   prescription?      Do you recall that?

      10   A.   No, sir.

      11   Q.   Do you recall ever looking into having a call center to do

      12   sales and marketing?

      13   A.   In December, yes.     November, December, yes.   Me and David

      14   Lloyd discussed that.

      15   Q.   In November, right?

      16   A.   November, December, yes.

      17   Q.   Right.     Before you were working with Monty Grow?

      18   A.   Yes.

      19   Q.   Right.     And you had a lot of other people who worked with

      20   you as well, right?     Do you recall a man named Richard Surriffs

      21   (phonetic)?

      22   A.   Yes.

      23   Q.   Was he a sales representative?

      24   A.   Yes.

      25   Q.   He reported to you?
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       1   A.   Yes.

       2   Q.   Your company is called Med RX, LLC.       That's your company?

       3   A.   Yes.

       4   Q.   You're the CEO of that company?

       5   A.   Yes, I am the owner.    I'm sole owner.

       6   Q.   Is Mr. Lloyd an owner of that company?

       7   A.   No.    He has his own company.

       8   Q.   Okay.    Do you recall talking to a man named Jeff Madison

       9   about sales and marketing of other products?

      10   A.   Yes.    Jeff had a company that I was looking at working with,

      11   but it was on the toxicology side.

      12   Q.   Okay.    And you had a contact at PCA, did you not, a man

      13   named Mark Terrill?

      14   A.   Yes, I knew Mark.

      15   Q.   Right.    You knew Mark independently, right, of Mr. Grow?

      16   A.   I knew Mark through Eric Santos.

      17   Q.   Okay.    And Mr. Terrill was a sales director for the

      18   pharmacy, is that right?

      19   A.   Yes.

      20   Q.   And you were talking to him in the fall of 2014 about

      21   starting a new business line where you would be marketing

      22   products directly to physicians.        Do you recall that?

      23   A.   Yes.

      24   Q.   Totally independent of Mr. Grow.

      25   A.   Yes, but I also when I worked with Eric Santos, talked to
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       1   some physicians about the compounding product.

       2   Q.   Okay.    That was for Mr. Santos?

       3   A.   Someone that Monty referred me to, yes.

       4   Q.   But you were working with Mr. Santos separately, right?

       5   A.   I was working with Mr. Santos but Monty referred me to

       6   Mr. Santos.

       7   Q.   Okay.    How many sales reps were in your network, the Med RX,

       8   LLC group?

       9   A.   I don't know.     Maybe 20.

      10   Q.   Okay.    And you did training for them, did you not?

      11   A.   Yes.

      12   Q.   You would train them on conference calls?

      13   A.   Yes.    David would set up the conference call and I would

      14   train them.

      15   Q.   Right.    Mr. Grow was never part of your training of your

      16   sales reps, was he?

      17   A.   No, he was not.

      18   Q.   And you did webinars, did you not, for your salespeople?

      19   A.   I don't recall doing webinars.

      20   Q.   You don't recall that?

      21   A.   No.

      22   Q.   You just recall training?

      23   A.   I only recall doing conference call trainings.

      24   Q.   Okay.    Your sales reps though, did they ever have

      25   interactions with Mr. Grow at all?
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       1   A.   No, not that I know of, no.

       2   Q.   Right.    And it's fair to say that you had your own group and

       3   your agreement with Mr. Grow was that you would receive 40

       4   percent of the net profits generated by your sales group?

       5   A.   40 percent minus cost of goods, minus the cost of

       6   telemedicine fees that he would cover.

       7   Q.   And then you would pay your sales reps, correct?

       8   A.   Yes, I would pay my partner and the sales reps, yes.

       9   Q.   Right.    And you would pay them commissions?

      10   A.   Yes.

      11   Q.   And you were doing this in the fall of 2014, weren't you?

      12   A.   No.     We didn't start making any money until January.

      13   Q.   And what about with the other companies?

      14   A.   With E & J, I only -- we made minimal money on the private

      15   insurance, and it wasn't a lot that went out.

      16   Q.   Okay.    And the Biomed and other pharma companies you were

      17   dealing with?

      18   A.   I was supposed to get paid $700 but only making a couple

      19   thousand dollars, $2,000 and not much of that went out.        You

      20   know, once it was all paid out, I might have ended up with 5,

      21   $600.

      22   Q.   Okay.    And you said that you didn't think anything was wrong

      23   in what you were doing until January, when you saw the size of

      24   your commission, is that right?

      25   A.   I felt it was too good to be true.
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       1   Q.   You did.    And you didn't tell that to Mr. Grow in writing,

       2   did you?

       3   A.   No.

       4   Q.   And you weren't texting with your salespeople before that

       5   and talking about how you were looking forward to hopefully

       6   making a lot of money through this business venture?

       7   A.   I don't recall.

       8   Q.   Weren't you excited to be working with PCA because they were

       9   a pharmacy operating in 50 states as well as Puerto Rico?

      10   A.   I was excited to work with what Monty Grow told me.

      11   Q.   Right.     You were hoping to make money, were you not?

      12   A.   Yes.

      13   Q.   And marketing products for a pharmacy, there's nothing

      14   illegal about that, is there?

      15   A.   Not that I know of.

      16   Q.   And there's nothing illegal about paying sales reps a

      17   commission for the work they do.

      18   A.   Not that I know of.

      19   Q.   Right.   Now, you talked a lot about referrals.     Do you

      20   remember that word "referrals"?

      21   A.   Yes.

      22   Q.   Okay.    Now, you never sent patients to meet or talk with

      23   Mr. Grow, did you?

      24   A.   No.

      25   Q.   Right.    Your sales reps would be the ones to directly deal
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       1   with the patients that they were marketing to, isn't that right?

       2   A.   Yes.

       3   Q.   And when you would get an intake form or when your sales rep

       4   would get an intake form for a patient, you would send it to the

       5   telemedicine company, isn't that right?

       6   A.   Monty told me to fill out, how to fill out the Patient

       7   Profile Form and the prescription and how to send it into the

       8   telemedicine companies.

       9   Q.   Right.   That was an intake form, was it not, to help the

      10   physician see what the issues were, correct?

      11   A.   What the patient stated the issues were.

      12   Q.   Well, the doctors in the telemedicine network, they made the

      13   decision about whether a patient got a prescription, isn't that

      14   true?

      15   A.   That's not my call.   That was something I can't tell you --

      16   that's something they did, that's their profession.       I can't

      17   answer to that.

      18   Q.   Right.   You never had conversations with the physicians at

      19   these telemedicine companies, did you?

      20   A.   No.

      21   Q.   And did you ever talk to managers within those companies?

      22   A.   No.

      23   Q.   Right.   So you have no ideas about how they made their

      24   decision --

      25   A.   No.
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       1   Q.   -- on prescriptions?

       2   A.   No.

       3   Q.   Okay.    You just know that your reps would fill out the form

       4   on these certain products and you would send it to them,

       5   correct?

       6   A.   To the telemedicine companies, yes.

       7   Q.   Okay.    Now, when you are doing marketing for a pharmacy,

       8   there are certain products they'll have you market, isn't that

       9   right?

      10   A.   Yes.

      11   Q.   It wouldn't make any sense, for example, to market a product

      12   that the pharmacy wasn't able to fill or provide to a patient,

      13   do you agree with that?

      14   A.   Yes.

      15   Q.   Okay.    So when you were asked questions about those

      16   formulas, for example, Pain Cream 1, Scar Cream 1, do you have

      17   any idea whether the pharmacy had other prescriptions for those

      18   products that were available at the time you were marketing?

      19   A.   I don't know.

      20   Q.   Okay.    So for example, sitting here today, you don't know if

      21   Pain Cream 1 was the formula available at the time for pain?

      22   A.   I only went by what was on the prescription pad, and there

      23   was other things on there.

      24   Q.   Right.    You filled those out as suggestions, correct, as to

      25   products that the pharmacy was offering for patients?
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       1   A.     I fill them out according to what Monty told me to check

       2   because they paid the highest commission and reimbursement.

       3   Q.     Okay.    That's your testimony.      You've got nothing in writing

       4   that says that with Mr. Grow, do you?

       5   A.     This is a conversation that me and Monty -- Monty told me

       6   when I first start working with him.

       7   Q.     Right.     It's a conversation but you don't have text message,

       8   for example, that says the substance of what you're saying now,

       9   correct?

      10   A.     No, sir.

      11   Q.     Right.     You don't have email to that effect, do you?

      12   A.     Well, I mean, he always -- there was an email that tells me

      13   always pick sc-01 and p-01.

      14   Q.     Okay.    Did you ever talk to anyone at the pharmacy at PCA

      15   about those formulas?

      16   A.     No.

      17   Q.     Did you ever talk to them about whether those products were

      18   available?

      19   A.     No.   Monty was my point of contact.       I wouldn't discuss with

      20   PCA.

      21   Q.     Isn't it a fact that Mr. Grow told you to use p-01 and Scar

      22   Cream 1 because those were actually the formulas that were

      23   available at the time from the pharmacy?

      24   A.     That's not what he told me.

      25   Q.     But that could be entirely true, you just don't know?
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       1   A.   I can't get in his head, but that's not what he told me.

       2              MR. MARCUS:    Can everyone see the ELMO?

       3              THE COURT:    What are we doing?      Well, with what?

       4              MR. MARCUS:    A Government exhibit.

       5              THE COURT:    Okay.    All right.     You've got to tell us

       6   ahead of time because someone has got to work it, see?

       7              MR. MARCUS:    Thank you.

       8   BY MR. MARCUS:

       9   Q.   So this is Government's Exhibit 109.         And again, this is an

      10   example of a form where you said you were checking off formulas,

      11   right?

      12   A.   This is Monty's form.

      13   Q.   Right.   And did you ever talk with your sales reps about the

      14   fact that the telemedicine companies were completely

      15   independent, you had no control over them?

      16   A.   No.

      17   Q.   And that they had to call patients, and they made decisions

      18   about prescriptions?

      19   A.   Repeat that question.

      20   Q.   That the doctors would have to call patients and make a

      21   decision about whether they were entitled to or qualified for a

      22   particular prescription.

      23   A.   The patients just knew that the doctor would call them to do

      24   a phone consultation.

      25   Q.   Let me be more clear.       There were times when the sales reps
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       1   would grow frustrated because patients would let them know that

       2   they were still waiting for a physician from the telemedicine

       3   company to call and make an assessment as to whether they were

       4   going to get a prescription?

       5   A.   No.     They were frustrated because they hadn't received a

       6   call to get a consultation.

       7   Q.   Right.    And so just so we're clear how this worked, the

       8   telemedicine company was paid in advance for their time for the

       9   consults, correct?

      10   A.   Monty Grow paid the telemedicine company.

      11   Q.   Did you ever pay a telemedicine company?

      12   A.   No.

      13   Q.   Did you ever have a contract where you guarantee payments to

      14   a telemedicine company?

      15   A.   Explain it, please.

      16   Q.   Did you ever sign a document with the telemedicine company

      17   where you personally guaranteed that you would pay the

      18   telemedicine company for their time?

      19   A.   Yes, I did and then after discussion with Monty, I told them

      20   I didn't have any money.      He said he would cover telemedicine.

      21   Q.   Okay.    But you understood that the telemedicine company was

      22   paid up-front for their time, for the time of the physicians?

      23   A.   I know he would make a deposit for consults.

      24   Q.   For a consult and a consult is the phone call with the

      25   patient where they decide if a patient qualifies for a
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       1   prescription, isn't that right?

       2   A.   They may.    That's the doctor's determination.

       3   Q.   Right.   And you said it was about $100 for the consult?

       4   A.   Yes.

       5   Q.   Right.    And the company would be paid in advance of that

       6   consult, correct?

       7   A.   Monty paid them whatever for a certain amount of consults.

       8   Q.   Right.    Monty's company?

       9   A.   Yes.

      10               THE COURT:    I'm going to interrupt you because it's

      11   getting cloudy out there.

      12               What time did they bring you in this morning?

      13               MR. GARCIA:    8:00.

      14               THE COURT:    8:00.    So I'm going to send you home for

      15   the afternoon.     It's 5:30, and that's the good news.      And the

      16   better news is, you can sleep in tomorrow because you can come

      17   in at 10:15.     Now, see, it wasn't as bad as you thought.      You

      18   can sleep in.     Traffic should be better.       However, even though

      19   traffic is better, if you don't get here -- you can sit down,

      20   Mr. Marcus.      Thank you.

      21               MR. MARCUS:    Thank you.

      22               THE COURT:    If you don't get here at 10:15, we've got

      23   to wait for you all.      And that means I do other things and then

      24   we start at 10:30 or 10:45, and then we shorten the lunch hour.

      25   It just messes things up.          So if you get here before 10:15, it
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       1   would be great.      You can have coffee and relax.

       2             Three things:        I suspect, though I do not know, that

       3   someone is going to write in some paper or some blog about this

       4   case.   All right.    So I promised you that if someone did, and I

       5   would get ahold of it, I would keep it for you till the end of

       6   the trial, if you're a newsaholic.                But what you have to promise

       7   me is that you will not read anything about it outside, you will

       8   not google anything about it.          It's very important.

       9             Can everybody in the first row keep that promise?

      10             THE JURY:     Yes.

      11              THE COURT:    How about in the second row?

      12             THE JURY:     Yes.

      13              THE COURT:    All right.       Now, you're going to go home.

      14   Whoever you live with, your best friend, your wife, your

      15   husband, they'll say, hey, did you get picked to serve on a

      16   jury?   Yeah, I told you over lunch, we finally got selected.

      17   What's the case about?         And you've got to say, I can't talk to

      18   you.    I can tell you it's going to be two weeks.              It may run a

      19   little bit over, but I cannot talk to you.                And that person is

      20   going to say, we have been married for 20 years.                You've told me

      21   everything.   First of all, I'm not sure that's right, but let's

      22   say the person says that.        You say, I cannot talk to you.          I

      23   made a promise to the judge.

      24             By the way, you can take those juror badges with you

      25   and feel free to wear them at home if you think it helps, okay,
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       1   because the person will persist.

       2               Now, the easiest thing for me to do is to tell you,

       3   don't talk about the case.      And you know what, the normal,

       4   natural, human reaction would be as you go to your parking lot,

       5   to Metrorail, to the bus, to the Jitney, to Lyft, to Uber, is

       6   say, hey, what do you think about that witness?               What do you

       7   think about that lawyer?      What do you think about this case?

       8   You have to resist that temptation.            It's normal.    It's natural.

       9   It would be wrong in this case because you took an oath.                You've

      10   got plenty of time.      You'll be able to discuss the case whenever

      11   you want.

      12               What you do is leave your notebooks in the jury room.

      13   We keep them there.      No one looks at them.        You know, put a

      14   number or something.

      15            Do they have numbers on it, Shirley?

      16               THE COURTROOM DEPUTY:     They have their names.

      17               THE COURT:   The names.    Look at that.         She's so

      18   efficient.     She's been with me -- I violated the child labor

      19   laws when she started working with me, and she's still with me.

      20            But do not talk about the case.            Do not research.      Hey,

      21   you want to research?      Hey, what about all these -- what are

      22   these, pharmaceuticals?      Let's find out.        Fraud?     What's this

      23   all about?     No, this is not the time for you to educate

      24   yourself.    Later on you could, but now you are going to be

      25   limited to your common sense, your personal experiences, the
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       1   evidence as presented here and as challenged -- that's the way

       2   it's supposed to be -- and the law.

       3            And don't worry, I'll tell you about the law.            It will

       4   get complicated, but I'll give it to you in writing and I'll

       5   read it to you and you'll be experts.           All right?   So, see you

       6   tomorrow morning, late.    I'll be here early, but we will be

       7   waiting for you.   Okay?   Thank you.

       8            THE COURT SECURITY OFFICER:           All rise for the jury.

       9            THE COURT:    Remember how you come in and out, through

      10   that hallway.   Don't come into the courtroom because I'll be

      11   doing other things unrelated to this case, and don't go to the

      12   fifth floor or they will send you to another case.

      13      (The jury retired from the courtroom at 5:36 p.m.)

      14            THE COURT:    Okay.    Have a seat.       All right.    Let me

      15   hear that door.

      16            THE COURT SECURITY OFFICER:           Yes, sir.

      17            THE COURT:    Thank you.

      18            No?    Didn't he say "yes, sir"?         There we go.

      19            All right.    What are these exhibits all about that

      20   you're coming up with now at this late stage?

      21            MR. MARCUS:    Your Honor, should we talk outside the

      22   presence of the witness?

      23            THE COURT:    No, you might as well tell me what these

      24   exhibits are.

      25            MR. MARCUS:    Okay.    There are --
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       1               THE COURT:    Because I don't want the witness to walk

       2   out as the jurors are walking out, see?

       3              MR. MARCUS:     Okay.

       4              THE COURT:     If these were exhibits that you had told me

       5   about before, we would have done it, but you don't like to tell

       6   me exhibits that you used first on cross-examination.                 Of the

       7   201 exhibits that you had, not one.

       8              Use the lectern and tell me what they are.           What is

       9   202?     Which ones do you want to use?           You have a list?

      10               MR. MARCUS:    I can read it to you, Your Honor.

      11              THE COURT:     But, you know, in Federal court we like

      12   writing stuff.     I know it's a pain.

      13               MR. MARCUS:    We can file this tonight, too.            We just --

      14              THE COURT:     No, but I like to read it before.

      15              MR. MARCUS:    Yeah, I can provide you copies right now.

      16               THE COURT:    Tomorrow?

      17               MR. MARCUS:    No, now.

      18               THE COURT:    But see, the prosecutor doesn't have it.

      19              MR. LARSEN:     Your Honor, we've not even seen any of

      20   these.    They never provided them to us.

      21               THE COURT:    I know.    See, this is just the problem I

      22   don't want to have; and what you're going to tell me is, we

      23   don't have to show you nothing, Judge --

      24              MR. MARCUS:    No.

      25               THE COURT:    -- it's cross-examination, impeachment.              We
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       1   can do whatever we want.         You wouldn't say it like that, but

       2   you're thinking it.

       3              MR. MARCUS:    Actually, Your Honor, there are two

       4   one-page texts that we haven't showed.             That's all that's new.

       5              THE COURT:    And when were they?

       6              MR. MARCUS:    When were they?         One is on April 29th.

       7   That was --

       8              THE COURT:    No, no, but why didn't you give it to them

       9   before?

      10              MR. RASHBAUM:     Because --

      11              MR. MARCUS:    Because, Your Honor --

      12              THE COURT:    Well, I've got to have only one person

      13   talk.     You decide who talks, but I can't have you and your

      14   colleague talk.

      15              MR. MARCUS:    So, Your Honor, these are two texts from

      16   20 --

      17              THE COURT:    No, but why haven't they been marked

      18   before?    Something that just came up in the direct?

      19              MR. MARCUS:    Right, they're impeachment.         We didn't --

      20              THE COURT:    Well, of course, they're impeachment.

      21              MR. MARCUS:    These are texts that the witness did not

      22   turn over to the Government with our client that directly

      23   contradicts her testimony.

      24              THE COURT:    Okay.

      25              MR. MARCUS:     So --
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       1             THE COURT:    Okay.    You've got to show it to the

       2   Government.

       3             MR. MARCUS:    We will.

       4             THE COURT:    Go ahead.

       5             MR. LARSEN:    Just now.

       6             MR. MARCUS:    Yeah.

       7             MR. RASHBAUM:    Right, they have it.

       8             MR. MARCUS:    Your Honor --

       9             THE COURT:    I can only have one lawyer for each side

      10   speak at once.    You all decide who it is.         Okay?

      11             So what number are we talking about?

      12             MR. MARCUS:    205.

      13             THE COURT:    All right.       You've seen that before?

      14             MR. LARSEN:    No, Your Honor, I have not.

      15             THE COURT:    Okay.

      16             MR. LARSEN:    And I don't even know that it's --

      17             THE COURT:    Where does 205 come from?

      18             MR. MARCUS:    It's a printout of a text message.

      19             THE COURT:    From whom to whom?

      20             MR. MARCUS:    From Ms. Lay to Mr. Grow --

      21             THE COURT:    Okay.

      22             MR. MARCUS:    -- on April 29, 2015.

      23             THE COURT:    All right.       Hold on.   What else are you

      24   going to use that is after 201?

      25             MR. MARCUS:     Your Honor, 206 --
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       1             THE COURT:    206.

       2             MR. MARCUS:    -- I will show you.       It's another -- it's

       3   a one-page text from Ms. Lay to our client on March 3rd of 2015

       4   and March 4th of 2015.

       5             THE COURT:    That's in one number?

       6             MR. MARCUS:    206 we've marked it as.

       7             THE COURT:    Okay.    What else?

       8             Is it from her to him?

       9             MR. MARCUS:    Yes, it's from her to Mr. Grow.

      10             THE COURT:    Okay.

      11             MR. MARCUS:    The other documents, Your Honor, are from

      12   the Government --

      13             THE COURT:    Give me a number.       Give me a number.

      14             MR. MARCUS:    Okay.

      15             THE COURT:    I'm a numbers guy.       You've got to give me a

      16   number.

      17             MR. MARCUS:    So 202-A.      These all come from --

      18             THE COURT:    No, no, no.       Give me a number and tell me

      19   what it is.

      20             MR. MARCUS:    It's 202-A.       This is Ms. Lay's resume that

      21   she produced to the Government and is part --

      22             THE COURT:    I just want to know what it is.      You don't

      23   have to make a lot of pomp and circumstance.

      24             Ms. Lay's resume.      What else?

      25             MR. MARCUS:    There is 202-B.
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       1              THE COURT:    What is that?

       2              MR. MARCUS:    This is a personal guarantee between

       3   Ms. Lay and a telemedicine company that she produced to the

       4   Government.

       5              THE COURT:    Okay.   Personal guarantee to whom?

       6              MR. MARCUS:    It's a company called CHC, Complete Health

       7   Care Concierge.

       8              THE COURT:    Okay.   What else?

       9              I just want to know what they are, so I can write it

      10   in, see?

      11              MR. MARCUS:    202-C, Your Honor.      These are --

      12              THE COURT:    And you didn't expect to use these, even

      13   though you have them in a folder?

      14              MR. MARCUS:    So the Government has a -- these are from

      15   the Government's composite of 17.          They broke out some parts.

      16              THE COURT:    I understand that.      You've told me that

      17   several times.     I got it the first time.

      18              MR. MARCUS:    I wasn't sure --

      19              THE COURT:    I'm not as smart as you all are.        What I'm

      20   asking is, you knew about these exhibits because you all

      21   prepared for them.

      22              MR. MARCUS:    We did, not knowing, obviously, what the

      23   witness would say.

      24              THE COURT:    You knew what it was because you're super

      25   prepared for it.     You just didn't want to let them know ahead of
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       1   time.

       2            MR. MARCUS:    Well, I mean, they gave it to us, Your

       3   Honor, to be honest.

       4            THE COURT:    Okay.   All right.

       5            MR. MARCUS:    I don't think it's a surprise.        These are

       6   text messages between Ms. Lay and one of her sales reps named

       7   Mike Luis.

       8            THE COURT:    Okay.     202-C is what?

       9            MR. MARCUS:    These are text messages.

      10            THE COURT:    Is that several on C?         You have several

      11   text messages at 202-C?

      12            MR. RASHBAUM:    Yes.

      13            THE COURT:    How many?

      14            MR. MARCUS:    I'll give you the Bates number range.

      15            THE COURT:    No, I don't want the Bates number.        I want

      16   you to tell me how many text messages do you have in a defense

      17   exhibit --

      18            MR. MARCUS:    It's four pages.        It's four pages of text.

      19            THE COURT:    Well, just between two individuals only?

      20            MR. MARCUS:    Yes.   Just between Mr. Luis, who worked

      21   for Ms. Lay, and herself, yes.

      22            THE COURT:    All right.       What else?

      23            MR. MARCUS:    Judge, can we excuse the witness?

      24            THE COURT:    Not yet.      Because all I'm asking you is

      25   what it is, not the contents.        You're the one who is running at
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       1   the mouth, talking a lot about them.             I just want to know what

       2   the title is.

       3              MR. MARCUS:    Okay.    202-D, Your Honor.       These are text

       4   messages with Ms. Lay.

       5              THE COURT:    How many?

       6              MR. MARCUS:    Three pages.

       7              THE COURT:    Between whom?

       8              MR. MARCUS:    Mr. Vines, V-i-n-e-s.

       9              THE COURT:    Who's he?

      10              MR. MARCUS:    He's a sales rep that worked with --

      11   worked for Ms. Lay.

      12              THE COURT:    Okay.    What else?

      13              MR. MARCUS:    202-E, Your Honor.

      14              THE COURT:    How many letters do you have under 202?

      15              MR. MARCUS:    I think to M.

      16              THE COURT:    Oh, my goodness gracious.

      17              Okay.   What's E?     You have E, F, G, H, I.      What else?

      18   J, K, L, M.

      19              MR. MARCUS:    Right.

      20              THE COURT:    Well, you will write out what they are.

      21              MR. MARCUS:    Yes.

      22              THE COURT:    And type it and file it.

      23              What other exhibit do you have other than 202?

      24              MR. MARCUS:    After 202, Your Honor, which are mostly,

      25   again --
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       1            THE COURT:     No, no.     What do you have?     Not what mostly

       2   is.   What other number?

       3            MR. MARCUS:     203.

       4            THE COURT:     What else?       204, also?

       5            MR. MARCUS:    Yes, 204.

       6            THE COURT:     And 205?

       7             MR. MARCUS:    205 is the --

       8            THE COURT:     You already spoke about that.

       9            Any other exhibits?

      10            MR. MARCUS:     206 that we already talked about.

      11            THE COURT:     Yeah, that you haven't spoken about.

      12            MR. MARCUS:     The last one, Your Honor, 207.

      13            THE COURT:     What is 207?

      14            MR. MARCUS:     It's an email, Your Honor, that the

      15   Government produced to --

      16            THE COURT:     Email from whom to whom?        I don't care

      17   whether the Government produced it or not.            I want to know who

      18   wrote to whom.

      19            MR. MARCUS:     It's from Ms. Lay to a patient named Blair

      20   Von Letkemann.

      21             THE COURT:    All right.       What date?

      22            MR. MARCUS:    April 13, 2015.

      23            THE COURT:     All right.       Okay.   Thank you, Ms. Lay.

      24   You're excused now.     See you a little bit before 10:15 tomorrow.

      25            MR. MARCUS:     Judge, we would invoke the rule.
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       1              THE COURT:    Thank you, Ms. Lay.      You're excused.   We

       2   will see you tomorrow a little bit before 10:15.

       3       (The witness, Ginger Lay, retired from the courtroom.)

       4              THE COURT:    The rule has been invoked at a quarter till

       5   six, after the witness has testified.           All witnesses will step

       6   outside.    They will not discuss the content of their testimony

       7   with anyone.

       8              I will impose severe sanctions upon violation of the

       9   so-called Rule of Sequestration for violation of the rule.          The

      10   lawyers will advise any witness of the so-called Rule of

      11   Sequestration, and any discussion with any witness will be done

      12   outside of the presence of any other witness based upon Rule 615

      13   of the Federal Rules of Evidence.

      14              All right.    So you're going to give copies of these

      15   exhibits to the Government or are you going to refuse to do so?

      16              MR. MARCUS:    No, I'll do that right now.

      17              THE COURT:    Okay.   You got copies for them?

      18              MR. MARCUS:    I believe we do, Your Honor, yes.

      19              THE COURT:    Then give them copies.

      20              All right.    So how much longer do you think you have

      21   with this witness?

      22              MR. MARCUS:    I think an hour, Your Honor.      She is going

      23   to be our -- I think she'll be our lengthiest cross of the

      24   trial.   It's just a lot of documents.

      25              THE COURT:    All right.     Okay.   So the Government has
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       1   those documents.    Everybody knows what's going on.          So why don't

       2   you all come in at 10:00 in case there are any issues.              All

       3   right?

       4              MR. RASHBAUM:   Judge?

       5              THE COURT:   You don't want to come in at 10:00.           You

       6   want to come in at 8:30.

       7              What's the issue?

       8              MR. RASHBAUM:   I was just going to inquire of who the

       9   witnesses are going to be tomorrow.

      10              THE COURT:   Oh, we're not even there yet because we

      11   don't even know how long your cross-examination is going to be.

      12   How about no one in the morning?

      13              MR. RASHBAUM:   Okay.      But then we may ask for a recess

      14   to get our boxes.

      15              THE COURT:   Well, I would bring in all the boxes for

      16   everybody and use those offices that we have right outside, if

      17   you want, but you don't have to if you don't want to.               But if

      18   you want to do it for the boxes, then you've got space there in

      19   those offices, and one of the court security officers will open

      20   it for you.

      21              THE COURT SECURITY OFFICER:           Yes, Your Honor.

      22              THE COURT:   He has the key.          We can have one for the

      23   defense.

      24              And the Government, if they want to use it, they can.

      25   If not, they can go to their office.
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       1            So that will take care of that.      That's no problem.

       2            So anything else?    Ready?   See you at 10:00 tomorrow.

       3   Thank you.

       4            MR. MARCUS:    Thank you.

       5            THE COURT SECURITY OFFICER:      All rise.

       6        (The trial adjourned at 5:49 p.m.)

       7

       8                       C E R T I F I C A T E

       9            I hereby certify that the foregoing is an accurate

      10   transcription of proceedings in the above-entitled matter.

      11

      12   ________________
              09-10-18                ______________________________________
               DATE                   GILDA PASTOR-HERNANDEZ, RPR, FPR
      13                              Official United States Court Reporter
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